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 1                       UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
 2                               WESTERN DIVISION
                                     - - -
 3       UNITED STATES OF AMERICA,        : CASE NO. 1:18-cr-0043
                                          : REDACTED
 4                       Plaintiff,       :
                    vs.                   : IN-PERSON TRIAL
 5                                        : PROCEEDINGS
         YANJUN XU, also known as XU      :
 6       YANJUN, also known as QU HUI,    : 18th of OCTOBER, 2021
         also known as ZHANG HUI,         : 9:12 A.M.
 7                                        :
                         Defendant.       : DAY 1
 8
                                     - - -
 9                          TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE TIMOTHY S. BLACK, JUDGE
10                                   - - -

11       APPEARANCES:
         For the Plaintiff:
12                                Timothy S. Mangan, Esq.
                                  Emily N. Glatfelter, Esq.
13                                Assistant United States Attorneys
                                  221 East Fourth Street, Suite 400
14                                Cincinnati, Ohio 45202
                                                    and
15                                Matthew John McKenzie, Esq.
                                  United States Department of Justice
16                                National Security Division
                                  950 Pennsylvania Avenue NW
17                                Washington, D.C. 20530
                                                    and
18                                Jacqueline K. Prim
                                  Special Assistant, Paralegal
19                                United States Department of Justice
                                  National Security Division
20                                950 Pennsylvania Avenue NW
                                  Washington, D.C. 20530
21
         For the Defendant:
22                                Ralph William Kohnen, Esq.
                                  Jeanne Marie Cors, Esq.
23                                Sanna-Rae Taylor, Esq.
                                  Courtney Lynch, Esq.
24                                Taft Stettinius and Hollister
                                  425 East Walnut Street, Suite 1800
25                                Cincinnati, Ohio 45202
                                                    and
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                                                                                   2

 1
                                  Robert K. McBride, Esq.
 2                                Amanda Johnson, Esq.
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 4                                Covington, Kentucky 41011
                                                    and
 5                                Florian Miedel, Esq.
                                  Miedel & Mysliwiec, LLP
 6                                80 Broad Street, Suite 1900
                                  New York, New York 10004
 7
         Also present:            Mae Harmon, Interpreter
 8                                Yanjun Xu, Defendant

 9       Law Clerk:               Cristina V. Frankian, Esq.

10       Courtroom Deputy:        Rebecca Santoro

11       Stenographer:            Julie Hohenstein, RPR, RMR, CRR
                                  United States District Court
12                                200 West Second Street
                                  Dayton, Ohio 45402
13

14            Proceedings reported by mechanical stenography,
         transcript produced by computer.
15                              *** *** *** ***

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 1       P-R-O-C-E-E-D-I-N-G-S                              9:12 A.M.

 2

 3                  COURTROOM DEPUTY:       This United States District

 4       Court for the Southern District of Ohio is now in session.

 5       The Honorable Timothy S. Black, United States District

 6       Judge, presiding.

 7                  THE COURT:     Please be seated.       Good morning.      We're

 8       here in the open courtroom on the record day one of the

 9       criminal docket in the Jury trial of the matter of United

10       States of America versus Yanjun Xu.

11                  There's an interpreter present, and I wish to

12       administer the oath to correctly interpret.             If the

13       interpreter would stand and raise your right hand.

14                  Do you solemnly swear or affirm that you will

15       accurately, correctly interpret these proceedings on behalf

16       of the Defendant for the duration of the trial?

17                  THE INTERPRETER:      Yes, I do.

18                  THE COURT:     Good morning, and thank you.           You may

19       be seated.

20                  THE INTERPRETER:      Thank you, Your Honor.

21                  THE COURT:     It's about 9:15.      Mr. Xu has joined us

22       in the company of the Marshal.          I'd like the attorneys to

23       enter their appearances for the record.            Who will appear as

24       the attorneys for the United States of America, and with

25       whom are you joined as your representative?
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 1                   MR. MANGAN:    Your Honor, Tim Mangan on behalf of

 2       the United States.

 3                   MS. GLATFELTER:      Emily Glatfelter.

 4                   MR. McKENZIE:     And Matthew McKenzie.

 5                   THE COURT:    Good morning to the three of you.

 6                   MR. MANGAN:    And then joining us at counsel table

 7       is Special Agent Bradley Hull.

 8                   THE COURT:    Very well.     Good morning, sir.       The

 9       four of you may be seated.         In the rush to get organized, I

10       have forgotten my mask.        Would you -- Ms. Frankian, will you

11       get my mask, please, from chambers?           I'm fully vaccinated,

12       but we're all going to wear masks.           Thank you.

13                   Julie Hohenstein is our court reporter.           She'll be

14       with us this week is my understanding -- provided she

15       survives.    Thank you for being present, ma'am.

16                   The Jurors, we randomized list of names with

17       numbers.    It's still being prepared.         We'll get it to you

18       and to me as soon as we can.

19                   First thing I want to address, we are outside the

20       presence of the Jurors; present with the Defendant and all

21       attorneys.

22                   MR. KOHNEN:    Your Honor --

23                   THE COURT:    Yes.

24                   MR. KOHNEN:    -- pardon me, but with the Court's

25       permission, we'd like to introduce ourselves for the record.
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 1                  THE COURT:     Do you think that's important?

 2                  MR. KOHNEN:     It's probably important for the

 3       record.    It's not personally important to me, Your Honor.

 4                  THE COURT:     Forgive me.     Would the Defense enter

 5       their appearances, please?

 6                  MR. KOHNEN:     Thank you, Judge.       On behalf of our

 7       client, Mr. Xu, Ralph Kohnen.

 8                  MR. MIEDEL:     Good morning, Your Honor, Florian

 9       Miedel for Mr. Xu.

10                  MS. CORS:     Good morning, Your Honor, Jeanne Cors

11       for Mr. Xu.

12                  MS. TAYLOR:     Good morning, Your Honor, Sanna-Rae

13       Taylor.

14                  MR. McBRIDE:     Good morning, Your Honor, Bob McBride

15       for Mr. Xu.

16                  MS. JOHNSON:     Good morning, Your Honor, Amanda

17       Johnson.

18                  MS. LYNCH:     Good morning, Your Honor, Courtney

19       Lynch.

20                  THE COURT:     Good morning to all of you and forgive

21       me for overlooking that step.         Thank you, Mr. Kohnen.        As

22       the trial proceeds, do not be concerned about interrupting

23       me in general, so to speak -- maybe.

24                  Mr. Xu, good morning.

25                  DEFENDANT YANJUN XU:       Good morning.
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 1                  THE COURT:     First thing I want to address is the

 2       number of Prospective Jurors.         Over the weekend, we lost

 3       another Juror, so I believe our final number is down to 40;

 4       is that correct; Ms. Frankian?          Is that your sense?       We may

 5       be generally there?

 6                  MS. FRANKIAN:      As of yesterday, we had 40.

 7                  THE COURT:     As of yesterday, we had 40.         The Court

 8       had proposed selecting four Alternates, which would mean 16

 9       Jurors and four additional Peremptory strikes, two per side.

10                  I learned, however, that as an initial matter if we

11       are to socially distance Jurors 6 feet a part from one

12       another, we can only accommodate 15 Jurors.

13                  That said, we could probably get one more person in

14       somewhere if need-be.

15                  But I'd like to consider whether we should go ahead

16       with 15 instead, which would not only accomplish social

17       distance, but also lower the minimum number of Prospective

18       Jurors we need for Jury selection, which may or may not be

19       necessary.     We won't know until we've addressed Challenges

20       for Cause.

21                  That also brings me to the next issue, which is the

22       possibility that we may end up short on Jurors.              If a

23       handful of people indicate that they have some hardship they

24       didn't disclose previously or some bias that cannot be

25       rehabilitated, if that happens, rather than delay empaneling
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 1       the Jury, we could cut back the number of Alternates to two

 2       that would eliminate two Jurors on a Peremptory strike on

 3       each side, so rather than 36 people minimum, we'd only need

 4       32 minimum to complete Jury selection.

 5                  I want to hear from both sides.          Do you object to

 6       cutting back to three Alternatives in order to promote

 7       complete social distancing?         And only if it becomes

 8       necessary to ensure that we empanel a Jury today, do you

 9       object to cutting back to two Alternates.

10                  Is the Government able to process that and respond?

11                  MR. MANGAN:     We are, Your Honor.        We have no

12       objection to either of those suggestions.

13                  THE COURT:     Very well.     And on behalf of Defendant?

14                  MR. KOHNEN:     Your Honor, I'm going to need a moment

15       to consult with my client about that with the Court's

16       permission?

17                  THE COURT:     Very well.     Yes.

18       (Mr. Kohnen confers with Defendant Yanjun Xu.)

19                  MR. KOHNEN:     Sorry for the delay, Your Honor.           The

20       Court's proposal's acceptable to us.

21                  THE COURT:     Thank you.     The next item I wish to

22       address on the record is plea negotiations.             I'm required to

23       do this as a matter of law.

24                  The colloquy is attempted to memorialize

25       Defendant's acknowledgement of plea offers, if any, made and
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 1       rejected, and Defendant's knowing decision to proceed to

 2       trial.

 3                  I'd like to ask the Government to State for the

 4       record all former plea offers extended, and the current

 5       offer, if any, on the table?

 6                  MR. MANGAN:     Your Honor, on July 23, 2021, the

 7       Government extended a formal plea offer in writing to the

 8       Defense.    The plea proposal is as follows:

 9                  We propose that Defendant plead to Counts 1 and 2

10       of the indictment, and then under a Rule (c)(1)(C)

11       Agreement, the parties would agree to a binding sentencing

12       range between 210 and 240 months.

13                  That was the proposal that was sent from the

14       Government on July 23, 2021.

15                  THE COURT:     And did you get a response?

16                  MR. MANGAN:     We received no response, Your Honor,

17       since that time.

18                  THE COURT:     Is that offer still on the table?

19                  MR. MANGAN:     Yes, Your Honor.

20                  THE COURT:     Very well.     Thank you.     For purposes of

21       the record, I would ask Defense counsel to confirm any

22       formal offers as stated by the Government; that the formal

23       offer was previously conveyed to Defendant; that Defendant

24       rejected or rejects the previously extended formal offer;

25       that the Defendant is aware that the offer is still on the
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 1       table; and that so far Defendant has expressed his intent to

 2       reject the offer?      On behalf of the Defense?

 3                   MR. KOHNEN:    May I have just a moment, Your

 4       Honor?

 5                   THE COURT:    Yes.

 6       (Mr. Kohnen confers with Defendant Yanjun Xu.)

 7                   MR. KOHNEN:    Your Honor, we've discussed that offer

 8       on several occasions with our client including 10 seconds

 9       ago, and he rejects the offer.

10                   THE COURT:    Very well.     I'm required to ask.        I

11       have to ask Mr. Xu directly.

12                   Are you aware that that offer is on the table, and

13       do you reject it?      I'm required by law to ask.

14                   DEFENDANT YANJUN XU:      Yes.

15                   THE COURT:    Thank you.     Next issue I want to

16       address is restraints.        Because the Jurors will be socially

17       distanced, and, therefore, seated in the gallery during voir

18       dire and throughout trial, it's a greater likelihood that

19       leg shackles may be seen by the Jurors.

20                   Therefore, the Court has elected to forego leg

21       shackles.    The interests of security do not outweigh the

22       increased chance of visibility.

23                   Can the Defense confirm that they are, however,

24       willing and that Mr. Xu is without restraint, no leg

25       shackles included?
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  1                  MR. KOHNEN:     Yes, Your Honor.      Thank you for that.

  2                  THE COURT:    Very well.     Mr. McBride's arguments

  3      moved me.

  4                  MR. McBRIDE:     Thank you, Your Honor.

  5                  THE COURT:    To my knowledge, there are no motions

  6      pending.     We've ruled by notation order and written order.

  7      I expect written decisions in due course on the Motion in

  8      Limine, Motion regarding Co-Conspirators, and Motion to

  9      Dismiss; but they've been ruled on, for purposes of the

10       record, by notation order.

11                   Does the Government acknowledge that?

12                   MR. MANGAN:     We do, your Honor.       Thank you.

13                   THE COURT:    And the Defense as well?

14                   MR. KOHNEN:     Yes, Judge Black.

15                   THE COURT:    Very well.     I want to address on the

16       record Defendant's request for redactions.             During the final

17       pretrial counsel, Defense requested redaction of the

18       classification on the Government's exhibit.

19                   The Court advised parties by an E-Mail that same

20       day that the Court, quote, is not going to order the

21       redaction of designations on the Government's exhibits.

22                   Although the Defense indicated that an instruction

23       to the Jurors might be more problematic than helpful.                If

24       the Defense would like to propose an instruction that might

25       be acceptable, the Court is willing to provide it to the
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  1      Jury upon my approval, end quote.

  2                  So for the record, we're memorializing the Court's

  3      ruling on that request; and while we have not received any

  4      indication that the Defense wants any sort of instruction,

  5      the Court remains open to it.

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14                   Is there something we should address at this time

15       from the Government's perspective or is the issue not yet

16       ripe or has it been mooted?

17                   MR. MANGAN:     I think, Your Honor, I think we can

18       wait on that issue.

19                   THE COURT:    Wait?

20                   MR. MANGAN:     Wait.

21                   THE COURT:    Very good.

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25                   THE COURT:    Well, I'd like to discuss it as soon as
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  1      we can.    We don't need to do it at this moment.

  2                  MR. MANGAN:     All right.

  3                  THE COURT:    Is the Defense comfortable with that

  4      approach?

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10                   THE COURT:    Very well.     You comfortable proceeding

11       now with that issue in limbo?

12                   MR. KOHNEN:     Again, yes.     Thank you, Judge.

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17                   I believe I've walked through the issues I wished

18       to address before we recess, get you the re-randomized list

19       with numbers and pause to get ready for voir dire.

20                   Let the record reflect on the courtroom clock it is

21       9:29.    Is there anything the Government needs to bring to

22       the Court's attention before we recess for those purposes

23       and move closely toward commencing voir dire?

24                   MR. MANGAN:     The only thing we have, Your Honor, is

25       I know the Court's waiting on whether or not the parties
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  1      have a written stipulation.

  2                  We discussed this during the final pretrial as to

  3      some of the terms.       The Government presented a written

  4      proposal of that stipulation Friday morning.              We have not

  5      received a response from the Defense despite few requests.

  6                  THE COURT:    And in what regard was the stipulation?

  7                  MR. MANGAN:     This pertained to the authen --          part

  8      of it pertained to the venue and jurisdiction, which was

  9      discussed, as well as that certain documents were properly

10       authenticated under Rule 901 and 902, as well as the

11       authenticity and admissibility of a few other certain

12       exhibits, and then we also added a proposal related to the

13       stipulations --      excuse me -- the translations.

14                   THE COURT:    And do you have another stipulation

15       about IP addresses?

16                   MR. MANGAN:     That, Your Honor, we did provide.             It

17       wasn't in the proposed stipulation we sent on Friday.                We

18       did send the information regarding the IP addresses by

19       letter to the Defense yesterday along with the attachment

20       stating what the Government would agree to.

21                   THE COURT:    Very well, and I now recall that we

22       asked you to review the Court's proposed summary of the

23       case.    The Defense responded with some proposed edits, and

24       we have heard nothing from you.          Where are we on that?

25                   MR. MANGAN:     We have, we have no evidence, and we
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  1      have no objection to their proposed edits.

  2                  THE COURT:    You have no evidence --

  3                  MR. MANGAN:     No, I'm sorry.      We have no edits.        We

  4      have no changes ourselves.         We saw the proposed changes from

  5      the Defense.      We have no objection to their proposal.

  6                  THE COURT:    Very well.     So why didn't you tell me

  7      that by E-Mail?

  8                  MR. MANGAN:     I apologize, Your Honor.        We should

  9      have --

10                   THE COURT:    When the Court sends the lawyers

11       E-Mails during the progress of trial with inquiries, I need

12       a response.     Thank you.

13                   Where are we on the stipulations from the

14       Defendant's perspective?

15                   MR. KOHNEN:     Judge, your second question, Mr.

16       Mangan was more prescient perhaps than you may know.                We

17       were about to -- literately about to push the button

18       agreeing to the stipulations when we got the letter from Mr.

19       Mangan some time around 2:30 in the afternoon yesterday.

20                   Judge, we didn't have enough time, frankly, to see

21       whether that new and very important information --               I would

22       label it Brady material -- would impact our position on the

23       stipulations or not.

24                   We worked on it probably for three or four hours

25       into last evening.       We do want to be heard on the subject
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  1      generally.     We're going to suggest after Jury selection and

  2      opening statements, we perhaps could get a moment of the

  3      Court's time.

  4                  However, a very long winded way of saying, that

  5      last minute, a bit of very important information perhaps --

  6      I can't say yet whether it has -- but perhaps has

  7      re-oriented our position with respect to these stipulations.

  8                  May I just a moment, Your Honor?

  9                  THE COURT:    Yes.

10       (Mr. Kohnen confers with Mr. McBride.)

11                   MR. KOHNEN:     Always wise to consult with my

12       colleague, Mr. McBride, Your Honor.           I think ultimately that

13       there's a good chance we're going to stipulate two things

14       that a record's custodian would otherwise have to come in

15       and say, but you'll understand that we have to make darn

16       sure of that at this point.

17                   THE COURT:    I'll understand what?

18                   MR. KOHNEN:     That we have to make darn sure of that

19       at this point.

20                   THE COURT:    Indeed.     So soon?

21                   MR. KOHNEN:     Yes, Your Honor, soon.

22                   THE COURT:    Very well.     I'm smiling behind the

23       mask.    I asked if the Government had anything for me before

24       we recess?     Is there is anything further from the

25       Government?
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  1                  MR. MANGAN:     No, Your Honor.

  2                  THE COURT:    Does the Defense have any items they

  3      wish to address that we haven't addressed before we recess?

  4                  MR. KOHNEN:     No.    Thank you, Judge.

  5                  THE COURT:    Very well.     We're going to recess.        Is

  6      30 minutes appropriate or more or less?

  7                  MR. FRANKIAN:     I think 20 to 30 minutes should be

  8      fine.

  9                  THE COURT:    We're going to recess for 20 minutes

10       unless we whisper to you at that point we need ten more

11       minutes.     So we're in recess.

12                   COURTROOM DEPUTY:       All rise.    This court is now in

13       recess.

14       (Court was in recess at 9:34 a.m. and resumed at 10:12 a.m.)

15                   COURTROOM DEPUTY:       All rise.    Court is back in

16       session pursuant to the recess.

17                   THE COURT:    Please be seated.       We're back in the

18       courtroom on the record.          Government lawyer and team is

19       here.    Defense lawyer and team and the Defendant and the

20       interpreter are here.

21                   We are ready, I believe, to go get the 40

22       Prospective Jurors.       Is the Government ready or got anything

23       else before we proceed in that way?

24                   MR. MANGAN:     We are ready, Your Honor.

25                   THE COURT:    And the Defense?
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  1                  MR. KOHNEN:     Indeed, Your Honor, we're ready.

  2                  THE COURT:    Very well.     Ms. Santoro, we call for

  3      the Prospective Jurors.        We'll sit quietly here off the

  4      record.

  5      (Discussion held off the record.)

  6                  COURTROOM DEPUTY:      All rise for the Jury.

  7      (Prospective Jurors entered the courtroom.)

  8                  THE COURT:    As the Jurors join us, you may be

  9      seated.    As the Jurors join us, you may be seated.

10       Prospective Jurors that have joined us, you may all be

11       seated.

12                   Good morning, ladies and gentlemen.           I am Judge

13       Timothy S. Black, one of the judges of this Federal Court.

14       We're here in the United States District Court for the

15       Southern District of Ohio.         We're on the record in session

16       on the criminal case of the United States of America versus

17       Yanjun Xu.

18                   I want to welcome you all here today.           I'll be

19       responsible for presiding at this proceeding for which

20       you've been summonsed.

21                   I want to thank you and welcome you.           I realize

22       that being here presents some degree of inconvenience for

23       all of you, but I assure you that your presence is of the

24       upmost importance to the proceedings that are to begin here

25       today.
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  1                  I'd like to say that Jury service is a sacrifice

  2      required by democracy, but I acknowledge in the first

  3      instance that we have interrupted your lives, and we are

  4      grateful for your presence.

  5                  I want to introduce you to some of the people in

  6      the courtroom.      I'm going to start with the people who work

  7      for me.

  8                  Rebecca Santoro is our courtroom deputy.            She

  9      administers oaths to Prospective Jurors, to those selected

10       to serve on the Jury, and to witnesses.            She handles the

11       exhibits during trial.        She opens, recesses, and adjourns

12       court.    I couldn't do my job without her.

13                   Julie Hohenstein is one of our court reporters.

14       She is and will continue to take down every word spoken

15       during the course of the proceedings by stenotype machine.

16                   My law clerk -- my career law clerk is Cristina

17       Frankian.     She's an attorney.       She assists me with all legal

18       work, including research and court orders, and I absolutely

19       could not do my job without her.

20                   In a few minutes I'll ask the other persons who are

21       present in the well of the courtroom to introduce

22       themselves; but I first want to explain why you're here, and

23       what we're doing at this point in time.

24                   You're here today as Potential Jurors in the case

25       of the United States of America versus Yanjun Xu.               This is a
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  1      criminal case where the United States has alleged that the

  2      Defendant, Yanjun Xu, committed four Federal offenses,

  3      including, one, Conspiracy to Commit Economic Espionage;

  4                  Two, Conspiracy to Commit Trade Secret Theft;

  5                  Three, Attempted Economic Espionage; and

  6                  Four, Attempted Trade Secret Theft.

  7                  The Defendant, Mr. Xu, denies the charges.            He is

  8      presumed innocent.

  9                  You must bear in mind that the Defendant is

10       presumed innocent unless and until the Government proves by

11       competent evidence beyond a reasonable doubt his guilt.

12                   Proof beyond a reasonable doubt means proof which

13       is so convincing that you would not hesitate to rely and act

14       upon it in making the most important decisions in your own

15       lives.

16                   Today we hope to be complete with Jury selection by

17       early afternoon.       Those of you selected as Jurors in this

18       case will be given some preliminary instructions and then

19       perhaps we will hear opening statements from the lawyers

20       today.

21                   At some point before opening statements, we will

22       also break for lunch.        This is going to be a substantial

23       trial, and I know that with COVID, among other things, it's

24       a difficult time to be in a new environment; but I want

25       you all to know that the court, its judge, will do
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  1      everything possible to ensure that you are safe and

  2      comfortable.

  3                  First of all, I'm pleased to tell you that every

  4      Prospective Juror in this room is fully vaccinated and has

  5      indicated that they're willing to wear a mask during the

  6      Court proceedings.       Same goes for the lawyers and staff.              I

  7      hope that gives you some level of comfort.

  8                  Additionally, although we couldn't accomplish it at

  9      this very moment with 40 plus Prospective Jurors, those of

10       you that are selected will be seated in a socially distanced

11       manner.    We won't have 16 of you in the box, and we'll be

12       providing you lunch each day, so you won't have to go in and

13       out constantly.

14                   But, like I said, this is going to be a long trial,

15       and that is in part why I asked everyone to fill out a

16       lengthy questionnaire.

17                   As I indicated on the questionnaire and the

18       accompanying letter, this trial may go as long as

19       December 1, 2021.       I don't think it will, but we need to be

20       prepared for that.

21                   If you're selected as a Juror, please note that

22       we're not going to be in trial on Thursday, November 11 in

23       observance of Veterans Day.         We're also going to be off for

24       Thanksgiving on Wednesday, Thursday, and Friday.               So the

25       week of Thanksgiving we're not in court on Wednesday,
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  1      November 24; Thursday, November 25; and Friday, November 26

  2      to be certain that you have an opportunity to get a full

  3      plate of turkey and a short break.

  4                  We may well also take a half day off on November 2

  5      so we all have a chance to vote.           You can get that behind

  6      you early, that's a credit to you.

  7                  Other than the days that I've just identified,

  8      we'll likely be in court every day, Monday through Friday.

  9      We generally start every day 9:30 a.m., and we'll try to end

10       around 4:30 p.m.

11                   That means you'll need to be at the courthouse

12       every morning by 9:15 a.m. at the latest, so we can bring

13       you into the courtroom at 9:30 if we're able.

14                   Each day, there will be an hour and a fifteen

15       minute break for lunch from about noon until 1:15.               We'll

16       also take two 15-minute breaks; one mid-morning break about

17       10:30 to 10:45, and one break in the afternoon about 2:45

18       until three.

19                   So introduction to voir dire.         As I mentioned,

20       you're all here as Prospective Jurors in this case.               The

21       process of Jury selection is known as voir dire, and it's

22       the parties opportunity with the Court's assistance to

23       determine which 15 of you will be chosen to sit as Jurors in

24       this case.

25                   The words voir dire literately mean to see and to
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  1      say, but they've come to mean to speak the truth.               That's

  2      exactly what we must do here.

  3                  The process of voir dire requires the Court -- the

  4      Judge -- and then the attorneys to ask questions of you in

  5      order to determine whether you should participate as a Juror

  6      in this case or whether it would be better to excuse you

  7      from service in this particular case.            In response to the

  8      questions posed by the Court and counsel, you must speak the

  9      truth.

10                   Those of you who are chosen as Jurors will have an

11       indispensable and unique function to perform.              You'll be

12       carrying out a mandate of the United States Constitution,

13       which states that any person accused of a crime is entitled

14       to a fair trial by an impartial Jury.            Thus, under the

15       Constitution, it will be up to you to decide the case.

16                   Before I go further, I would like now to ask the

17       parties to stand and introduce themselves.             I'll start with

18       the Government.

19                   On behalf of the Government, would you please

20       stand, introduce yourselves, and those present at counsel

21       table?

22                   MR. MANGAN:     Good morning, everyone.        My name is

23       Tim Mangan.     I'm an Assistant U. S. Attorney here in

24       Cincinnati.

25                   MS. GLATFELTER:      Good morning.     My name is Emily
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  1      Glatfelter.     I'm also an Assistant U.S. Attorney here in

  2      Cincinnati.

  3                  MR. McKENZIE:     Good morning.      My name is Matthew

  4      McKenzie.     I'm a trial attorney with the Department of

  5      Justice.

  6                  MR. HULL:    Good morning.      My name is Bradley Hull.

  7      I'm a Special Agent with the F.B.I.

  8                  THE COURT:    Thank you.     Would you please be seated.

  9      Would Defense counsel please stand and introduce yourselves

10       and your client?

11                   MR. KOHNEN:     Yes.   Thank you, Your Honor.        Ladies

12       and gentlemen, good morning.          My name is Ralph Kohnen.        I'm

13       an attorney here in Cincinnati, and I represent our client,

14       Mr. Xu.

15                   You'll hear a number of different pronunciations,

16       but I've been struggling to say it right, and I just got the

17       nod from Mr. Xu.       Would you stand and introduce yourself?

18       Say good morning to the Jury.

19                   DEFENDANT YANJUN XU:       Good morning.

20                   THE COURT:    And with us is a translator, who's been

21       phenomenal.     Her name is Mae Harmon.

22                   THE INTERPRETER:       Good morning.

23                   MR. MIEDEL:     Good morning.     My name is Florian

24       Miedel.    I'm also an attorney for Mr. Xu.

25                   MS. CORS:    Good morning, everyone.        My name is
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  1      Jeanne Cors, and I'm also representing Mr. Xu.

  2                  MS. TAYLOR:     Good morning, everyone.        My name is

  3      Sanna-Rae Taylor, and I'm an attorney representing Mr. Xu.

  4                  MS. JOHNSON:     Good morning.      My name is Amanda

  5      Johnson, and I am an attorney representing Mr. Xu.

  6                  MR. McBRIDE:     Good morning, ladies and gentlemen.

  7      My name is Bob McBride.         I'm one of the attorneys

  8      representing Mr. Xu.

  9                  MS. LYNCH:    Good morning.       My name is Courtney

10       Lynch, and I'm also an attorney representing Mr. Xu.

11                   THE COURT:    Thank you.     Mr. Xu, did I pronounce

12       your name correctly?

13                   DEFENDANT YANJUN XU:        Almost.

14                   THE COURT:    Will you say it to me?        And forgive me

15       for my lack of pronunciation skills.            Just stand up and tell

16       me your name?

17                   DEFENDANT YANJUN XU:        Xu.

18                   THE COURT:    Xu?

19                   DEFENDANT YANJUN XU:        Xu.

20                   THE INTERPRETER:      Xu.

21                   DEFENDANT YANJUN XU:        Xu.

22                   THE COURT:    Xu?    He's the Defendant.       He's well

23       represented by counsel.         If I mispronounce his name, it's on

24       me and nobody else.       You may be seated.       Thank you.

25                   At this time I'm going to ask Ms. Santoro to
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  1      administer the oath to the Prospective Jurors.              This oath is

  2      simply to make certain that your answers to our questions

  3      are complete and truthful.

  4                  To get your juices flowing, would you stand,

  5      please, and raise your right hand for the oath?

  6                  COURTROOM DEPUTY:      You, and each of you, do

  7      solemnly swear or affirm that the answers you give to the

  8      questions in this proceeding shall be the truth, the whole

  9      truth, and nothing but the truth.           Please respond by saying

10       I do.

11                   ALL PROSPECTIVE JURORS:        I do.

12                   THE COURT:    Thank you.     You may be seated.       Now,

13       that you've been sworn, we can actually formally begin the

14       process of selecting 15 Jurors.

15                   The process is simple enough.          I'm going to ask you

16       some questions, and then the lawyers for each side get an

17       opportunity to ask questions; and our questions are designed

18       to make sure that you have no bias or prejudice for or

19       against either side.

20                   Some of these questions may seem personal.            Please

21       do not be offended.       If a question seems personal or if

22       you're particularly sensitive about answering a specific

23       question, please know that the attorneys are not trying to

24       make you uncomfortable or to embarrass you, so you must not

25       hold it against them.
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  1                  The attorneys are required to ask questions they

  2      believe will ensure empaneling a full and impartial Jury in

  3      this case.

  4                  If anybody asks you a question that you're not

  5      comfortable answering in open court, you may approach the

  6      bench and discuss your answers in private.

  7                  Also, always keep in mind that voir dire means to

  8      speak the truth.       Even if the answer to your question means

  9      you might have a bias, do not hesitate to answer that

10       question truthfully.

11                   Your own desire to participate in this case cannot

12       outweigh the fact that the fairness and impartiality of each

13       Juror is crucial to a fair trial.

14                   After the lawyers have had an opportunity to

15       question you, after I have, we'll take a break -- which we

16       call a recess -- while I'll confer with the lawyers and the

17       parties; and when we come back in session -- reconvene --

18       I'll announce the numbers of those of you who have been

19       selected.

20                   If you're not chosen for the Jury, you must

21       understand that this is not a reflection on your character,

22       your integrity, or your fitness to serve.

23                   Each side is afforded the opportunity to excuse

24       Jurors for any reason that is not unlawful or for no reason

25       at all.    So if you're excused, please do not feel slighted
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  1      or offended.

  2                  Once we have seated 15 Jurors, we'll have our Jury,

  3      and those 15 will be sworn in to Jury duty.             We're now

  4      prepared to begin.

  5                  Please listen carefully to the questions that I and

  6      the attorneys are about to ask.          Questions will be addressed

  7      to everyone -- both those in the Jury box and those in the

  8      back in the gallery.

  9                  If your answer to any of the questions is yes,

10       please raise your hand, and I'll call on you.              When I call

11       on you, please stand so we can hear you, and first announce

12       the Juror Number you were given this morning.              We may then

13       ask you some follow-up questions.           I believe we have

14       microphones that we can use to assist you, if required.

15                   Please do not forget to announce your Juror Number

16       when we call on you.        In our list all Jurors are organized

17       numerically, so it makes it very difficult to keep track of

18       your responses if you do not give us your Juror Number.                I

19       ask you to stand purely for the reason that I can probably

20       hear you better.

21                   When speaking up, speak as loud as you can when

22       answering a question.        Particularly with masks on, it's very

23       hard to hear unless you really project your voice, and I

24       believe we have microphones that will help; but if at any

25       point you can't hear the questions being asked by me or the
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  1      attorneys, please raise your hand and let us know.

  2                  Is there anybody having trouble hearing me?

  3      (No Prospective Juror raised their hand.)

  4                  THE COURT:    Very well.     All right.     As you know,

  5      the Government is represented by Attorneys Emily Glatfelter,

  6      Tim Mangan, and Matthew McKenzie.           Ms. Glatfelter and Mr.

  7      Mangan work for the United States Attorney's Office.                Mr.

  8      McKenzie is with the Department of Justice.

  9                  Also seated at counsel table and introduced to you

10       is the Government's representative in this case, F.B.I.

11       Special Agent Bradley Hull.

12                   Are you, or any member of your immediate family,

13       personally acquainted with, related to by blood or marriage,

14       or connected in any way with either of the attorneys for the

15       Government or with Agent Hull?

16       (No Prospective Juror raised their hand.)

17                   THE COURT:    No hands.     Does anyone personally know

18       the Government's attorneys or Agent Hull in any capacity?

19       (No Prospective Juror raised their hand.)

20                   THE COURT:    No hands.     Does anyone here work for or

21       do you know someone who works for the United States

22       Attorney's Office?

23       (No Prospective Juror raised their hand.)

24                   THE COURT:    No answers.      Yes.   Yes, sir?

25                   PROSPECTIVE JUROR:      I'm Juror 21.
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  1                  THE COURT:    Yes, sir.

  2                  PROSPECTIVE JUROR:      I work for the United States

  3      Department of Agriculture, and I interact frequently with

  4      the United States Assistant Attorney Bill King.

  5                  THE COURT:    And do you think you could be a fair

  6      and impartial Juror when although on occasion you work with

  7      them and specifically Mr. King?

  8                  PROSPECTIVE JUROR:      I do.

  9                  THE COURT:    Thank you, sir.       The Defendant, Yanjun

10       Xu, and his attorneys, Ralph Kohnen, Jeanne Cors, Bob

11       McBride, Sanna-Rae Taylor, all of whom are with the Taft Law

12       Firm, as well as Attorney Florian Miedel of Miedel Law Firm,

13       the interpreter is here next to the Defendant, Mae Harmon.

14                   First, are you, or any member of your immediate

15       family, personally acquainted with, related to by blood or

16       marriage, or connected in any way with Yanjun Xu?

17       (No Prospective Juror raised their hand.)

18                   THE COURT:    No hands.     Does anyone personally know

19       Yanjun Xu in any capacity, the Defendant?

20       (No Prospective Juror raised their hand.)

21                   THE COURT:    No hands.     Are you, or is any member of

22       your immediate family, personally acquainted with, related

23       to by blood or marriage, connected in any way with any of

24       the Defense attorneys?

25       (No Prospective Juror raised their hand.)
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  1                  THE COURT:    No hands.     Does anyone personally know

  2      anyone who works at Taft, the law firm, in any capacity?

  3      (Prospective Jurors raised their hand.)

  4                  THE COURT:    Yes, sir?

  5                  PROSPECTIVE JUROR:      Juror Number 14.

  6                  THE COURT:    Yes.

  7                  PROSPECTIVE JUROR:      I know several attorneys at

  8      Taft Law, including Ron Christian and Marcia Andrew.

  9                  THE COURT:    And are these friends or professional

10       colleagues?

11                   PROSPECTIVE JUROR:      One is a -- one represents the

12       foundation that I'm the president of, Ron Christian.

13                   THE COURT:    And does your relationship with him

14       affect your ability to be a fair and impartial Juror?

15                   PROSPECTIVE JUROR:      No.

16                   THE COURT:    What is the foundation?

17                   PROSPECTIVE JUROR:      It's the foundation for Atrium

18       Medical Center a hospital in Middletown, Ohio.

19                   THE COURT:    Thank you for speaking up, sir.

20                   PROSPECTIVE JUROR:      Thank you.

21                   THE COURT:    Does anyone know Ms. Harmon, the

22       interpreter, in any capacity --           we got another hand in the

23       back.    I'm sorry, sir.

24                   PROSPECTIVE JUROR:      Juror Number 39.       I know Gregg

25       Rogers, who is an attorney with Taft Law Firm.
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  1                  THE COURT:    So do I.     Would that knowledge and

  2      relationship affect your ability to be a fair and impartial

  3      Juror?

  4                  PROSPECTIVE JUROR:      No, sir.

  5                  THE COURT:    Does he represent you or your company?

  6                  PROSPECTIVE JUROR:      No, sir.

  7                  THE COURT:    Is a friend?

  8                  PROSPECTIVE JUROR:      He's a member of my church.

  9                  THE COURT:    Very well.     Thank you for speaking up.

10       Does anyone know Ms. Harmon in any capacity?

11       (No Prospective Juror raised their hand.)

12                   THE COURT:    No hands.     I'm going to read a list of

13       people who may be witnesses in this case.             There are a bunch

14       of names.     I'm going to ask you if they sound familiar or if

15       you think you know somebody by that name.

16                   James Mulvenon?

17       (No Prospective Juror raised their hand.)

18                   THE COURT:    No hands.     Stijn Berrevoets?

19       (No Prospective Juror raised their hand.)

20                   THE COURT:    No hands.     Todd Vokas?

21       (No Prospective Juror raised their hand.)

22                   THE COURT:    Agent Bradley Hull?

23       (No Prospective Juror raised their hand.)

24                   THE COURT:    Jason Wang?

25       (No Prospective Juror raised their hand.)
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  1                  THE COURT:    David Zheng?

  2      (No Prospective Juror raised their hand.)

  3                  THE COURT:    Nick Kray?

  4      (No Prospective Juror raised their hand.)

  5                  THE COURT:    Eric Ritter?

  6      (No Prospective Juror raised their hand.)

  7                  THE COURT:    Rizwan Ramakdawala?

  8      (No Prospective Juror raised their hand.)

  9                  THE COURT:    Arthur Gao?

10       (No Prospective Juror raised their hand.)

11                   THE COURT:    Michael Reigle?

12       (No Prospective Juror raised their hand.)

13                   THE COURT:    Sun Li?

14       (No Prospective Juror raised their hand.)

15                   THE COURT:    Adam James?

16       (No Prospective Juror raised their hand.)

17                   THE COURT:    Frederic Hascoet?

18       (No Prospective Juror raised their hand.)

19                   THE COURT:    James Olson?

20       (No Prospective Juror raised their hand.)

21                   THE COURT:    Lily Tang Williams?

22       (No Prospective Juror raised their hand.)

23                   THE COURT:    Colonel James A. Schnell?

24       (No Prospective Juror raised their hand.)

25                   THE COURT:    I saw no hands.       Is anyone related to
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  1      any of the individuals that I just named?

  2      (No Prospective Juror raised their hand.)

  3                  THE COURT:    Is anyone personally acquainted with

  4      any of those -- these persons or do you have any knowledge

  5      of them directly or in-directly through your social,

  6      business, or personal, or professional lives?

  7      (No Prospective Juror raised their hand.)

  8                  THE COURT:    Does anyone know any of my staff in any

  9      capacity:     Rebecca Santoro, Courtroom Deputy?

10       (No Prospective Juror raised their hand.)

11                   THE COURT:    Julie Hohenstein, one of my court

12       reporters?

13       (No Prospective Juror raised their hand.)

14                   THE COURT:    Cristina Frankian, my law clerk?

15       (No Prospective Juror raised their hand.)

16                   THE COURT:    Do any of you know anyone who works in

17       the courthouse, this courthouse?

18       (Prospective Jurors raised their hand.)

19                   THE COURT:    There's a hand up.

20                   PROSPECTIVE JUROR:      Juror Number 21.       In my

21       professional capacity you're deciding a matter for the

22       United States Department of Agriculture versus a property

23       owner in Clermont County.

24                   THE COURT:    Right.    Is that going to affect your

25       ability to be a fair and impartial Juror?
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  1                  PROSPECTIVE JUROR:      No, sir.

  2                  THE COURT:    Very well.     Thank you.     Anyone else

  3      know anyone in the courthouse?

  4      (No Prospective Juror raised their hand.)

  5                  THE COURT:    Well, for Pete's sake.        Do any of you

  6      know me?

  7      (Laughter.)

  8      (No Prospective Juror raised their hand.)

  9                  THE COURT:    Other than the gentleman who spoke who

10       doesn't know me per se, I don't believe, do you, sir?

11                   PROSPECTIVE JUROR:      No, sir.

12                   THE COURT:    Very well.     Do any of you know or

13       possibly recognize any of your fellow Jurors here today?

14       (No Prospective Juror raised their hand.)

15                   THE COURT:    No response.      So one final time, do any

16       of you recognize any of the names that have been mentioned

17       here today?

18       (No Prospective Juror raised their hand.)

19                   THE COURT:    Do you know anyone you've been

20       introduced to here today?

21       (No Prospective Juror raised their hand.)

22                   THE COURT:    Do you know anyone you've seen in the

23       courthouse today?

24       (No Prospective Juror raised their hand.)

25                   THE COURT:    Or do you know anyone that you see in
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  1      this courtroom currently that you haven't identified?

  2      (No Prospective Juror raised their hand.)

  3                  THE COURT:    Very well.     Do any of you personally

  4      know the Defendant, Yanjun Xu, in any capacity?

  5      (No Prospective Juror raised their hand.)

  6                  THE COURT:    No response.      Ms. Frankian, can you

  7      approach, please?

  8      (The Court confers with Ms. Frankian.)

  9                  THE COURT:    The Defendant in this case, Yanjun Xu,

10       has been charged with four Federal offenses, I told you:

11       Conspiracy to Commit Economic Espionage, Conspiracy to

12       Commit Trade Secret Theft, Attempted Economic Espionage,

13       Attempted Trade Secret Theft.          The Defendant has pled not

14       guilty to the charges, and the Defendant is presumed

15       innocent.

16                   Does anyone have any personal interest of any kind

17       in this case or in this Defendant or do you know anyone who

18       may have such a special interest?

19       (No Prospective Juror raised their hand.)

20                   THE COURT:    Has anyone here served as a Juror in a

21       criminal or civil case or as a member of the Grand Jury in

22       either Federal or State court?

23       (No Prospective Juror in the Jury box raised their hand.)

24                   THE COURT:    I see no hands in the box.

25       (Prospective Jurors raised their hand.)
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  1                  THE COURT:    I see one in the gallery.         Sir?

  2                  PROSPECTIVE JUROR:      Juror 20.      I have served on a

  3      Jury before in Hamilton County Courts.

  4                  THE COURT:    If you'll keep your voice up.          You

  5      served as a Juror before.         Is that what you said, sir?

  6                  PROSPECTIVE JUROR:      Yes.    Yes.

  7                  THE COURT:    And without telling me the outcome,

  8      don't tell me the outcome, can you please tell me what kind

  9      of case it was?      Do you know if it was criminal or civil?

10                   PROSPECTIVE JUROR:      It was criminal.

11                   THE COURT:    Very well.      Were you the foreperson?

12                   PROSPECTIVE JUROR:      I was not.

13                   THE COURT:    Do you understand that in a case like

14       you served, a criminal case, and in this case, which is a

15       criminal case, that the burden of proof is that the

16       prosecutor must prove the Defendant's guilt beyond a

17       reasonable doubt?

18                   PROSPECTIVE JUROR:      I certainly understand that.

19                   THE COURT:    And is there anything about your prior

20       service in the other case that would affect your ability to

21       be a fair and impartial Juror in this case?

22                   PROSPECTIVE JUROR:      I don't see how.

23                   THE COURT:    You said, I don't see how; is that

24       right?

25                   PROSPECTIVE JUROR:      No.    I said I don't see how.
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  1      The, the -- the more exact easy answer is no.

  2                  THE COURT:    All right.      And I'm not picking on you.

  3      I'm an old man.      I can't hear you.

  4                  Would your service on the prior case affect your

  5      ability to be a fair and impartial Juror in this case?

  6                  PROSPECTIVE JUROR:      No.

  7                  THE COURT:    And you're going to think I'm really

  8      old, but what's your Juror Number?

  9                  PROSPECTIVE JUROR:      20.

10                   THE COURT:    Thank you, sir.       Is there anyone else?

11       (No Prospective Juror raised their hand.)

12                   THE COURT:    Very well.      Are any of you currently

13       employed or were you previously employed by any Federal,

14       State, or local law enforcement agency, i.e., e.g., the

15       F.B.I., military police, State Highway Patrol, county

16       sheriff, any previous -- any police department?

17                   I'm asking about you.       Is there anyone who is in or

18       has that employment history?

19       (No Prospective Juror raised their hand.)

20                   THE COURT:    I see no hands.       I know some of you

21       indicated on your questionnaires that you have a family

22       member or members who are currently or were previously

23       employed with a Federal, State, or local law enforcement

24       agency.

25                   From those of you who have family members who are
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  1      or were members of law enforcement, do you believe that you

  2      will be unable to serve as a fair and impartial Juror on

  3      that basis?

  4      (No Prospective Juror raised their hand.)

  5                  THE COURT:    I see no hands.       Would anyone here have

  6      trouble returning a verdict of not guilty if the Government

  7      fails to prove its case beyond a reasonable doubt?

  8      (No Prospective Juror raised their hand.)

  9                  THE COURT:    Would anybody here have trouble

10       returning a verdict of guilty if the evidence proves guilt

11       beyond a reasonable doubt?

12       (No Prospective Juror raised their hand.)

13                   THE COURT:    Okay.    Does anyone have any prior

14       knowledge or information about this particular case?                This

15       includes knowledge gained from personal contacts from the

16       media or from the Internet.

17       (No Prospective Juror raised their hand.)

18                   THE COURT:    No hands.     Very well.     In the

19       questionnaire that we sent to each of you, there was a

20       question asking you about any opinions or beliefs you may

21       have regarding China, the Chinese culture, Chinese Communist

22       Party, or the Chinese Government, and many of you said that

23       you did have certain opinions or beliefs.

24                   But most importantly, most, if not all, of you

25       answered the next question by saying that your opinions or
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  1      beliefs about China would not impact your ability to serve

  2      as an impartial Juror.

  3                  The specific question specifically ask, quote, in

  4      the event any party, attorney, or witness in this case is a

  5      Chinese citizen, or if any of the evidence relates to China,

  6      do you believe that your opinions or beliefs would impact

  7      your ability to serve as an impartial Juror?

  8                  Most, if not all, of you said no.          I want to ask

  9      everyone that question again, because it's incredibly

10       important.

11                   Mr. Xu is a Chinese citizen, and in this case you

12       will hear about China and the Chinese Government, and you'll

13       likely hear testimony of witnesses from different countries

14       and of different ethnicities; but China and the Chinese

15       Government are not on trial here.

16                   Mr. Xu is the Defendant charged in this case, and

17       he is presumed innocent.         I want to make sure that everyone

18       understands and acknowledges, accepts this critical point,

19       so I want to ask you again, is there anyone here who thinks

20       they cannot serve as a fair and impartial Juror or anyone

21       who thinks they cannot presume Mr. Xu's innocence due to

22       your opinions and beliefs about the China or Chinese

23       Government?

24       (No Prospective Juror raised their hand.)

25                   THE COURT:    I see no hands.       Is there anyone here
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  1      who believes that their opinions about people of different

  2      ethnicities and nationalities would interfere with their

  3      ability to serve as a fair and impartial Juror?

  4      (No Prospective Juror raised their hand.)

  5                  THE COURT:    Is there any reason in your mind why

  6      you cannot hear and consider the evidence in this case and

  7      render a fair and impartial verdict?

  8      (No Prospective Juror raised their hand.)

  9                  THE COURT:    I see no hands.       Does anyone have

10       feelings, thoughts, inclinations, or beliefs which might

11       influence or interfere with your full and impartial

12       consideration in which might influence you either in favor

13       of or against the Defendant or the Government?

14       (No Prospective Juror raised their hand.)

15                   THE COURT:    No hands.     As a Juror, you will be

16       required to take the law as the Court -- as this Judge

17       instructs you without any reservation and with disregard of

18       any other ideas, notions, or beliefs about the law that you

19       may have and apply the facts based on the evidence in this

20       case to the Judge's instructions on the law only.

21                   Is there anyone here who believes -- does not

22       believe he or she can do this?          So if I tell you the law

23       says X, and you say, well, I didn't think that was right.                   I

24       don't think it should be.         Will you follow my instruction of

25       the law and set aside any other thoughts?
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                                                                                    41

  1      (Prospective Jurors nod heads affirmatively.)

  2                  THE COURT:    Very well.     Is there anyone here who

  3      cannot recognize and accept the proposition that only Jurors

  4      can judge the facts?        The Jury is going to decide what the

  5      facts are.     I'm not.     You are.

  6                  And then I will tell you the law, and you'll apply

  7      the facts to the law recognizing that I'm the sole judge of

  8      the law.

  9                  Is there anyone who cannot abide by that?

10       (No Prospective Juror raised their hand.)

11                   THE COURT:    No hands.     If you are selected as a

12       Juror in this case, can you extend the presumption of

13       innocence to the Defendant?

14                   That is, can you presume, as you must, that the

15       Defendant is innocent of the charge or a charge unless and

16       until guilt is established by proof that convinces you

17       beyond a reasonable doubt of the guilt?            If you cannot do

18       this, please hold up your hand.

19       (No Prospective Juror raised their hand.)

20                   THE COURT:    Because the Defendant is presumed

21       innocent, he has no obligation to do or say anything to

22       prove his innocence; therefore, the Defendant has the right

23       to choose not to present evidence and/or not to testify.

24                   And if he chooses to exercise the right not to

25       testify or not to present any evidence, no Juror can hold
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  1      that decision against him.

  2                  We asked a question about should a Defendant

  3      testify.     You guys answered it.       I'm telling you, as a

  4      matter of law, like anyone charged with a crime in this free

  5      country, he's presumed innocent unless and until guilt is

  6      established beyond a reasonable doubt; and he has no

  7      obligation to present evidence or to testify or to tell his

  8      side of the story, and you cannot hold that against him if

  9      he exercises that right.

10                   Is there anyone here who believes they cannot

11       accept or abide by the fact that the Defendant has no

12       obligation to prove his innocence, to present evidence, or

13       to testify?

14       (No Prospective Juror raised their hand.)

15                   THE COURT:    Is there anyone here who understands

16       that the Defendant has the right to choose not to testify or

17       present evidence, but who would hold that decision against

18       the Defendant in any way?

19       (No Prospective Juror raised their hand.)

20                   THE COURT:    No hands.     I really banged on this.

21       It's the essence of a criminal trial.            He's presumed

22       innocent.     Guilt has to be proved beyond a reasonable doubt.

23       He has no obligation to say or do anything, including

24       testify.

25                   Is there anyone who can't abide by that?
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  1      (No Prospective Juror raised their hand.)

  2                  THE COURT:    Very well.     Does anyone here have any

  3      bias or prejudice based solely on the fact that the

  4      Defendant has been charged with these offenses against the

  5      United States?

  6      (No Prospective Juror raised their hand.)

  7                  THE COURT:    So there's nobody sitting here

  8      thinking, well, he got charged; he must be guilty?               If

  9      you're thinking that, put it out of your mind.

10                   Does anyone have any bias or prejudice based solely

11       on the fact that the Defendant has been charged?

12       (No Prospective Juror raised their hand.)

13                   THE COURT:    Is there anyone here who has already

14       formed or expressed any opinion as to the guilt or innocent

15       --   innocence of the Defendant?

16       (No Prospective Juror raised their hand.)

17                   THE COURT:    I see no hands.       You've all got an open

18       mind.    You've heard my instructions.          Forgive me for asking,

19       does anyone have any disabilities, such as difficulty

20       sitting, hearing, or seeing or staying awake?

21       (Prospective Juror raised their hand.)

22                   THE COURT:    I've got a hand up in the gallery.

23                   PROSPECTIVE JUROR:      I'm Juror 38.

24                   THE COURT:    38.    Let me get to my page.        Yes?

25                   PROSPECTIVE JUROR:      I have narcolepsy.
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  1                  THE COURT:    You have what, sir?

  2                  PROSPECTIVE JUROR:      Narcolepsy.

  3                  THE COURT:    Okay.    You fall asleep on occasion?

  4                  PROSPECTIVE JUROR:      I take medications that helps.

  5                  THE COURT:    If you're going to be a Juror, you

  6      can't be falling asleep during the evidence, and you have a

  7      legitimate medical condition that you're taking medication

  8      for.

  9                  Are you concerned that your narcolepsy will

10       interfere with your ability to stay awake and hear the

11       evidence when we're in session?

12                   PROSPECTIVE JUROR:      No.

13                   THE COURT:    Thank you.      Would you be offended if we

14       see you nodding to suggest good morning to you?

15                   PROSPECTIVE JUROR:      No.    I would not be offended.

16                   THE COURT:    Very well.      Thank you.    Somebody in the

17       Jury box.     I'm sorry, sir?

18                   PROSPECTIVE JUROR:      Yes, sir, Juror Number 4.         I do

19       have a hearing loss, and I have hearing aids, and I'll be

20       fine.    It does not affect me.

21                   THE COURT:    Do you think I should get hearing aids?

22                   PROSPECTIVE JUROR:      It's your choice, sir.        It was

23       recommended by my wife.

24                   THE COURT:    I have a wife as well.        You may be

25       seated.
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  1                  PROSPECTIVE JUROR:      Get them.

  2                  THE COURT:    What number are you?        I didn't hear

  3      you.

  4      (Laughter.)

  5                  PROSPECTIVE JUROR:      Number 4, sir.

  6                  THE COURT:    I did hear you.       Anybody else have

  7      difficulty staying awake?         Particularly if something gets

  8      boring.

  9      (No Prospective Juror raised their hand.)

10                   THE COURT:    Very well.     Does anyone here have any

11       medical issues or health concerns that have not been

12       identified in the courtroom today that you believe could

13       interfere with your ability to serve as a Juror?               I need to

14       ask.

15       (No Prospective Juror raised their hand.)

16                   THE COURT:    No responses.      The Court and the

17       attorneys estimate that this trial may take weeks, several

18       weeks, possibly until December 1.

19                   Everyone who's present here today indicated on

20       their supplemental questionnaires or on follow-up that they

21       are, in fact, able to serve during this time; but I want to

22       ask everyone once, again, does anyone have any family, work,

23       or personal circumstances because of which you believe you

24       cannot serve as a Juror during the entire trial and give it

25       your undivided attention?
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  1      (Some Prospective Jurors raised their hands.)

  2                  THE COURT:    All right.     We're going to walk through

  3      these.    The gentleman in the front row?

  4                  PROSPECTIVE JUROR:      Juror Number 7.

  5                  THE COURT:    Yes.

  6                  PROSPECTIVE JUROR:      I had re-constructive hand

  7      surgery, and I'm -- I just started physical therapy last

  8      week, and I don't know how, how the scheduling is going to

  9      go for me to continue my physical therapy and to see my

10       surgeon.

11                   THE COURT:    We're going to be in session Monday

12       through Friday, except the days I identified, from 9:30 to

13       4:30.

14                   PROSPECTIVE JUROR:      Yeah.

15                   THE COURT:    Is that going to interfere?          Can you

16       reschedule your physical therapy or do you want to do it

17       with me or --

18                   PROSPECTIVE JUROR:      Trying to do that now so that I

19       could try to have the therapy sessions in the morning.

20                   THE COURT:    Before 9:30?

21                   PROSPECTIVE JUROR:      Before 9:30, yes, sir.

22                   THE COURT:    Such that you would get here at 9:15?

23                   PROSPECTIVE JUROR:      (Prospective Juror nods head

24       affirmatively.)

25                   THE COURT:    Is that yes?
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  1                  PROSPECTIVE JUROR:      That's yes.

  2                  THE COURT:    And what's the word?

  3                  PROSPECTIVE JUROR:      So far I've got tomorrow

  4      scheduled.     It's 7:30 so I should be -- that should give me

  5      enough time, but I've got to see how, how they can work the

  6      scheduling out.

  7                  THE COURT:    Did you do physical therapy yet?           Have

  8      you had a session yet?

  9                  PROSPECTIVE JUROR:      Yes.

10                   THE COURT:    What do you do generally?

11                   PROSPECTIVE JUROR:      Well, they have me doing all

12       different types of (Indicating) --

13                   THE COURT:    All right.     I'll help you.

14                   PROSPECTIVE JUROR:      Yeah.

15                   THE COURT:    All right.

16                   PROSPECTIVE JUROR:      Yeah, picking up things, that

17       type of thing.

18                   THE COURT:    All right.     Thank you, sir.

19                   PROSPECTIVE JUROR:      Thank you.

20                   THE COURT:    You may be seated.       There was someone

21       in the second row of the box?

22                   PROSPECTIVE JUROR:      Juror 15.

23                   THE COURT:    Give me a moment to get to your number.

24       Yes, sir?

25                   PROSPECTIVE JUROR:      Unfortunately, about a month
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  1      ago my wife and I were in an accident where somebody rear

  2      ended us, and my wife has two fractured vertebrae and a

  3      pinched nerve, and she has a hard time functioning by

  4      herself during the day.

  5                  We haven't got any -- anywhere with the doctors

  6      yet, so I don't know how long that's going to last.

  7                  THE COURT:    Is that going to impact your ability to

  8      be here as a Juror?

  9                  PROSPECTIVE JUROR:      If she would need me there for

10       something, yes.

11                   THE COURT:    Well, tell me, tell me her condition

12       and whether you're going to be needed there?

13                   PROSPECTIVE JUROR:      Well, she has a hard time

14       walking or even helping herself around the house, and the

15       other factor is we have a five-year old granddaughter that

16       we babysit every day until she gets on the bus to go to

17       school.    It would be very difficult for her to do that.

18                   THE COURT:    So tell me why you didn't tell us that

19       in your questionnaire?

20                   PROSPECTIVE JUROR:      Well, at the time that I did --

21       I filled out the questionnaire, it didn't seem like it was

22       going to be a problem; but as the month has progressed, she

23       has gotten continually worse.

24                   THE COURT:    I'm sorry to hear that.         How are you

25       doing?
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  1                  PROSPECTIVE JUROR:      Fine.     I mean, I had enough

  2      problems already before the accident.            Nothing else happened

  3      to me.

  4                  THE COURT:    Do you need the name of a good lawyer?

  5                  PROSPECTIVE JUROR:      We're talking to someone in

  6      Lebanon.

  7                  THE COURT:    That was a joke.       Trying to keep --

  8      (Laughter.)

  9                  PROSPECTIVE JUROR:      I know.

10                   THE COURT:    I'm trying to keep it light.          Thank you

11       for speaking up.       I'm sorry.     15.    I'm not going to excuse

12       anybody until we get through everything.               Got another hand

13       in the box?

14                   PROSPECTIVE JUROR:      Juror Number 9.

15                   THE COURT:    Nine?

16                   PROSPECTIVE JUROR:      Nine.

17                   THE COURT:    All right.        Hang on.    I'm going to get

18       to the page, and you're going to speak up, please.

19                   PROSPECTIVE JUROR:      So I had a filling fall out of

20       my tooth earlier this week.         It has, like, an exposed nerve.

21       Pretty uncomfortable, and I need to try to get an

22       appointment made.       If this is going to be lasting --

23                   THE COURT:    Keep your voice up.

24                   PROSPECTIVE JUROR:      If this is going to last until

25       December 1st, I was just wondering if I would be able to get
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  1      --

  2                  THE COURT:    I'm sorry.     You need to stop and keep

  3      your voice up.

  4                  PROSPECTIVE JUROR:      So I have a filling --

  5                  THE COURT:    I know about the filling.

  6                  PROSPECTIVE JUROR:      I just didn't know where I lost

  7      you.    I need to make an appointment, and my dentist is not

  8      open on the weekends.

  9                  THE COURT:    Right.

10                   PROSPECTIVE JUROR:      So that is a scheduling

11       conflict.

12                   THE COURT:    Can you do it the week of Thanksgiving,

13       or you're not going to be able to make it to that?

14                   PROSPECTIVE JUROR:      I have to check and see if they

15       are open the week of Thanksgiving as well.             Like I said,

16       this is very recently.        That's why I didn't have it on my

17       questionnaire.

18                   THE COURT:    I understand.

19                   PROSPECTIVE JUROR:      I'd like to work with you guys

20       too.    I just need to know if that's going to be a huge

21       inconvenience for the courts.

22                   THE COURT:    There are a couple options.          The days

23       we are not in court, if you can get an appointment, that

24       wouldn't interfere.       We might take a break for you to have

25       your an appointment if we had to.           Would you mind if we all
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  1      came with you?

  2      (Laughter.)

  3                  PROSPECTIVE JUROR:      Oh, sure.

  4                  THE COURT:    Very well.     Thank you, sir.       Now, I'm

  5      out of the box and into the gallery.            Way back in the back

  6      row.    Distinguished gentleman with the white hair and black

  7      mask?

  8                  PROSPECTIVE JUROR:      Yes, sir.

  9                  THE COURT:    Juror Number?

10                   PROSPECTIVE JUROR:      Number 40.

11                   THE COURT:    Wait until I get to the page.          Yes,

12       sir?

13                   PROSPECTIVE JUROR:      So I have Stage 4 Lung Cancer.

14       Just recently diagnosed.         I'm on drugs that are maintaining

15       my health right now.

16                   I can't guarantee how I will feel, let's say, six

17       weeks from now.      It's an ongoing every day thing.           So I just

18       wanted to make the Court aware of that.

19                   THE COURT:    I appreciate you speaking up, and in

20       the first instance, I regret the diagnosis of recent time.

21       I want you to stay positive and alive.

22                   PROSPECTIVE JUROR:      Thank you.

23                   THE COURT:    You're taking the medicine.          Has it

24       interfered with your abilities?

25                   PROSPECTIVE JUROR:      As of now, no, but --
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  1                  THE COURT:    You just don't know what's going to

  2      happen in the future?

  3                  PROSPECTIVE JUROR:      I do not know what's going to

  4      happen.    I'm 79 years old.       I can't predict exactly how this

  5      is going to affect me, so I'm just making the Court aware.

  6                  THE COURT:    You're 79 years old?

  7                  PROSPECTIVE JUROR:      Yes.

  8                  THE COURT:    You're an inspiration.        I hope to make

  9      it to 79, and I hope you make it for a long time thereafter.

10       Thank you for speaking up.

11                   Are there any other hands in the gallery?

12       (No Prospective Juror raised their hand.)

13                   THE COURT:    Juror Number 40?       Maybe it wasn't 40.

14       The cancer survivor.        Who is the cancer survivor?

15                   PROSPECTIVE JUROR:      Me.

16                   THE COURT:    All right.      I'm trying to ask you

17       another question.       Can you hear me?

18                   PROSPECTIVE JUROR:      Yes.

19                   THE COURT:    You know over 70 is the basis for an

20       automatic exclusion.        Do you wish to be exclude -- excused?

21                   PROSPECTIVE JUROR:      On that basis, not necessarily,

22       no.   I know that is an exclusion in some, some states, some

23       courts.    It was never asked of me when I filled out the

24       questionnaire.      I didn't know it was going to be the

25       appropriate time to bring it up until now.
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  1                  THE COURT:    Well, now I'm bringing it up.          Do you

  2      want to be excused because you're over 70?

  3                  PROSPECTIVE JUROR:      Possibly under the

  4      circumstances it would be the best thing.             I can't say it's

  5      the age as much as the medicine that that could affect.

  6                  THE COURT:    Very well.      Thank you.    One last time,

  7      do you want to be excused?

  8                  PROSPECTIVE JUROR:      No.

  9                  THE COURT:    Thank you, sir.       So we were talking

10       about --     and I have no other hands, I don't believe, and

11       here it is again, and I'm not fishing for excuses.

12                   Does anybody have any family, work, or personal

13       circumstances because of which you believe you cannot serve

14       as a Juror during the entire trial and give it your

15       undivided attention?

16       (Prospective Juror raised their hand.)

17                   THE COURT:    Yes, sir?

18                   PROSPECTIVE JUROR:      Juror Number 16.

19                   THE COURT:    Let me get to the paperwork, please.

20       Okay.

21                   PROSPECTIVE JUROR:      Seeing as you're stressing it,

22       I do have a child with a health condition, congenital heart

23       disease, and I have an appointment, you know, to undergo

24       some routine check-ups; so if that were to, you know, go

25       south or there be some issue, then I would need to attend,
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  1      that would be of an issue.

  2                  THE COURT:    I'm going to ask you to speak up.           I

  3      heard that you have a child --

  4                  PROSPECTIVE JUROR:      Sorry.

  5                  THE COURT:    -- with a health condition -- let me

  6      tell what you I heard.

  7                  PROSPECTIVE JUROR:      Yeah.

  8                  THE COURT:    I think I heard you have a child with a

  9      health condition.       Might be a heart condition?

10                   PROSPECTIVE JUROR:      Yes.

11                   THE COURT:    May require periodic medical

12       appointments for the child.         Is that what you're telling me?

13                   PROSPECTIVE JUROR:      He has one appointment

14       scheduled within the next six weeks, so if something were to

15       arise at that appointment, that would, you know, I'd

16       probably like to be there; but I don't know the outcome of

17       that.

18                   THE COURT:    Right.    And the appointment that you do

19       have, do you know when it is?

20                   PROSPECTIVE JUROR:      I couldn't tell you off the top

21       of my head.     I'm kind of bad with dates.

22                   THE COURT:    Welcome to the club.

23       (Laughter.)

24                   THE COURT:    So you just can't promise us that

25       something might come up that required you?
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  1                  PROSPECTIVE JUROR:      Correct, sir.

  2                  THE COURT:    Okay.    Anyone else need to discuss with

  3      me responses to that question?

  4      (No Prospective Juror raised their hand.)

  5                  THE COURT:    Very well.     Do any of you have

  6      significant transportation issues that might interfere with

  7      your ability to be present for court on time every day as

  8      instructed?

  9                  Let me say that I understand that traffic is

10       difficult and unpredictable.          I'm sorry for that

11       inconvenience, but my question refers to significant

12       transportation issues.

13                   For example, you do not have a car; you don't have

14       a license; if you live 75 or more miles one way from the

15       courthouse; does anyone have that type of significant

16       transportation issue that might interfere with your ability

17       to be here on time every day as instructed?

18       (No Prospective Juror raised their hand.)

19                   THE COURT:    Nobody's going to tell me tomorrow that

20       they don't have a car.        They don't have a license.         They

21       live too far away; is that right?

22                   Everyone's telling me that you can be here every

23       day by 9:15 with court ending at about 4:30; correct?

24       (No Prospective Juror raised their hand.)

25                   THE COURT:    Very well.     Finally, can any of you
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  1      think of any matter that you should call to the Court's

  2      attention that we have not already discussed which may have

  3      some impact on your qualifications as a Juror or that even

  4      to the slightest degree may prevent you from rendering a

  5      fair and impartial verdict based solely upon the evidence

  6      and my instructions as to the law?

  7      (No Prospective Juror raised their hand.)

  8                  THE COURT:    I've been at this a long time.          I've

  9      picked a lot of juries, and in almost every one, day two,

10       three or four of trial somebody comes up with, oops, forgot

11       about a pre-planned vacation.          I didn't tell you this.        I

12       didn't tell you that.

13                   Every one in the room has indicated that you're

14       able to render a fair and impartial verdict based solely

15       upon the evidence and my instructions, you'll apply the

16       presumption of innocence, and you can get here every day on

17       time and participate through till the end of trial unless we

18       chatted already; is that right?

19       (Prospective Jurors nod heads affirmatively.)

20                   THE COURT:    Anybody need to tell me anything now?

21       (Prospective Juror raised their hand.)

22                   THE COURT:    Yes, sir?

23                   PROSPECTIVE JUROR:      Juror Number 10, I recently got

24       a job offer as of last Friday, and I have to do drug testing

25       and --
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  1                  THE COURT:    Stop.    I'm sorry.     You got a job offer

  2      last Friday?

  3                  PROSPECTIVE JUROR:      Yes, and I have to do drug

  4      testing and a physical, and they already have scheduled

  5      those for me.

  6                  THE COURT:    And they also what?

  7                  PROSPECTIVE JUROR:      A drug test and a physical, and

  8      they have those scheduled for me, but they haven't --

  9      they're telling me later today, so I'm not sure if that

10       would be a conflict with this or not.

11                   THE COURT:    What are they telling you?

12                   PROSPECTIVE JUROR:      When those dates are that I

13       have to take those.

14                   THE COURT:    And they haven't told you that yet?

15                   PROSPECTIVE JUROR:      No, they're telling me today at

16       12.

17                   THE COURT:    So they haven't told you yet?

18                   PROSPECTIVE JUROR:      Yes.

19                   THE COURT:    They're going to tell you today when

20       the testing is?

21                   PROSPECTIVE JUROR:      Yes.

22                   THE COURT:    Do you have any clue when it is?            I'll

23       drug test you.

24                   PROSPECTIVE JUROR:      Sometime next week.        They

25       usually want me to get it by next Wednesday.
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  1                  THE COURT:    Where are they located?

  2                  PROSPECTIVE JUROR:      They're in Cincinnati.        I'm not

  3      sure of the exact location.

  4                  THE COURT:    They do the drug testing and physical,

  5      do they do it or do they send you somewhere?

  6                  PROSPECTIVE JUROR:      They send me somewhere.

  7                  THE COURT:    So maybe we can schedule that?

  8                  PROSPECTIVE JUROR:      Uh-huh.

  9                  THE COURT:    You have to do it this week?

10                   PROSPECTIVE JUROR:      They'd like me to.

11                   THE COURT:    Well, thank you for speaking up.           You

12       were so good at speaking up.          I lost your Juror Number?

13                   PROSPECTIVE JUROR:      Ten.

14                   THE COURT:    Thank you.     Congratulations if those

15       are in order.      Anybody else?      Back to Number 10.       When's

16       this job going to start?

17                   PROSPECTIVE JUROR:      It's supposed to start Monday.

18                   THE COURT:    Well, then you can't be a Juror; is

19       that right?

20                   PROSPECTIVE JUROR:      Yes.

21                   THE COURT:    Is this a really good job?

22                   PROSPECTIVE JUROR:      Yes.

23                   THE COURT:    I didn't hear you.       I was teasing but

24       go ahead and answer.        Do you want to take the job?

25                   PROSPECTIVE JUROR:      Yes.
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  1                  THE COURT:    Thank you for speaking up.         Anybody

  2      else?    Sir, I'm really pleased you're here and spoke up, but

  3      it wasn't until the last question I figured out that he's

  4      going to be working at a new job.           You need to tell me now

  5      if you can't do this.        Is there --     I've asked you the

  6      questions.

  7                  Is there anyone else who needs to speak with me

  8      about ability to serve throughout the trial and every day?

  9      (No Prospective Juror raised their hand.)

10                   THE COURT:    Thank you.     Okay.    You survived my

11       questions.     The lawyers now have a chance to ask questions.

12       The lawyers answer to me.         You're in good shape.        Brace

13       yourself.

14                   On behalf of the Government, you get to go first,

15       who will be inquiring?

16                   MR. MANGAN:     Me, me, Your Honor.

17                   THE COURT:    Very well.     Would you tell me your name

18       again?

19                   MR. MANGAN:     Good morning, everyone.        My name is

20       Tim Mangan.     I'm with the U.S. Attorney's Office.            I want to

21       echo the Court's sentiments earlier about thanking you for

22       coming.

23                   You know, having Jury trials with Juries from our

24       peers is such a bedrock principle for our justice system.

25       It just can't operate without you.           Especially in
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  1      challenging times, we really appreciate you coming in.

  2                  I'm going to ask some questions.          At times, some

  3      questions for individuals.         We don't mean to pry.        We don't

  4      want to get into personal lives.           It's just part of the

  5      process for us to try to make sure we have a fair and

  6      impartial Jury for both the Defense and the Government going

  7      forward.

  8                  Everyone puts in a lot of time.          There's a lot

  9      involved in these cases, and so it's important for us to get

10       through this process as efficiently as we can.              I'll try to

11       be brief as best I can.

12                   First of all, this case is going to involve --

13       there may be an instance or two where the Government has

14       used someone as a cooperating witness.

15                   If you've ever heard of that phrase before, where

16       they approach someone and then that person, an individual

17       cooperates with the investigation -- in this case

18       cooperating with the F.B.I.

19                   Does anybody have any concerns or problems with law

20       enforcement using cooperating witnesses in their

21       investigations?

22       (No Prospective Juror raised their hand.)

23                   MR. MANGAN:     And feel free to just raise your hand

24       if you do, and we can talk about it.

25                   It's a technique that's used.         You've maybe seen
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  1      them on TV, but it's called using a cooperator or

  2      cooperating witness.

  3                  Does anybody at all have a concern with that or a

  4      problem with that kind of technique?

  5      (No Prospective Juror raised their hand.)

  6                  MR. MANGAN:     All right.     Let me ask you as well, if

  7      you hear testimony from a witness who's been convicted of a

  8      crime, you may be instructed to examine their testimony with

  9      greater caution.

10                   Does anybody feel that they would have any

11       particular concerns about trying to evaluate the testimony

12       of a witness who may have been convicted of a crime?

13       (No Prospective Juror raised their hand.)

14                   MR. MANGAN:     Feel free to raise your hand if you

15       have any -- anything?        No concerns?

16       (No Prospective Juror raised their hand.)

17                   MR. MANGAN:     All right.     Thank you.     Let me

18       follow-up specifically, I know -- Number 21.              Just a

19       follow-up.     Thank you for indicating kind of where you work.

20       I understand you work with another government agency;

21       correct?

22                   PROSPECTIVE JUROR:      I do.

23                   MR. MANGAN:     All right.     And as part of that, you

24       have, it sounds like, one case with one of the attorneys at

25       the U.S. Attorney's Office?
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  1                  PROSPECTIVE JUROR:      I do.

  2                  MR. MANGAN:     All right.     Is it simply one case

  3      you're working on?

  4                  PROSPECTIVE JUROR:      Currently, yes.

  5                  MR. MANGAN:     Okay.

  6                  PROSPECTIVE JUROR:      With the possibility of others.

  7                  MR. MANGAN:     All right.     And is that a civil case?

  8                  PROSPECTIVE JUROR:      It is.

  9                  MR. MANGAN:     Okay.   And that's strictly in your

10       professional capacity?        You don't have any personal

11       relationship with the Assistant U.S. Attorney; correct?

12                   PROSPECTIVE JUROR:      Correct.

13                   MR. MANGAN:     And, and do you have any association

14       or relationship with any of the attorneys that work on the

15       criminal side of that office?

16                   PROSPECTIVE JUROR:      I do not.

17                   MR. MANGAN:     All right.     And in your work capacity,

18       have you had any interactions with the Federal prosecutors

19       locally?

20                   PROSPECTIVE JUROR:      I'm sorry.     Are you asking

21       about the case that I brought up?

22                   MR. MANGAN:     No.   You mentioned that was a civil

23       case.

24                   PROSPECTIVE JUROR:      Oh, okay, yes.      I had no

25       interactions on the criminal side.
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  1                  MR. MANGAN:     Okay.   And I realize you work for a

  2      different department of the Government.            Given all that, you

  3      still believe you could be a fair and impartial Juror?

  4                  PROSPECTIVE JUROR:      I do.

  5                  MR. MANGAN:     All right.     Thank you, sir.      I

  6      appreciate it.      I want to ask now about -- in this case it's

  7      going to touch on some issues relating to certain aviation

  8      companies, but in particular GE Aviation.

  9                  So I want to start and kind of ask if anybody here

10       is a current employee of GE Aviation?

11       (Some Prospective Jurors raised their hands.)

12                   MR. MANGAN:     So I see one in the box.        Sir, could

13       you stand up?      And tell us your Juror Number?

14                   PROSPECTIVE JUROR:      Juror Number 9.

15                   MR. MANGAN:     Number 9?

16                   PROSPECTIVE JUROR:      (Prospective Juror nods head

17       affirmatively.)

18                   MR. MANGAN:     And are you a current GE employee?

19                   PROSPECTIVE JUROR:      Yes.

20                   MR. MANGAN:     How long have you worked there?

21                   PROSPECTIVE JUROR:      Since February of '19.

22                   MR. MANGAN:     Okay.   And do you work for --          I know

23       GE has -- it's a large company with different divisions.                   Do

24       you work in the aviation division?

25                   PROSPECTIVE JUROR:      Yes.
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  1                  MR. MANGAN:     All right.     And can you tell generally

  2      sort of what field you work in?

  3                  PROSPECTIVE JUROR:      Electrical maintenance.

  4                  MR. MANGAN:     Electrical maintenance?

  5                  PROSPECTIVE JUROR:      Yes.

  6                  MR. MANGAN:     All right.     Are you involved at all in

  7      the design or engineering of the jet engines?

  8                  PROSPECTIVE JUROR:      No.

  9                  MR. MANGAN:     Are you involved in the manufacturing

10       of the jet engines?

11                   PROSPECTIVE JUROR:      No, not directly.

12                   MR. MANGAN:     All right.     You say it was in

13       electrical maintenance?

14                   PROSPECTIVE JUROR:      Yes.

15                   MR. MANGAN:     Okay.   And does that relate to the

16       facilities?

17                   PROSPECTIVE JUROR:      Partly.     I'm in a division that

18       works on the component testing, so sometimes engineers will

19       come to us, ask them to construct cables --

20                   MR. MANGAN:     Okay.

21                   PROSPECTIVE JUROR:      -- you know, cable ends and

22       then they take those pieces back and use them for testing.

23                   MR. MANGAN:     Okay.   Earlier the judge asked about

24       any knowledge of this particular case.            Do you have any

25       knowledge of this case?
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  1                  PROSPECTIVE JUROR:      No, nothing outside of the

  2      questionnaire.

  3                  MR. MANGAN:     All right.     When they listed the

  4      names of the witnesses, did you recognize any of those

  5      witnesses?

  6                  PROSPECTIVE JUROR:      No.

  7                  MR. MANGAN:     Okay.   And you have not heard this

  8      discussed with any of your co-workers at GE Aviation?

  9                  PROSPECTIVE JUROR:      No.

10                   MR. MANGAN:     All right.     If there's a witness from

11       GE Aviation, would you give that witness's testimony any

12       more or less weight just because you're employed at the same

13       company?

14                   PROSPECTIVE JUROR:      No.

15                   MR. MANGAN:     All right.     Given all that, do you

16       still feel you could be a fair and impartial Juror?

17                   PROSPECTIVE JUROR:      Yes.

18                   MR. MANGAN:     All right.     Thank you.     I appreciate

19       it.   I believe there was another hand?

20       (Some Prospective Jurors raised their hands.)

21                   MR. MANGAN:     Yes, sir.     Could you start with your

22       number, please?

23                   PROSPECTIVE JUROR:      Juror 36.

24                   MR. MANGAN:     Juror 36?

25                   PROSPECTIVE JUROR:      Yes, sir.
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  1                  MR. MANGAN:     All right.     Thank you.     One moment.

  2                  COURT REPORTER JULIE HOHENSTEIN:          Sir, could you

  3      come to the microphone, please?

  4                  PROSPECTIVE JUROR:      Yes.

  5                  COURT REPORTER JULIE HOHENSTEIN:          Thank you.

  6                  PROSPECTIVE JUROR:      Is this good?

  7                  MR. MANGAN:     Yes.    Thank you.    And, sir, do you

  8      work at GE Aviation?

  9                  PROSPECTIVE JUROR:      I do currently work at GE

10       Aviation.

11                   MR. MANGAN:     Okay.   And how long have you worked

12       there?

13                   PROSPECTIVE JUROR:      Since 2001.

14                   MR. MANGAN:     All right.     And generally what area of

15       the business do you work in?

16                   PROSPECTIVE JUROR:      Currently I work in our

17       Aviation Services Division.

18                   MR. MANGAN:     All right.     What is that?

19                   PROSPECTIVE JUROR:      We maintain and provide service

20       agreements for aircraft engines --

21                   MR. MANGAN:     Okay.

22                   PROSPECTIVE JUROR:      -- that we manufacture.

23                   MR. MANGAN:     All right.     So this is servicing once

24       they've been sold?

25                   PROSPECTIVE JUROR:      Indeed.
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  1                  MR. MANGAN:     Okay.   Are you at all involved in the

  2      design phase?

  3                  PROSPECTIVE JUROR:      Not my current capacity.         In

  4      prior roles, before 2010, I was involved with our research

  5      and development and test operations.

  6                  MR. MANGAN:     All right.     Let me ask you:      Did you

  7      have any experience working at all with something called

  8      composite fan blades?

  9                  PROSPECTIVE JUROR:      I have not worked directly with

10       our composite fan blades or any associated processes for

11       manufacturing/assembly of those.

12                   MR. MANGAN:     Previously the Court asked if anybody

13       had any knowledge of this case.          Were you aware of this case

14       at all?

15                   PROSPECTIVE JUROR:      I was not.

16                   MR. MANGAN:     All right.     He listed a number of

17       witnesses that may be testifying in the case.              Did you

18       recognize any of those names from work?

19                   PROSPECTIVE JUROR:      None of those names were

20       familiar, no.

21                   MR. MANGAN:     Okay.   If there is a witness from GE

22       that would testify, would you be able to evaluate that

23       witness's credibility without giving them any more or less

24       weight just based on their employment?

25                   PROSPECTIVE JUROR:      Not on the basis of just the
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                                                                                    68

  1      fact that they're employed with GE Aviation.

  2                  MR. MANGAN:     Okay.

  3                  PROSPECTIVE JUROR:      There's a possibly I could have

  4      some prior relationship not knowing that witness, but not on

  5      the basis of them being just an aviation -- GE Aviation

  6      employee alone.

  7                  MR. MANGAN:     Okay.   Given that we are going to have

  8      at least a couple GE Aviation employees testify, do you

  9      believe you can be a fair and impartial Juror in this case?

10                   PROSPECTIVE JUROR:      I do believe so.

11                   MR. MANGAN:     Okay.   Thank you, sir.

12                   THE COURT:    Sir, while you're there, given your

13       expertise, can you tell me if that microphone is working?

14                   PROSPECTIVE JUROR:      From here it sounds like it is,

15       but I --

16                   THE COURT:    Could you tap on it for me?

17                   PROSPECTIVE JUROR:      (Witness complies.)

18                   THE COURT:    Thank you, sir.       It's working.     Have a

19       seat.

20                   MR. MANGAN:     Were there any other GE Aviation

21       employees?     Make sure I didn't miss any hands.

22       (Prospective Juror raised their hand.)

23                   THE COURT:    Number, please?

24                   PROSPECTIVE JUROR:      13.    Sorry.    I worked at

25       Evendale plant from '86 to '91.
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  1                  MR. MANGAN:     All right.     And is -- and I'm sorry.

  2      You're Juror Number 13?

  3                  PROSPECTIVE JUROR:      13.

  4                  MR. MANGAN:     And, sir, the last time you worked

  5      there was 1991?

  6                  PROSPECTIVE JUROR:      Yes.

  7                  MR. MANGAN:     Okay.   Have you worked there at all

  8      since?

  9                  PROSPECTIVE JUROR:      No.

10                   MR. MANGAN:     Okay.   Do you have any other

11       association at all with the company?

12                   PROSPECTIVE JUROR:      No.

13                   MR. MANGAN:     Were you aware of the case, what the

14       Court described?

15                   PROSPECTIVE JUROR:      No.

16                   MR. MANGAN:     Were you aware of any of the GE

17       witnesses that were on the list?

18                   PROSPECTIVE JUROR:      No.

19       (Large static sound in courtroom.)

20                   THE COURT:    What did you do?

21                   MR. MANGAN:     I thought it was you.       I don't know.

22       Sir, given your past experience with GE Aviation, which was

23       30 years ago, I guess?

24                   PROSPECTIVE JUROR:      Long time ago.

25                   MR. MANGAN:     Okay.   Do you believe you can still be
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  1      a fair and impartial witness?

  2                  PROSPECTIVE JUROR:      Yes.

  3                  MR. MANGAN:     Or excuse me.     A fair and impartial

  4      Juror in this case?

  5                  PROSPECTIVE JUROR:      Yes.

  6                  MR. MANGAN:     All right.     Thank you, sir.

  7      (Prospective Juror raised their hand.)

  8                  MR. MANGAN:     Yes, sir?

  9                  PROSPECTIVE JUROR:      Juror Number 23.       I used to

10       work for GE.      I used to be a contractor for them.

11                   MR. MANGAN:     Okay.   So Number 23; correct?

12                   PROSPECTIVE JUROR:      Yes.

13                   MR. MANGAN:     When you -- when you did work there,

14       were you an employee or a contractor?

15                   PROSPECTIVE JUROR:      I was an intern for college,

16       and I was working for GE.         Then I was a contractor for SA

17       Research, which does contract work on a design phase for

18       them.

19                   MR. MANGAN:     Okay.   What -- when was it that you

20       were an intern?

21                   PROSPECTIVE JUROR:      I want to say maybe 2014 or

22       '13.

23                   MR. MANGAN:     Okay.   And then what was the time

24       period when you worked for a contractor?

25                   PROSPECTIVE JUROR:      I'd say 2018 maybe 2017 as
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                                                                                    71

  1      well.

  2                  MR. MANGAN:     And during the time you were working

  3      with one of the GE contractors, were you ever on-site or did

  4      you work full-time on-site?

  5                  PROSPECTIVE JUROR:      I worked at a GE facility.

  6                  MR. MANGAN:     All right.     Was it --

  7                  PROSPECTIVE JUROR:      On military contracts.

  8                  MR. MANGAN:     Okay.   Which facility?

  9                  PROSPECTIVE JUROR:      Building 200.

10                   MR. MANGAN:     All right.     Is that in Evendale?

11                   PROSPECTIVE JUROR:      Yes.

12                   MR. MANGAN:     All right.     Do you no longer work for

13       that GE contractor?

14                   PROSPECTIVE JUROR:      I do not.

15                   MR. MANGAN:     All right.     And while you were working

16       for the contractor, you were -- you were their employee;

17       correct?

18                   PROSPECTIVE JUROR:      Yes.

19                   MR. MANGAN:     And they simply had a business

20       relationship with GE?

21                   PROSPECTIVE JUROR:      Yes, correct.

22                   MR. MANGAN:     All right.     Is there anything about

23       your work experience with the contractor or as an intern

24       that you believe would impact your ability to serve as a

25       Juror in this case?
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  1                  PROSPECTIVE JUROR:      No.

  2                  MR. MANGAN:     All right.     Did you know any of the

  3      witnesses that were read off earlier?

  4                  PROSPECTIVE JUROR:      I do not, no.

  5                  MR. MANGAN:     All right.     And did you know about

  6      this case at all?

  7                  PROSPECTIVE JUROR:      No.

  8                  MR. MANGAN:     All right.     Based on -- based on all

  9      that, would you, would you still be able to serve as a fair

10       and impartial Juror?

11                   PROSPECTIVE JUROR:      Yes, sir.

12                   MR. MANGAN:     And if there was an GE employee who

13       testified, would you give them any more or less weight as,

14       as a witness --

15                   PROSPECTIVE JUROR:      No.

16                   MR. MANGAN:     --   just because they work for GE?

17                   PROSPECTIVE JUROR:      No.

18                   MR. MANGAN:     Okay.   Thank you.     Appreciate it.      Is

19       there anyone else who has worked at GE or in a similar

20       fashion or, you know, been a contractor on-site?               Okay.

21       (Prospective Juror raised their hand.)

22                   THE COURT:    You've got a hand in the box.

23                   MR. MANGAN:     Oh, excuse me.      I'm sorry.

24                   PROSPECTIVE JUROR:      I waffled there for a minute.

25       Juror Number 16.
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  1                  MR. MANGAN:     Yes, sir.

  2                  PROSPECTIVE JUROR:       I just wanted to point out that

  3      I've worked on marketing campaigns for GE engines and

  4      aviation for their military contracts for Apache and Black

  5      Hawk helicopters.

  6                  MR. MANGAN:     Can you -- what kind of campaign was

  7      that?

  8                  PROSPECTIVE JUROR:       It was a T-901 marketing --

  9                  THE COURT:    I need you to speak up.         Did you say

10       marketing campaign?

11                   PROSPECTIVE JUROR:       Yes, the T-901.

12                   MR. MANGAN:     Okay.    So do you work for a different

13       company --

14                   PROSPECTIVE JUROR:       Yes.

15                   MR. MANGAN:     -- that does marketing for GE?

16                   PROSPECTIVE JUROR:       Yes.

17                   MR. MANGAN:     I see.    And when did you work on that

18       marketing campaign?

19                   PROSPECTIVE JUROR:       Within the last two years.

20                   MR. MANGAN:     All right.      And are you an employee at

21       GE?

22                   PROSPECTIVE JUROR:       No.

23                   MR. MANGAN:     All right.      You work for an outside

24       firm that GE hired?

25                   PROSPECTIVE JUROR:       Correct.
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  1                  MR. MANGAN:     Okay.   Is that work ongoing?

  2                  PROSPECTIVE JUROR:      No.

  3                  MR. MANGAN:     So that part of the campaign is over?

  4                  PROSPECTIVE JUROR:      Yep.

  5                  MR. MANGAN:     Okay.   Is there any part of your work

  6      now that touches on GE?

  7                  PROSPECTIVE JUROR:      No.

  8                  MR. MANGAN:     Did you recognize any of the witnesses

  9      that we described earlier?

10                   PROSPECTIVE JUROR:      No.

11                   MR. MANGAN:     Do you -- did you have any prior

12       knowledge of this case before today?

13                   PROSPECTIVE JUROR:      No.

14                   MR. MANGAN:     All right.     Is there anything about

15       having worked on that campaign with GE Aviation that you

16       feel would impact your ability to be a fair and impartial

17       Juror?

18                   PROSPECTIVE JUROR:      No.

19                   MR. MANGAN:     If we had a GE Aviation witness, would

20       you be able to listen to their testimony without giving them

21       any more or less weight just because they worked for that

22       company?

23                   PROSPECTIVE JUROR:      Yes.

24                   MR. MANGAN:     All right.     You believe you would be

25       able --    I probably asked that.
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  1                  PROSPECTIVE JUROR:      Yeah, I picked it up.        You --

  2      yes.

  3                  MR. MANGAN:     All right.     You wouldn't give them any

  4      more or less weight?

  5                  PROSPECTIVE JUROR:      No.

  6                  MR. MANGAN:     Okay.   Is there anything else about

  7      the work that you perform that you think we should know?

  8                  PROSPECTIVE JUROR:      No, I've been to all the

  9      facilities and toured them.

10                   THE COURT:    I need you to speak up.

11                   PROSPECTIVE JUROR:      I've been to the different

12       facilities and toured them.

13                   MR. MANGAN:     Okay.

14                   PROSPECTIVE JUROR:      And seen those programs.

15                   MR. MANGAN:     All right.     But that work was -- has

16       been concluded?

17                   PROSPECTIVE JUROR:      Yep.

18                   MR. MANGAN:     Okay.   All right.     Thank you, sir.         I

19       know there's sometimes individuals who have relatives who

20       have worked at GE Aviation.

21                   Are there any individuals here who have relatives

22       -- and let's keep it to, sort of the immediate family --

23       that work for GE Aviation?

24       (Some Prospective Jurors raised their hands.)

25                   MR. MANGAN:     Yes, sir?     We'll start with you and
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  1      work our way --

  2                  PROSPECTIVE JUROR:      Juror Number 23.       My father

  3      works for GE.

  4                  MR. MANGAN:     Okay.   Does he still work for GE?

  5                  PROSPECTIVE JUROR:      He does.

  6                  MR. MANGAN:     And does he work at GE Aviation?

  7                  PROSPECTIVE JUROR:      Yes, he does.

  8                  MR. MANGAN:     All right.     How long has he worked

  9      there?

10                   PROSPECTIVE JUROR:      I'd say six years.

11                   MR. MANGAN:     All right.     He worked somewhere else

12       before then?

13                   PROSPECTIVE JUROR:      Yes.

14                   MR. MANGAN:     All right.     And generally what field

15       does he work in there?

16                   PROSPECTIVE JUROR:      He's a machinist in the

17       aviation field.      He's a machinist.

18                   MR. MANGAN:     A machinist.     Thank you.

19                   PROSPECTIVE JUROR:      Yeah.

20                   MR. MANGAN:     Is he at all involved in the actual

21       engine design?

22                   PROSPECTIVE JUROR:      Not the design phase, no.

23                   MR. MANGAN:     Okay.   And going back to the other

24       questions that I asked previously, does the fact that your

25       father works at GE Aviation, do you believe that would
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  1      impact your ability to be a fair and impartial Juror in this

  2      case?

  3                  PROSPECTIVE JUROR:      No.

  4                  MR. MANGAN:     Okay.   All right.     Thank you, sir.

  5                  THE COURT:    I'm sorry.      What was your number?

  6                  PROSPECTIVE JUROR:      Juror Number 23.

  7                  THE COURT:    Thank you, sir.

  8                  MR. MANGAN:     I believe there was another hand.

  9      (Prospective Juror raised their hand.)

10                   MR. MANGAN:     Yes, sir?

11                   PROSPECTIVE JUROR:      Juror 25.

12                   MR. MANGAN:     Okay.

13                   PROSPECTIVE JUROR:      Both my parents work at GE.            My

14       father worked in submarine logistics for them.              My mom

15       worked at GE Aviation in the design.

16                   MR. MANGAN:     All right.     Do they -- do either of

17       them still work there?

18                   PROSPECTIVE JUROR:      No.

19                   MR. MANGAN:     All right.     When's the last time they

20       worked at GE Aviation?

21                   PROSPECTIVE JUROR:      I believe my mom retired in

22       2015.    My dad was considerably earlier than that.

23                   MR. MANGAN:     Okay.   I take it you did not work at

24       GE Aviation?

25                   PROSPECTIVE JUROR:      No.
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  1                  MR. MANGAN:     All right.     And you don't have any

  2      inside knowledge about the company's workings or how they

  3      design engines?

  4                  PROSPECTIVE JUROR:      I have little bits and pieces

  5      but --

  6                  MR. MANGAN:     Okay.

  7                  PROSPECTIVE JUROR:      -- nothing major.

  8                  THE COURT:    I'm having trouble hearing.          You need

  9      to come to the microphone, sir.

10                   PROSPECTIVE JUROR:      I have --     no, I do not have

11       any information about how it works or anything.

12                   MR. MANGAN:     Okay.   Did you recognize any of the

13       witnesses on the witness list?

14                   PROSPECTIVE JUROR:      No.

15                   MR. MANGAN:     And did you have any knowledge of this

16       case prior to coming here?

17                   PROSPECTIVE JUROR:      No.

18                   MR. MANGAN:     Okay.   If there's a GE employee

19       witness, would you give that witness any more or less

20       weight --

21                   PROSPECTIVE JUROR:      I don't --     no.    Just as a

22       witness that would testify, I believe.

23                   MR. MANGAN:     Okay.

24                   PROSPECTIVE JUROR:      But being an employee of GE,

25       no.
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  1                  COURT REPORTER JULIE HOHENSTEIN:          I'm sorry.     I

  2      need you to speak up and repeat that.

  3                  THE COURT:    We're not hearing you.

  4                  PROSPECTIVE JUROR:      No.    I don't believe I'd give

  5      them any more weight or less weight.

  6                  MR. MANGAN:     All right.     Thank you.     And do you

  7      still believe you could serve as a fair and impartial Juror

  8      on this case?

  9                  PROSPECTIVE JUROR:      Yes, I believe I can.

10                   MR. MANGAN:     All right.     Thank you.

11       (Prospective Juror raised their hand.)

12                   MR. MANGAN:     Yes, sir, would you come up to the

13       microphone?     And state your Juror Number?

14                   PROSPECTIVE JUROR:      Number 27.

15                   MR. MANGAN:     Go ahead, sir.

16                   PROSPECTIVE JUROR:      My father worked at GE Aviation

17       for 35 years, but he retired, I think, nine years ago, eight

18       years ago.

19                   MR. MANGAN:     Okay.   In what field did he work?

20                   PROSPECTIVE JUROR:      Customer support.

21                   MR. MANGAN:     Okay.   And is there anything about him

22       working at GE Aviation that you believe would impact your

23       ability to be a fair and impartial Juror?

24                   PROSPECTIVE JUROR:      No, sir.

25                   MR. MANGAN:     All right.     Did you recognize any of
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  1      the witness names?

  2                  PROSPECTIVE JUROR:      No, sir.

  3                  MR. MANGAN:     And did you know anything about this

  4      case beforehand?

  5                  PROSPECTIVE JUROR:      No, I didn't.

  6                  MR. MANGAN:     All right.     Thank you.     I appreciate

  7      it.   Anyone else?

  8      (Prospective Juror raised their hand.)

  9                  MR. MANGAN:     Yes, sir?    Could you state your number

10       at the microphone?

11                   PROSPECTIVE JUROR:      Yes, Juror 17, and, first of

12       all --

13                   THE COURT:    I'm sorry, sir.       Can you step up to the

14       microphone and speak up?

15                   PROSPECTIVE JUROR:      You're probably just asking for

16       current employees, but my father had work for GE Aviation

17       way back in the '70s.        He hasn't worked there since

18       mid-'70s.

19                   MR. MANGAN:     Okay.   So your father last worked for

20       GE in the 70s's you said?

21                   PROSPECTIVE JUROR:      Yes.

22                   MR. MANGAN:     Is there anything about that that you

23       believe would have an impact on your ability to be a fair

24       and impartial Juror in this case?

25                   PROSPECTIVE JUROR:      It would not.
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  1                  MR. MANGAN:     All right.     Thank you.     I appreciate

  2      it.

  3                  THE COURT:    What was the number?

  4                  MR. MANGAN:     17.

  5                  PROSPECTIVE JUROR:      17, yes, Your Honor.

  6                  THE COURT:    Thank you.     Number 16?

  7                  PROSPECTIVE JUROR:      Yeah, Juror Number 16.        My

  8      mother and father both worked at GE.            My father retired.

  9      Been there his whole career as an accountant, and mother was

10       in administration.       That had to have been at least 30 years

11       ago.

12                   THE COURT:    Are you messing with me?         Would you

13       please speak up, please?

14                   PROSPECTIVE JUROR:      Sure.

15                   THE COURT:    Thank you.

16                   PROSPECTIVE JUROR:      What should I repeat?

17       Everything?

18                   THE COURT:    Yeah.

19                   PROSPECTIVE JUROR:      My mother and father both

20       worked at GE.      My father worked there for 35 years until his

21       retirement in accounting, and my mother was in

22       administration, but that had to have been 30 years ago.

23                   THE COURT:    Thank you.

24                   MR. MANGAN:     All right.     Thank you, sir.      And one

25       last question:      Do you believe that your parents having
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  1      worked there in the past would have any impact on your

  2      ability to be a fair and impartial Juror?

  3                  PROSPECTIVE JUROR:      No.

  4                  MR. MANGAN:     Thank you.     Any other hands related to

  5      GE?

  6      (No Prospective Juror raised their hand.)

  7                  MR. MANGAN:     Okay.   Thank you.     Now, I do want to

  8      turn to, you know, the Court already touched on some of the

  9      issues in terms of nationality and things of that nature.

10                   Does everyone agree with the principle, you know,

11       that we should only --        if we instruct you to rely only on

12       the evidence in this case, that that's what you should rely

13       on and not on any personal feelings or opinions or biases

14       toward a particular race or nationality?             Can everyone agree

15       with that principle?        Is there anyone that disagrees with

16       that?

17       (No Prospective Juror raised their hand.)

18                   MR. MANGAN:     Okay.   Let's talk more broadly about

19       China.    I know that was part of the questionnaire that

20       everyone filled out, and some folks had checked off

21       different issues that you may have concerns with regarding

22       what, what the country may do pertaining to various issues

23       or policies or form of government or whatever it may be.

24                   So let me ask just a couple specific questions.

25       Are there any folks who have opinions -- positive or
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  1      negative -- about the country of China based on human rights

  2      issues?    Feel free to raise your hand if you do.

  3      (Prospective Jurors raised their hands.)

  4                  MR. MANGAN:     Okay.   Thank you.     For those who

  5      rose -- or raised their hands, let me say, this case does

  6      not pertain to human rights in China.

  7                  For those who put their hands up, can you set those

  8      feelings aside and judge this case solely on the evidence

  9      that is presented in the Court?

10       (Prospective Jurors nodded heads affirmatively.)

11                   MR. MANGAN:     Is there anyone who cannot or has

12       concerns that their feelings on the human rights issues

13       would make it difficult for them to be an impartial Juror in

14       this case?

15       (No Prospective Juror raised their hand.)

16                   MR. MANGAN:     If you have any of those feelings,

17       it's okay.     You know, we just kind of what to talk that

18       through now.      Anyone?

19       (No Prospective Juror raised their hand.)

20                   MR. MANGAN:     I don't see any hands up.        Okay.     Same

21       thing, there was, there was a checkmark related to the COVID

22       virus, the Coronavirus that a few people checked.

23                   So I want to ask about that a little bit.            Are

24       there any folks who have positive or negative opinions about

25       the country of China related to the Coronavirus?
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  1      (Prospective Jurors raised their hands.)

  2                  MR. MANGAN:     Feel free to raise your hand if that's

  3      how -- if you have opinions on that -- positive or negative

  4      feelings toward that country because of the virus?

  5      (Some Prospective Jurors raised their hands.)

  6                  MR. MANGAN:     All right.     So I'm going to ask a

  7      similar question.       For those that raised their hands related

  8      to that issue, okay, for those who raised their hands

  9      related to COVID, can you set those feelings aside and judge

10       this case solely on the evidence presented and the

11       Instructions of Law from the Court?

12       (Prospective Jurors nodded heads affirmatively.)

13                   MR. MANGAN:     If there is anyone who cannot or who

14       has concerns about that, could you raise your hand now?

15       (No Prospective Juror raised their hand.)

16                   MR. MANGAN:     It's okay.     We just -- like I said, if

17       you feel you can't set those feelings aside, we just want to

18       make sure that we talk about it before we get through this

19       selection process.

20                   Is there anyone who feels they cannot set those

21       feelings aside and continue to be a fair and impartial

22       Juror?

23       (No Prospective Juror raised their hand.)

24                   MR. MANGAN:     All right.     I don't see any hands.

25       All right.     Thank you.
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  1                  As the Court mentioned, the case involves

  2      discussions of attempted theft or a conspiracy to steal

  3      trade secrets, and specifically we'll be talking about

  4      aviation and plane technology as you may have started to

  5      kind of put together.

  6                  So I want to ask in general about intellectual

  7      property protection or trade secrets.            Does anybody work for

  8      a company that makes them sign an agreement to protect the

  9      company's confidential information?

10       (Prospective Jurors raised their hands.)

11                   MR. MANGAN:     I see a few hands in the back.          All

12       right.    Does anyone have, have to sign agreements with their

13       company about trade secret protection?

14       (Prospective Juror raised their hand.)

15                   MR. MANGAN:     Okay.   I see a few hands in the back

16       as well.     Some folks have opinions as to whether or not, you

17       know, intellectual property theft should or should not be a

18       crime.

19                   Does anybody have any strong opinions that the

20       theft of trade secrets should not be a crime?              Perhaps that

21       it should just be handled civilly?

22       (No Prospective Juror raised their hand.)

23                   MR. MANGAN:     I don't see any hands.        Okay.   If you

24       do, feel free to raise your hand.           Does anybody have any

25       thoughts that trade secret theft should not be a crime?
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  1      (No Prospective Juror raised their hand.)

  2                  MR. MANGAN:     Okay.   Does anyone have the opinion

  3      that technology or intellectual property should be available

  4      openly to everyone without any kind of limitations?

  5      (No Prospective Juror raised their hand.)

  6                  MR. MANGAN:     And don't worry.      This doesn't involve

  7      downloading music.

  8      (Laughter.)

  9                  MR. MANGAN:     So we're not going to get into that.

10       That could be a hot-button issue for some people.               But

11       generally does anybody have that opinion?

12       (No Prospective Juror raised their hand.)

13                   MR. MANGAN:     I don't see any hands there.         Okay.

14       Thank you.     Turning back to the, you know, the heart of this

15       as the Court mentioned.

16                   As the Court mentioned, the Government of China is

17       not on trial here; but we will be talking about allegations

18       of crimes regarding, you know, trade secrets that we're,

19       we're alleging were taken for the benefit, for the benefit

20       of the Republic of China.

21                   Is there anything about the nature of those charges

22       that would make it difficult for you to serve as a Juror on

23       this case?

24       (No Prospective Juror raised their hand.)

25                   MR. MANGAN:     Is there anyone who has any concerns
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  1      about that?

  2      (No Prospective Juror raised their hand.)

  3                  MR. MANGAN:     Would you be able to set aside your

  4      feelings about other issues perhaps on China and just decide

  5      this case for this individual based on the evidence

  6      presented here?

  7      (Prospective Jurors nod heads affirmatively.)

  8                  MR. MANGAN:     All right.     Now, there may be some who

  9      have strong opinions about trade secret theft or trade

10       secret theft particularly related to China.

11                   Does everyone understand that the crimes charged

12       here relate to a single individual, and you can only find

13       that individual guilty if the Government proves every

14       element of the crime beyond a reasonable doubt?

15                   Does everybody understand that and agree with that?

16       (Prospective Jurors nod heads affirmatively.)

17                   MR. MANGAN:     And so if we, the Government, do not

18       prove those crimes, every element beyond a reasonable doubt,

19       do you understand you would need to render a verdict of not

20       guilty regardless of how you may feel about generally trade

21       secret theft or the country of China?

22       (Prospective Jurors nod heads affirmatively.)

23                   MR. MANGAN:     I see a lot of heads nodding.         Does

24       everybody understand that distinction?            Are there any

25       questions or anybody have any concerns about that?
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  1      (No Prospective Juror raised their hand.)

  2                  MR. MANGAN:     Does anyone want to speak to whether

  3      or not they feel that would be difficult for them to be a

  4      fair and impartial Juror in that kind of situation?

  5      (No Prospective Juror raised their hand.)

  6                  MR. MANGAN:     All right.     One last thing I want to

  7      touch upon is we mentioned the crimes involved.              The crime

  8      of attempt.     So an allegation that someone has attempted a

  9      crime, which obviously by the definition of the word

10       attempt, it may mean that they did not fulfill the crime.

11                   Does anyone have any concerns that an attempt by

12       itself should not be a crime?

13       (No Prospective Juror raised their hand.)

14                   MR. MANGAN:     All right.     And we're also going to

15       talk about conspiracy, and the Court will instruct you on

16       the law as to what a conspiracy is, but essentially we're

17       talking about an agreement to commit a crime.              An

18       agreement between people that may be informal.              It may be

19       unspoken.

20                   Does anybody have any opinions that that kind of

21       agreement should not be a crime by itself?

22       (No Prospective Juror raised their hand.)

23                   MR. MANGAN:     Does anybody have any feelings that

24       conspiracy strikes them the wrong way as far as a crime is

25       concerned?
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  1      (No Prospective Juror raised their hand.)

  2                  MR. MANGAN:     Go ahead and raise your hand if you

  3      have any concerns about that?

  4      (No Prospective Juror raised their hand.)

  5                  MR. MANGAN:     Either attempt or conspiracy, raise

  6      your hand if you have any concerns about that being

  7      prosecuted as a crime?

  8      (No Prospective Juror raised their hand.)

  9                  MR. MANGAN:     Okay.   If I can have one moment, Your

10       Honor?

11                   THE COURT:    Yes.

12       (Mr. Mangan, confers with co-counsel.)

13                   THE COURT:    Ms. Frankian, can you approach?

14                   MR. MANGAN:     That's all we have, Your Honor.          Thank

15       you.

16                   THE COURT:    Thank you.     If you'll give me just a

17       moment.

18       (The Court confers with Ms. Frankian.)

19                   THE COURT:    Almost 10 to 12.       How long does the

20       Defense estimate that voir dire from the Defense will take,

21       which is the next step?

22                   MR. KOHNEN:     Your Honor, I believe that I could

23       certainly get it done within an hour.            Perhaps within

24       45 minutes depending on the answers, and thank you for

25       calling on me, because I got to stand.            I was wondering if
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  1      maybe the Jurors might like to stand for a minute, and then

  2      I could proceed.

  3                  THE COURT:    I'm trying to decide whether to take a

  4      break so they can stand and move around or whether they want

  5      to plow ahead.

  6                  Jurors, you've been at the courthouse for a while.

  7      You've been in this courtroom sitting down.             We can go

  8      through some stretching, maybe work in a little physical

  9      therapy on our hands while we're in the break, or we can

10       take a 15-minute break and get you up and around, you can

11       move around.

12                   How many people would like to take a 15-minute

13       break of the Jurors?        Hands way up.

14       (Prospective Jurors raised their hands.)

15                   THE COURT:    How many would love to plow ahead

16       without a break?

17       (Prospective Juror raised their hand.)

18                   THE COURT:    The breakers win the vote, and we are

19       going to take a break momentarily.           I need to talk to you

20       about breaks.

21                   On the break, do not discuss what went on in the

22       courtroom with any fellow Juror or anyone else.              Do not do

23       any independent research.         I'll tell you that every time.

24       Don't discuss the case.

25                   If anybody approaches you and tries to discuss it,
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  1      let me know.      No independent research about any of this.

  2      Can't read or listen to or watch any news reports, if there

  3      are any.

  4                  You can't check or use Google, Facebook, Twitter or

  5      any of that stuff to find information about any aspect of

  6      the case.

  7                  And, of course, you need to continue to keep an

  8      open mind.     You can't form or express an opinion on the case

  9      until it's finally submitted to you.

10                   So it's really important.        Don't discuss it with

11       anyone.    Enjoy this 15-minute break.          Are we going to send

12       them to the ninth floor?

13                   COURTROOM DEPUTY:      We can't send them to the ninth

14       floor or just in the hall.

15                   THE COURT:      We can't send them to the ninth floor.

16       Do you have another suggestion?

17                   COURTROOM DEPUTY:      We can keep them in the hall and

18       lined up to come back in when they're ready.

19                   THE COURT:      Is the Government standing for a

20       reason?

21                   MS. GLATFELTER:      We thought --

22                   THE COURT:      That's my signal I need to check out

23       where you are.      Okay.    We're going to take a break.         You can

24       go anywhere you want in the courthouse.            You can probably

25       step outside, but I need you in the hall by this doorway at
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  1      12:10, and I have 11:50, so it's a 20-minute break.

  2                  Use the break to get the muscles going.            The blood

  3      going.    Don't discuss it with anybody.          No independent

  4      research.

  5                  Out of respect for you, we'll rise for you as you

  6      leave through that door with the assistance of Ms. Santoro.

  7      If you'd rise as they leave.          If somebody at the door would

  8      lead them out.

  9      (Prospective Jurors exited the courtroom.)

10                   THE COURT:    Jurors have left the room.         Is there

11       anything that requires my attention before we recess until

12       12:10?    I see nothing.      Any lawyer not here at 12:10 will

13       get on the short list.        Enjoy your break.       We're in recess.

14                   COURTROOM DEPUTY:      This court is in recess until

15       12:10.

16       (Court was in recess at 11:52 a.m. and resumed at 12:11

17       p.m.)

18                   COURTROOM DEPUTY:      All rise.     This court is back in

19       session pursuant to the recess.

20                   THE COURT:    You can be seated.       I was hoping to

21       catch a lawyer not here.         We're back on the record.        We're

22       going to check to be sure that the 40 Jurors are standing

23       outside the door and then bring them in and Mr. Kohnen will

24       proceed.

25                   COURTROOM DEPUTY:      All rise for the Jury.
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  1      (Prospective Jurors entered the courtroom.)

  2              THE COURT:     Jurors can be seated as you join us.

  3      Jurors have returned.        You may all be seated.        Members of

  4      the Jury, thank you for being back and back on time.

  5      Somebody's counted?       We have all 40 -- or should I have them

  6      count off?

  7                  COURTROOM DEPUTY:      We have all 40.

  8                  THE COURT:    Very well.     Are there any of the 40 who

  9      are not here, would you speak up, please?

10       (Laughter.)

11       (No Prospective Juror responded.)

12                   THE COURT:    No response.      Mr. Kohnen, if you wish

13       to proceed to inquire, you may do so at this time?

14                   MR. KOHNEN:     Thank you, Your Honor.

15                   THE COURT:    Yes.

16                   MR. KOHNEN:     Ladies and gentlemen, thank you for

17       your service.      I want to echo what the Court said, what Mr.

18       Mangan said, the job you're going to do here if you're

19       selected and the help you've given us in selecting the ones

20       who are honored is an extremely important duty really as a

21       citizen.

22                   On behalf of my client, Mr. Xu, and my colleagues,

23       again thank you.       Thank you also for filling out the Jury

24       questionnaires.      They were very informative and helpful to

25       us.
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  1                  Can everybody hear me back in the back?            I want to

  2      make sure.

  3      (Prospective Jurors nod heads affirmatively.)

  4                  MR. KOHNEN:     I also want to apologize a little bit.

  5      When you go last, most of your questions are asked.               When

  6      you have to ask them again or get into a little more detail,

  7      they seem redundant; and for that, I apologize, but I'm sure

  8      you understand that it's very important that we find out as

  9      much about you on these matters as we can; fair enough?

10       (Prospective Jurors nod heads affirmatively.)

11                   MR. KOHNEN:     Thanks.    There were, as everybody's

12       mentioned, a lot of questions in your questionnaires about

13       China.    China, as you know, is a place that's an entirely

14       different culture.       That's literately halfway around the

15       world.

16                   Since you completed those questionnaires, even up

17       to right now, is there anything you can think of, any

18       answers that you could think of that should be changed or

19       should be supplemented, aside from what's already been asked

20       and answered?

21       (Prospective Jurors shake heads negatively.)

22                   MR. KOHNEN:     Is there anything else you would

23       change in the responses you gave to the Court and Mr. Mangan

24       in that short recess?

25       (No Prospective Juror raised their hand.)
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  1                  MR. KOHNEN:     Bottom line, is there anything right

  2      now having, you know, heard all those questions that you

  3      want to let us know about, that you want to weigh in from

  4      your perspective?

  5      (No Prospective Juror raised their hand.)

  6                  MR. KOHNEN:     You were asked about whether you had

  7      any knowledge of the case.         I think Judge Black asked about

  8      media, about the Internet, et cetera.

  9                  I just want to make sure, aside from what you've

10       heard here in the courtroom this morning, does anyone on

11       this panel have any knowledge about this case?

12       (No Prospective Juror raised their hand.)

13                   MR. KOHNEN:     I see no hands, Your Honor.         One of

14       the things we noticed from your questionnaires is that a

15       number of you have got friends or family who are from

16       China.

17                   What, what do you think they would think?            What do

18       you think knowing them?        Do you think that Mr. Xu can get a

19       fair trial here?

20       (No Prospective Juror raised their hand.)

21                   MR. KOHNEN:     Do you think prejudice might be a

22       problem?

23       (No Prospective Juror raised their hand.)

24                   MR. KOHNEN:     Would it surprise any of you to know

25       that the first time Mr. Xu set foot in the United States was
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  1      when the F.B.I. brought him here in 2018?

  2      (No Prospective Juror raised their hand.)

  3                  MR. KOHNEN:     Does that give anybody pause?

  4      (No Prospective Juror raised their hand.)

  5                  MR. KOHNEN:     Is anybody wondering how that

  6      happened?

  7      (No Prospective Juror raised their hand.)

  8                  MR. KOHNEN:     Mr. Xu had never before set foot in

  9      the United States of America.

10                   Is anybody an aviation buff?

11       (No Prospective Juror raised their hand.)

12                   MR. KOHNEN:     Anybody a pilot?

13       (Prospective Juror raised their hand.)

14                   MR. KOHNEN:     Yes, sir.    Your number please and use

15       the microphone?

16                   PROSPECTIVE JUROR:      Juror 19.     I'm a airplane pilot

17       for United Airlines.

18                   MR. KOHNEN:     Okay.   What kind of jets do you fly?

19                   PROSPECTIVE JUROR:      737.

20                   MR. KOHNEN:     What kind of engine does the 737 have

21       on it?

22                   PROSPECTIVE JUROR:      It's a CMF 731.

23                   MR. KOHNEN:     Okay.   And that's a General Electric

24       engine.

25                   PROSPECTIVE JUROR:      It's a collaboration CFM.
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  1                  MR. KOHNEN:     Who, who -- is that a product of a

  2      joint venture?

  3                  PROSPECTIVE JUROR:      Yes.

  4                  MR. KOHNEN:     And what's the company?

  5                  PROSPECTIVE JUROR:      Not my area of expertise.

  6                  MR. KOHNEN:     I'm fine as long as you know how it

  7      flies and you can fly it, I'm good with that.

  8                  PROSPECTIVE JUROR:      That's true.

  9                  MR. KOHNEN:     Thanks.    Is there anybody else who's a

10       pilot or is an aircraft buff?

11       (No Prospective Juror raised their hand.)

12                   MR. KOHNEN:     Okay.   Good.    You know, a lot -- Mr.

13       Mangan asked a lot of questions about GE Aviation and your

14       connections to GE Aviation.

15                   I'll probably follow-up on some of that toward the

16       end of my presentation here this morning; but as I was

17       hearing the questions, it occurs to me that a lot of people

18       recognize GE as kind of a good cooperate citizen.

19                   Is there anybody -- aside from any employment

20       affiliation or professional affiliation -- that has a

21       special fondness for GE that might color your judgment in

22       this case even in a small way?

23       (No Prospective Juror raised their hand.)

24                   MR. KOHNEN:     I personally don't know much about GE

25       Aviation.     I've learned a lot, I promise you; but, you know,
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  1      big companies sponsor events.          They sponsor sports teams,

  2      little league, what have you.

  3                  Does anybody have a connection with GE in any way

  4      like that?

  5      (No Prospective Juror raised their hand.)

  6                  MR. KOHNEN:     One of the questions that's almost

  7      always asked by the time I get here is, we noticed that a

  8      number of the panelist are lawyers.

  9                  If you're a lawyer licensed to practice law or

10       was -- studied law, would you raise your hand, please?

11       (Prospective Jurors raised their hands.)

12                   MR. KOHNEN:     Okay.    And your number, sir?

13                   PROSPECTIVE JUROR:       Number 4.

14                   MR. KOHNEN:     Number 4, thank you.       And you, sir?

15                   PROSPECTIVE JUROR:       24.

16                   MR. KOHNEN:     44?

17                   PROSPECTIVE JUROR:       24.

18                   MR. KOHNEN:     Sorry.    There's only 40 Jurors.        24.

19       Thank you.     You guys have had legal training, and we need to

20       know, can you put that legal training and your experience

21       aside and do what the judge has already told you you're

22       going to have to do, and he will tell you again, only act as

23       fact finders in this case?          Can you both assure us that

24       you'll do that?

25                   PROSPECTIVE JUROR:       Yes.
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  1                  PROSPECTIVE JUROR:      Yes.

  2                  MR. KOHNEN:     Thank you, gentlemen.       A couple of

  3      potential Jurors also indicated that they have a spouse or a

  4      significant other who's an attorney.            First of all, you have

  5      my condolences.

  6                  But among those, and I'm not asking anybody to

  7      raise their hand unless they think that that's going to make

  8      them a biased or unfair Juror or somebody who wants to get

  9      involved in the law when they should not.

10                   Is there anybody here like that?

11       (No Prospective Juror raised their hand.)

12                   MR. KOHNEN:     We covered law enforcement and

13       connections to law enforcement, but I want to follow-up and

14       ask:    Has anybody had a job where they had to conduct some

15       investigations?

16                   Maybe you worked in the HR department or maybe you

17       worked, like, the gentleman that works for the Government

18       agency and investigated certain things.

19                   Has anybody done investigations as part of their

20       job?

21       (Prospective Juror raised their hand.)

22                   MR. KOHNEN:     Yes, sir?

23                   PROSPECTIVE JUROR:      Number 4.     As a division

24       manager or as an engineer, typically related to personnel

25       issues.
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  1                  MR. KOHNEN:     Right.    And tell us a little bit more

  2       about that?     I mean, did you have to investigate the

  3       employee's conduct, first of all?

  4                  PROSPECTIVE JUROR:       Yes.   It's depending on the

  5       circumstance.     Mostly auto accidents.        Going out, checking

  6       with the individual, and the citizens that were involved,

  7       and then determining the facts as best as I could come up

  8       with them, and then issue a report.

  9                  MR. KOHNEN:     Okay.    And did you have ever -- ever

 10       have to do, for example, a forensic review of a

 11       company-owned computers or things of that nature or

 12       supervise that?

 13                  PROSPECTIVE JUROR:       No.

 14                  MR. KOHNEN:     And what about -- this probably is a

 15       no, but what about personal computers?

 16                  PROSPECTIVE JUROR:       No.

 17                  MR. KOHNEN:     Okay.    So, you know, with your

 18       experience I'll say, there are occasions when people come on

 19       to company property with their personal devices; right?                And

 20       there's maybe some question as to whether or not their

 21       employer has any authority to look at those or seize those,

 22       would you agree?

 23                  PROSPECTIVE JUROR:       There may be question, yes.

 24                  MR. KOHNEN:     Yeah.    And by the way, did your job or

 25       does anybody have a job that has ever required them to
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  1       contact law enforcement?

  2       (Prospective Juror raised their hand.)

  3                  MR. KOHNEN:     Yes, sir.      Juror Number?

  4                  PROSPECTIVE JUROR:       21.

  5                  MR. KOHNEN:     Yes, sir.

  6                  PROSPECTIVE JUROR:       I run a, a beetle eradication

  7       program.    We often need law enforcement support when

  8       property owners don't cooperate with the, with the program

  9       or our regulations.

 10                  MR. KOHNEN:     Okay.    Thank you.     Is there anybody

 11       else?   Mr. Mangan mentioned it, so I'll asked.             I don't want

 12       to go too far.      But is there --       he talked about cooperating

 13       witnesses.

 14                  Is there anybody here who's had the unfortunate

 15       experience of being a cooperating witness with law

 16       enforcement?

 17       (No Prospective Juror raised their hand.)

 18                  MR. KOHNEN:     I didn't think so, but I thought I'd

 19       ask.    Has anybody ever worked for a company that analyzes or

 20       conducts what's known as business intelligence?

 21       (Prospective Juror raised their hand.)

 22                  MR. KOHNEN:     Yes, sir.

 23                  PROSPECTIVE JUROR:       Juror 28.     I work for a company

 24       that does data analytics and data science.

 25                  MR. KOHNEN:     Okay.    Can you tell us a little bit
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  1       more about what -- how that company works and what you do

  2       there, please?

  3                  PROSPECTIVE JUROR:       Yeah, we, we analyze purchase

  4       behavior, and then we issue -- or we create sciences that

  5       optimize pricing and coupons and marketing campaigns and

  6       such.

  7                  MR. KOHNEN:     Let me guess, 84.51, formerly known as

  8       Dunnhumby?

  9                  PROSPECTIVE JUROR:       That's right.

 10                  MR. KOHNEN:     Okay.    Thank you, sir.       That's very

 11       helpful.    There's one other person?         Yes, sir.

 12                  PROSPECTIVE JUROR:       Juror 36.     I had raised my

 13       hand.   Within the context of GE Aviation, understanding

 14       competitors in the marketplace.

 15                  MR. KOHNEN:     Okay.    Do you do that work, sir?

 16                  PROSPECTIVE JUROR:       I do not do that work, no.

 17                  MR. KOHNEN:     But your company does?

 18                  PROSPECTIVE JUROR:       Yes.

 19                  MR. KOHNEN:     And do you work with the people who do

 20       that analysis and that investigation?

 21                  PROSPECTIVE JUROR:       I do not.

 22                  MR. KOHNEN:     Okay.    Thank you very much.       You know,

 23       the gentleman who works with 48.51 --           oh, I'm sorry.      Yes,

 24       sir?

 25                  PROSPECTIVE JUROR:       Juror Number 38.
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  1                  MR. KOHNEN:     Yes, sir.

  2                  PROSPECTIVE JUROR:       I work for a company that does

  3       software development but sometimes involves customer, like,

  4       that company's data to do sort of warehousing slash clean up

  5       and supplies that for those companies.

  6                  MR. KOHNEN:     Okay.    What do you do as part of that

  7       mission?

  8                  PROSPECTIVE JUROR:       I am a front-end developer so I

  9       handle a lot of the work in field, and I also try to reduce

 10       education and improve air handling.

 11                  MR. KOHNEN:     So just so you're clear, and I'm going

 12       to ask you to get a little closer to the microphone.               Your

 13       company, like, like 84.51, gathers data intelligence, and

 14       uses it; is that right?

 15                  PROSPECTIVE JUROR:       In this case, some of our

 16       clients will have their data, but they don't know how to use

 17       it.   They're just supplying it to us, and then we are

 18       analyzing their data and providing it back to them.

 19                  We're not, we're not independently pulling data

 20       from outside sources.       It's these company's data provided --

 21                  MR. KOHNEN:     Very good.     So you are on the analysis

 22       side; fair enough?

 23                  PROSPECTIVE JUROR:       Give or take, yeah.

 24                  MR. KOHNEN:     And you have others who gather it for

 25       you; is that right?
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  1                  PROSPECTIVE JUROR:       Yeah.

  2                  MR. KOHNEN:     And how does that work, do you know?

  3                  PROSPECTIVE JUROR:       Sort of.    A little bit.      I know

  4       that sort --     certain clients might have an FTP server that

  5       they will drop files onto, and they will have a process that

  6       will pick up these files and normally put them in -- do some

  7       validation or cleaning, and then we'll store it in certain

  8       tables that will then be utilized for stat reports for these

  9       clients.

 10                  MR. KOHNEN:     Okay.    Thank you.     Is there anybody

 11       else who is involved with a company that does business

 12       intelligence as we've just kind of heard it described?

 13       (No Prospective Juror raised their hand.)

 14                  MR. KOHNEN:     You know, just to, just to be clear, I

 15       mean, companies, they, they often check out their

 16       competitors.     They see what they charge.         They see what

 17       products they're selling.        They see how those products are

 18       manufactured.     That's all the kind of business intelligence

 19       I'm talking about.       Does everybody understand what I mean?

 20       Is there anybody who doesn't?

 21       (No Prospective Juror raised their hand.)

 22                  MR. KOHNEN:     I think that 84.51, which is a, kind

 23       of hybrid, I suppose, of that, is a company that really does

 24       the work for Kroger; is that right, sir?

 25                  PROSPECTIVE JUROR:       That's right.
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  1                   MR. KOHNEN:    Okay.    And they, they gather

  2       information that people don't even know it's being gathered

  3       about them, do they?

  4                   PROSPECTIVE JUROR:      That's not exactly right.

  5       There's all sorts of checks and balances in place to know

  6       that as you're purchasing items, that that data's being

  7       gathered.

  8                   MR. KOHNEN:    Right.    Okay.    Very good.     The -- I

  9       just want to cover this very quickly.           Does anybody feel

 10       that the Department of Justice lawyers, such as these three

 11       (Indicating), never make a mistake?

 12       (No Prospective Juror raised their hand.)

 13                   MR. KOHNEN:    Does anybody believe that they only

 14       bring prosecutions of cases that they can prove guilt on?

 15       (No Prospective Juror raised their hand.)

 16                   MR. KOHNEN:    I'm going to continue to note no

 17       responses, Your Honor.

 18                   Is there anybody here who would automatically give

 19       more weight to a witness because they came from the F.B.I.

 20       or another law enforcement agency?

 21       (No Prospective Juror raised their hand.)

 22                   MR. KOHNEN:    I take it by the fact that there are

 23       no responses, that you all are willing to treat the

 24       testimony of a law enforcement officer the same as any other

 25       testimony; is that right?
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  1       (Prospective Jurors nod their heads affirmatively.)

  2                  MR. KOHNEN:     I've never once not had a hand raised

  3       to that question, but I'm grateful that I don't see any.

  4                  Has anyone heard of the United States Department of

  5       Justice and the F.B.I.'s China Initiative?

  6       (No Prospective Juror raised their hand.)

  7                  MR. KOHNEN:     Have you read about it or heard about

  8       it at all?

  9       (No Prospective Juror raised their hand.)

 10                  MR. KOHNEN:     The China Initiative is a very

 11       broad --

 12                  THE COURT:     Excuse me.     Excuse me.     Excuse me.

 13       Questions for the witness.

 14                  MR. KOHNEN:     I want to make sure, Your Honor, if I

 15       might?

 16                  THE COURT:     I don't want you testifying.

 17                  MR. KOHNEN:     Okay.    Just to make sure that you

 18       don't know what I'm talking about when I mention The China

 19       Initiative.     It's a very broad investigation of China and

 20       Chinese National Guards --

 21                  THE COURT:     Excuse me.

 22                  MR. KOHNEN:     -- in the U.S. --

 23                  THE COURT:     Excuse me.     I told you I didn't want

 24       you to do that.

 25                  MR. KOHNEN:     Okay.
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  1                   THE COURT:    You asked them if they were aware of

  2       it, and they said no.

  3                   MR. KOHNEN:    Does, does anybody have strong

  4       opinions about foreign corporations doing business in the

  5       United States?

  6       (No Prospective Juror raised their hand.)

  7                   MR. KOHNEN:    Do you think it's good?        Do you think

  8       it's bad?    Any, any opinions about that?

  9       (No Prospective Juror raised their hand.)

 10                   MR. KOHNEN:    Does anybody have strong opinions

 11       about American corporations doing business in China?

 12       (No Prospective Juror raised their hand.)

 13                   MR. KOHNEN:    I see no hands.      Does everyone agree

 14       that individuals and businesses who do business in foreign

 15       countries must obey the laws and customs of those foreign

 16       countries?     Does anybody have a problem with that?

 17       (No Prospective Juror raised their hand.)

 18                   MR. KOHNEN:    So if a Chinese company comes to the

 19       United States, they have to obey our laws?

 20       (Prospective Jurors nod their heads affirmatively.)

 21                   MR. KOHNEN:    And if we or --      as a company or

 22       employees go to China, we have to obey their laws?               Is

 23       everyone clear on that?

 24       (Prospective Jurors nod their heads affirmatively.)

 25                   MR. KOHNEN:    Now one thing about China is they have
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  1       laws, but they also have customs; and the distinction

  2       between customs and laws, based on what I've learned, can

  3       get a little blurred; okay?         Customs typically -- which go

  4       back centuries -- trump laws in a sense.

  5                  So it's really important that people who go to

  6       China understand and obey their customs as well.              Is

  7       everybody on board with that?

  8       (Prospective Jurors nod their heads affirmatively.)

  9                  MR. KOHNEN:     Let's talk for just a minute about

 10       what I'm going to call optics.          You all have noticed that

 11       there are a lot of attorneys here who are representing Mr.

 12       Xu.

 13                  You noticed that there are three attorneys and an

 14       agent here on behalf of the Government.            Bearing in mind

 15       that lots of other attorneys and agents almost certainly

 16       worked on this case, do you think that this is a fair fight,

 17       will you agree?

 18                  It's not -- we're not out numbering them?               Not out

 19       manning them.     Does that give anybody any cause for concern?

 20       (No Prospective Juror raised their hand.)

 21                  MR. KOHNEN:     Everybody agrees that while at first

 22       it might kind of look unfair, we've got a level playing

 23       field here; correct?

 24       (No Prospective Juror raised their hand.)

 25                  MR. KOHNEN:     All right.     Judge Black and Mr. Mangan
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  1       have addressed a very important issue, and I want to cover

  2       it from a slightly different, a slightly different angle.

  3       Has anybody here had what's called biased training?

  4       (Prospective Jurors raised their hands.)

  5                  MR. KOHNEN:     Yes, sir.     Good.    Okay.   Anybody else?

  6       (Prospective Jurors raised their hands.)

  7                  MR. KOHNEN:     Okay.    Okay.    I'm going to tell you

  8       what bias training is just to make sure we're on the same

  9       page here.

 10                  I'm going --

 11                  THE COURT:     I'm going to interrupt, and you'll

 12       forgive me.     When the lawyers talk, it's not evidence.             You

 13       haven't heard a word about evidence.

 14                  I interrupted him once because he was going to tell

 15       you something you didn't know about.           If you're going to be

 16       told stuff, you're going to be told stuff by the witness.

 17       But you can go ahead, go ahead and do the best you can not

 18       to --

 19                  MR. KOHNEN:     I will, Your Honor.       Ladies and

 20       gentlemen, what I want to do is I want to ask you if you

 21       understand that all of us have something that's known as

 22       implicit bias?      Has anyone heard this before?

 23       (Prospective Jurors raised their hands.)

 24                  MR. KOHNEN:     I thought so.      May I continue?

 25                  THE COURT:     Yes.
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  1                  MR. KOHNEN:     Implicit bias is something that we all

  2       have in us that is prejudice to someone because of their

  3       gender or their race or their sexual orientation.              We can't

  4       help it.    Lots of times we don't even recognize it.

  5                  I want to make sure that each and every one of you,

  6       if selected to be a Juror, is going to make sure that

  7       whatever bias exists is pushed away from your job as fact

  8       finders in this case.

  9                  Can I have that assurance from each and every one

 10       of you, please?      Raise your hands.

 11       (Prospective Jurors raised their hands.)

 12                  MR. KOHNEN:     Thank you.     Everybody understands,

 13       don't they, that countries have intelligence services;

 14       right?

 15                  For example, the United States has the C.I.A., and

 16       the N.S.A., and lots of other intelligence agencies; and

 17       Great Britain, they have the MI6 and the MI5.             In Russia

 18       they have the Federal Security Service and the Foreign

 19       Intelligence Service, which by the way used to be the KGB,

 20       and China has intelligence services too; right?              That makes

 21       sense.    Does anybody disagree with that?

 22       (No Prospective Juror raised their hand.)

 23                  MR. KOHNEN:     Okay.    Does anyone think it's wrong

 24       for a country to have an intelligence service?

 25       (No Prospective Juror raised their hand.)
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  1                   MR. KOHNEN:    It's important to a country's defense,

  2       isn't it?

  3       (No Prospective Juror raised their hand.)

  4                   MR. KOHNEN:    Does anyone think that somebody who

  5       works for an intelligence agency -- whether for our country

  6       or for another country -- has to be a spy?

  7       (No Prospective Juror raised their hand.)

  8                   MR. KOHNEN:    Again, I see no hands.        This is a

  9       rhetorical question:       But what do you think the purpose of

 10       an intelligence agency like the C.I.A. is?

 11       (No Prospective Juror raised their hand.)

 12                   MR. KOHNEN:    It's to gather intelligence; right?

 13       Would it surprise you to know -- and this is a question that

 14       I want answered -- would it surprise you to know that the

 15       vast majority of information that these intelligence

 16       services gather is public information?

 17       (No Prospective Juror raised their hand.)

 18                   MR. KOHNEN:    Nobody's surprised by that?

 19       (No Prospective Juror raised their hand.)

 20                   MR. KOHNEN:    Sometimes you'll hear during the trial

 21       the expression, open-source, and that's what I'm talking

 22       about.    Stuff that is not --       doesn't qualify in this case,

 23       for example, as trade secrets.

 24                   Does everybody agree that that should be fair game?

 25       (No Prospective Juror raised their hand.)
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  1                  MR. KOHNEN:     I'm assuming that I see no hands, that

  2       everybody agrees?      And if I'm wrong about that, please raise

  3       your hand?

  4       (No Prospective Juror raised their hand.)

  5                  MR. KOHNEN:     So let's see.      Intelligence services

  6       just don't --     they don't just deal in secret information.

  7       There's lots of public information that could be useful to

  8       them for whatever their purposes are.           We all agree on that?

  9       (No Prospective Juror raised their hand.)

 10                  MR. KOHNEN:     And human beings also can be sources

 11       of information for intelligence services as well, don't you

 12       agree?

 13       (No Prospective Juror raised their hand.)

 14                  MR. KOHNEN:     I'm not talking about cloak and dagger

 15       meetings and drop locations and all this stuff you see in

 16       the movies, but what I'm looking about is friending somebody

 17       on Facebook, finding somebody on LinkedIn, communicating

 18       with somebody on -- I forget -- Instagram, just asking a

 19       person to make an introduction.

 20                  Those things all can lead to human interaction and

 21       information being shared with people in an intelligence

 22       service.    Does everybody agree with that?

 23       (No Prospective Juror raised their hand.)

 24                  MR. KOHNEN:     Now, in this case you're going to hear

 25       that a lot of information was gathered, and it's going to be
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  1       up to you to decide whether or not that was a trade secret.

  2                  I'll get to this in a minute, but Judge Black would

  3       define what a trade secret is.          Does everybody understand

  4       that?

  5       (No Prospective Juror raised their hand.)

  6                  MR. KOHNEN:     Sometimes trade secret will be used as

  7       a synonym with other words; and I want to be clear that the

  8       trade secret per the law has a very distinct definition.                   Is

  9       everybody okay with that concept?

 10       (Prospective Jurors nod their heads affirmatively.)

 11                  MR. KOHNEN:     I'll have more for you on that in a

 12       minute.

 13                  One of the most important aspects of a trade secret

 14       is that it can't be found through public means or acquired

 15       otherwise; okay?

 16                  And Judge Black will define trade secrets.             I think

 17       he will include that in his definition, but the important

 18       thing I want to make sure that everybody agrees with is when

 19       it comes to defining the trade secret and deciding whether

 20       something was or was not a trade secret, that's a question

 21       of fact, and that's for you to decide.            Is everybody clear

 22       on that?

 23       (No Prospective Juror raised their hand.)

 24                  MR. KOHNEN:     Another important question in this

 25       case is going to be my client, Mr. Xu's intent, what he
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  1       intended or didn't intend to do.          That is up to you and only

  2       you as well.     Is everybody comfortable with that?

  3       (Prospective Jurors nod their heads affirmatively.)

  4                  MR. KOHNEN:     You've heard a lot already about the

  5       presumption of innocence.        I'm not going to spend a lot of

  6       time on that, but does everybody understand that that is a

  7       pre-sumption?     It is presumed, and not an as-sumption, which

  8       is assumed?     I think there's a difference.          Does everybody

  9       agree?

 10       (Prospective Jurors nod their heads affirmatively.)

 11                  MR. KOHNEN:     That's an important concept because,

 12       again, with, you know, the possibility of bias and

 13       circumstances, the trade wars in China, the responses to

 14       your questionnaires about China, it would be pretty easy to

 15       come in here and assume the worst about my client.

 16                  Can everybody put that out of your mind and decide

 17       this case objectively based only on what you hear in this

 18       courtroom?

 19       (Prospective Jurors nod their heads affirmatively.)

 20                  MR. KOHNEN:     Mention was made, I believe, and it

 21       certainly will be again, of a thing called an indictment,

 22       okay?    For purposes --      going forward, an indictment is

 23       simply a piece of paper that sets forth for Mr. Xu, for us,

 24       his attorneys, and for the Court, the claims that the

 25       Government has made against him.
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  1                  There's nothing else about the indictment that you

  2       may consider, and you may not -- I stress -- not consider it

  3       as evidence --

  4                  THE COURT:     Mr. Kohnen, I'm going to interrupt.

  5       I'd like you to ask questions of the Jurors.

  6                  MR. KOHNEN:     The judge touches on but didn't spend

  7       a lot of time on reasonable doubt.           Is everybody comfortable

  8       with that concept?

  9       (Prospective Jurors nod their heads affirmatively.)

 10                  MR. KOHNEN:     Does everybody understand if you

 11       probably think this man's guilty, that you must vote to

 12       acquit?    Not convict?

 13       (No Prospective Juror raised their hand.)

 14                  MR. KOHNEN:     Would anybody here have difficulty

 15       following those principles?

 16       (Prospective Jurors nod their heads affirmatively.)

 17                  MR. KOHNEN:     Likewise, for this concept of beyond a

 18       reasonable doubt, the judge did a good job there.              I can add

 19       more, but is anybody uncomfortable with that standard?

 20       (No Prospective Juror raised their hand.)

 21                  MR. KOHNEN:     Now, the evidence in this case is

 22       going to start when the prosecution presents its first

 23       witness.    That witness will testify on what's known as

 24       direct examination.       In other words, the witness will be

 25       questioned by one of the Government's lawyers, and they'll
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  1       give answers.

  2                  And then the witness will be cross-examined by me

  3       or one of my colleagues, and the witness will give answers

  4       to those questions.

  5                  Does everybody agree that the answers to both sets

  6       of questions get equal weight?

  7       (Prospective Jurors nod their heads affirmatively.)

  8                  MR. KOHNEN:     Everybody agrees that the answers that

  9       come out on cross-examination are potentially just as

 10       important as the questions that came out on direct

 11       examination?     Makes sense; right?

 12       (Prospective Jurors nod their heads affirmatively.)

 13                  MR. KOHNEN:     This is going to be a long trial.

 14       Judge Black has made that clear.          Hopefully it's not going

 15       to be as long as we've provided for, but better that we do

 16       that than make a promise we can't keep to you.

 17                  And you're going to hear a lot of evidence, but

 18       does everybody realize that the amount of evidence is not a

 19       substitute for the quality of the evidence?

 20       (No Prospective Juror raised their hand.)

 21                  MR. KOHNEN:     Is there anybody that needs me to

 22       explain that principle -- try to explain that principle

 23       further?    Are you all there?

 24       (No Prospective Juror raised their hand.)

 25                  MR. KOHNEN:     Good.    And another really important
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  1       principle is Mr. Xu's right not to testify, and his right

  2       not to present any evidence at all.

  3                  Does anyone think that if he doesn't testify, he's

  4       probably guilty?

  5       (No Prospective Juror raised their hand.)

  6                  MR. KOHNEN:     Does anybody think that if he doesn't

  7       testify, it's more likely that he's guilty?

  8       (No Prospective Juror raised their hand.)

  9                  MR. KOHNEN:     I ask these questions because a number

 10       of you indicated on your Jury questionnaires that you'd like

 11       to hear the Defendant's side of the story.             You've indicated

 12       in instances that you'd like to hear him testify.

 13                  Does everybody understand that whatever notion you

 14       had --    and I'm not going to single anybody out --             but does

 15       everybody understand that whatever notion you might have had

 16       about that, you can't happen any longer?

 17       (No Prospective Juror raised their hand.)

 18                  MR. KOHNEN:     Is there anyone that has a problem

 19       with that?

 20       (No Prospective Juror raised their hand.)

 21                  MR. KOHNEN:     Is there anybody here that would have

 22       a problem voting not guilty if the Government got close to

 23       proving the case by beyond a reasonable doubt but failed?

 24       (No Prospective Juror raised their hand.)

 25                  MR. KOHNEN:     Is there anybody that would have a
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  1       problem voting not guilty if the Government covered most of

  2       the elements of the offense?         That is, the things that they

  3       must prove in order to convict.          Would you still want to

  4       vote guilty?

  5       (No Prospective Juror raised their hand.)

  6                   MR. KOHNEN:    I see no hands.      Thank you, folks.

  7       May I have just a moment, Your Honor?

  8                   THE COURT:    Yes.

  9       (Mr. Kohnen confers with co-counsel.)

 10                   MR. KOHNEN:    Sorry for the delay, ladies and

 11       gentlemen.     A couple of personal questions -- not too

 12       personal.    How do you think you might react as a Juror if

 13       it's difficult to come to a unanimous verdict?              Are you

 14       stubborn, inflexible, or strong-willed?            If you are, raise

 15       your hand.     I probably won't follow-up.

 16       (No Prospective Juror raised their hand.)

 17                   MR. KOHNEN:    Are you described maybe as a follower

 18       or a pushover?      Likewise, I won't follow-up, but I would

 19       like to see a hand?

 20       (No Prospective Juror raised their hand.)

 21                   MR. KOHNEN:    Are you a person who finds it

 22       difficult to hold on to your opinion, to stick to your

 23       opinion if you're out numbered?

 24       (No Prospective Juror raised their hand.)

 25                   MR. KOHNEN:    Can each of you resist the temptation
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  1       -- and it might be pretty severe -- resist the temptation to

  2       decide for yourself what the law should be, to expand

  3       perhaps the definition of trade secret that Judge Black

  4       gives you?

  5       (No Prospective Juror raised their hand.)

  6                  MR. KOHNEN:     Is everybody going to stay within the

  7       four corners of that definition, and can you promise us

  8       that?

  9       (Prospective Jurors nod their heads affirmatively.)

 10                  MR. KOHNEN:     Again, I see no hands.        Thank you,

 11       ladies and gentlemen.

 12                  We've been at this for quite, quite a while, and

 13       I'm not going to belabor it much longer.            Sorry to do even

 14       this, but is there anybody who sat through all of this now

 15       and is thinking down in their heart of hearts, you know

 16       what, this fellow, this fellow might be guilty?

 17       (No Prospective Juror raised their hand.)

 18                  MR. KOHNEN:     If you were a Defendant, would you

 19       want yourself as a Juror deciding your fate?

 20       (No Prospective Juror raised their hand.)

 21                  MR. KOHNEN:     Is there anybody who has a religious

 22       or philosophical or deeply personal reason why they just are

 23       reluctant to judge people and their conduct?

 24       (No Prospective Juror raised their hand.)

 25                  MR. KOHNEN:     Is there any reason any one of you
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  1       believes that you can't give Mr. Xu a fair trial?

  2       (No Prospective Juror raised their hand.)

  3                  MR. KOHNEN:     Again, no hands.       Very well.     Ladies

  4       and gentlemen, if you could promise to decide the facts

  5       based only on the evidence presented in this courtroom and

  6       apply the law as Judge Black instructs you, that's all we

  7       can ask.    So, again, I want to thank you very much for your

  8       service.

  9                  Your Honor, that concludes my questions and

 10       remarks.

 11                  THE COURT:     Thank you, Mr. Kohnen.        Members of the

 12       Jury, I think I indicated to you when we started that once

 13       we reached this stage, I was going to have to excuse all of

 14       you, talk to the lawyers, and select a Jury.             It's going to

 15       take some time.

 16                  I'm going to ask that you be back up in the ninth

 17       floor Jury Room -- you know what I'm talking about?

 18       (Prospective Jurors nod their heads affirmatively.)

 19                  THE COURT:     -- by 2 o'clock.      That's an hour.       And

 20       I hope we're ready to get you then.           I'll work hard at it,

 21       but it's going to take that significant period of time.                You

 22       might as well know it now rather than sit up there and keep

 23       waiting.

 24                  So during the break, do not discuss these

 25       proceedings in any way with anyone, including your fellow
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  1       Jurors.

  2                  If anyone approaches you, tries to discuss it, let

  3       me know.    Must not conduct any independent search about the

  4       trial or read, listen to, or watch any news reports, if any,

  5       of the trial.

  6                  You may not chat or use Google, Facebook, Twitter,

  7       et cetera, to find information about any aspect of the case.

  8                  Finally, remember that it's especially important

  9       that you keep an open mind.         Don't form or express an

 10       opinion until it's been finally submitted to you.

 11                  So take your break.       Welcome to go outside the

 12       courtroom.     I'm going to need you in the ninth floor room by

 13       2 o'clock in the hopes that we can get you at that time.

 14                  Out of respect for you, we'll rise as you leave for

 15       an hour.

 16                  COURTROOM DEPUTY:       All rise for the Jury.

 17       (Prospective Jurors exited the Courtroom.)

 18                  THE COURT:     Jury's left the room.        The door is

 19       closing.    Anything that requires the Court's attention

 20       before we recess for an hour from the Government --               oh,

 21       we're not recessing yet, are we?          We're going to do Cause,

 22       so you may be seated.

 23                  Ms. Frankian, if you could have Mr. Hall assist you

 24       and bring a chair up next to me and join me?             Thank you.

 25                  All right.     We will address Challenges for Cause.
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  1       I propose to go to the Government and ask you for your

  2       Challenges for Cause, and then go to the Defense and ask you

  3       for your Challenges for Cause.

  4                  MR. MANGAN:     Can we just have one moment, Your

  5       Honor?

  6                  THE COURT:     Yes.

  7       (Counsel for both sides confer with co-counsel.)

  8                  MR. MANGAN:     We're ready when you are, Your Honor.

  9       We're ready when you are, Your Honor.

 10                  THE COURT:     Very well.     Give me just a moment.        I'm

 11       ready.    Thank you.     What I would propose is that we run

 12       through the Government's objections for Cause, and then run

 13       through the Defendant's objections for Cause.

 14                  Is there any objection to that from the Government?

 15                  MR. MANGAN:     No, Your Honor.

 16                  THE COURT:     From the Defense?

 17                  MR. KOHNEN:     No, thank you, Judge.

 18                  THE COURT:     Very well.     Mr. Mangan, you can

 19       proceed.

 20                  MR. MANGAN:     Your Honor, we have four that we would

 21       suggest for Cause.

 22                  THE COURT:     All right.

 23                  MR. MANGAN:     Starting with Number 7.        He's the

 24       individual who indicated the hand surgery and the issue with

 25       the physical therapy.
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  1                  THE COURT:     Okay.    Let me pause there.       Does the

  2       Government want to be heard on that Cause?

  3                  MR. MANGAN:     Do you mean the Defense?

  4                  THE COURT:     Yes.    Sorry.   Challenging for Cause

  5       because of his hand surgery, need for physical therapy; is

  6       that right, Mr. Mangan?

  7                  MR. MANGAN:     Correct.

  8                  MR. KOHNEN:     Judge, I believe that that Prospective

  9       Juror said that he was going to try to work his schedule of

 10       his physical therapy so he could attend the trial.               He

 11       seemed pretty earnest about that.          Otherwise, we don't see

 12       any other reason to excuse this Potential Juror.

 13                  THE COURT:     The Court declines to excuse for

 14       Cause.

 15                  MR. MANGAN:     The next one, Your Honor, is Number

 16       10.   That was the individual who indicated he has a new job

 17       starting on Monday as well as an obligation to do some drug

 18       testing in between.

 19                  THE COURT:     Defense wish to be heard?

 20                  MR. KOHNEN:     We concur.

 21                  THE COURT:     Ten is excused for Cause.

 22                  MR. MANGAN:     The next one we would suggest, Your

 23       Honor, is Number 15.       This is the Juror who indicated that

 24       he and his wife were in a car accident, and that his wife is

 25       injured, and they have obligations regarding babysitting for
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  1       a grandchild.

  2                  THE COURT:     Defense wish to be heard?

  3                  MR. KOHNEN:     May I just a moment, Your Honor?

  4                  THE COURT:     Yes.

  5       (Mr. Kohnen confers with co-counsel.)

  6                  MR. KOHNEN:     Your Honor, I don't think that that's

  7       an appropriate reason to strike this Juror for Cause.

  8                  THE COURT:     Let me get focused again.         Who are we

  9       chatting about, Juror Number?

 10                  MR. KOHNEN:     Juror Number 15.

 11                  THE COURT:     All right.     Yeah, I've got it.       Go

 12       ahead.    And speak up, please.

 13                  MR. KOHNEN:     I think that he's in exactly the same

 14       spot as the last Juror, not exactly but pretty close.               He's

 15       got some conflicts that are potential conflicts.              He's got

 16       some problems that may come down the road.

 17                  He's the one whose wife -- he and his wife were in

 18       an automobile accident, but I don't think that he rises to

 19       the level of an excuse for Cause.

 20                  You know, it's not lost on me, Your Honor, that

 21       we've got a pretty small panel to begin with, but that

 22       figures into my thinking somewhat.

 23                  THE COURT:     I'm going to exclude that person for

 24       Cause.    They testified that -- as to his wife's condition

 25       and their concern.       I grant him -- excuse him for Cause.              I
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  1       may revisit the other gentleman.

  2                   MR. MANGAN:    The last one we would present, Your

  3       Honor, would be Juror Number 40.          This is the individual who

  4       is 79 and indicated he had just been diagnosed with Stage 4

  5       Lung Cancer.

  6                   THE COURT:    And why should he be excused?

  7                   MR. MANGAN:    Simply because, I believe, he

  8       indicated that he's starting the treatments and is not clear

  9       as to how that might impact him.

 10                   THE COURT:    I'm not trying to be difficult.          It's

 11       possible we might all die.         He's got Stage 4 Cancer.        That's

 12       horrible.    He's 79.     He didn't want to be excused for age.

 13                   MR. MANGAN:    I understand that.

 14                   THE COURT:    And there's no indication that he, you

 15       or I are going to die, and we can't predict that.              So help

 16       me understand that?

 17                   MR. MANGAN:    I think it was just -- my concern,

 18       Your Honor, was -- from what I recall he mentioned was the

 19       recency of the diagnosis and his uncertainty as to what the

 20       treatments would be and how it would impact him, so I just

 21       didn't --    we were concerned about something happening

 22       during the trial to where he would suddenly reconsider

 23       whether or not he could serve.

 24                   THE COURT:    Fair enough.     Defense wish to be heard

 25       on 40?
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  1                  MR. KOHNEN:     Again, not, not an appropriate reason,

  2       we think, Your Honor.       If they want to excuse him, they can

  3       use a Peremptory.      He indicated an interest in serving, and

  4       I don't see anything on the horizon that he mentioned that

  5       is going to prevent that.

  6                  THE COURT:     We're going to revisit him.         Has the

  7       Government run through its Challenges for Cause?

  8                  MR. MANGAN:     Yes, Your Honor.

  9                  THE COURT:     Very well.     Defense prepared to

 10       proceed?    All right.     While you're thinking, let me

 11       interrupt.     I'm revisiting Juror Number 7, the one with the

 12       reconstructive hand surgery.         Told us he was going to try

 13       and do his PT at 7 or 7:30 a.m., but he had no indication

 14       that he was scheduled.

 15                  I can't run the risk that he comes in tomorrow and

 16       tells me he was unable to schedule it and cannot serve.                I

 17       excuse him for hardship and cause.

 18                  I'm ready if you are, but if you need more time,

 19       I'm cool too?

 20                  MR. KOHNEN:     Oh, no, we're ready to get started,

 21       Judge.    Let's start with Number 36.

 22                  THE COURT:     How many do you have?

 23                  MR. KOHNEN:     Four or five.

 24                  THE COURT:     Okay.    36?

 25                  MR. KOHNEN:     36 is somebody who's still working
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  1       at GE and has been there for 20 years.            That in and of

  2       itself we believe is enough that he should be excused for

  3       Cause.

  4                  THE COURT:     Government wish to be heard?

  5                  MR. MANGAN:     Yes, Your Honor.       I believe he

  6       indicated that he works in the business where they service

  7       planes that have already -- or engines that have already

  8       been sold.     He did not have any connection to the design

  9       process.    Did not know the witnesses.         Did not know about

 10       the case, so we don't believe it's appropriate for a Cause

 11       strike.

 12                  MR. KOHNEN:     Your Honor, if I might.        He said that

 13       before he worked where he works now, he worked in research

 14       and development.      That's precisely the area we're talking

 15       about.

 16                  THE COURT:     Fair enough.     I don't think his

 17       association with GE per se is bias, and he's not excused for

 18       Cause.    There are other options.

 19                  MR. KOHNEN:     Next is Number 16.       Number 16 on his

 20       Juror questionnaire indicated that when it comes to China,

 21       he cannot be impartial.

 22                  THE COURT:     Talking about Number 16?

 23                  MR. KOHNEN:     That's right.

 24                  THE COURT:     Government wish to be heard?

 25                  MR. MANGAN:     Your Honor, all I would indicate is
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  1       that, you know, everyone checked different boxes related to

  2       the questionnaire.       If they had a specific concern about

  3       that, they could have questioned him on it.

  4                  He was questioned on quite a number of other issues

  5       related to, you know, his connection to GE, issues relating

  6       to availability.

  7                  If they had concerns about his ability to be fair

  8       and impartial, they could have questioned him directly, and

  9       they chose not to.

 10                  THE COURT:     Defense want the last word?

 11                  MR. KOHNEN:     Yeah, Judge, with all due respect, the

 12       gentleman checked the box.         As soon as we saw that, we

 13       assumed he's off for Cause.         This is a person who on the

 14       Jury questionnaire who checked the box that when it comes to

 15       a Chinese person, he cannot be impartial.

 16                  THE COURT:     Can we have a dialogue?

 17                  MR. KOHNEN:     Sure.

 18                  THE COURT:     On the questionnaire he was asked, did

 19       he have any opinions or beliefs about China?             And he said --

 20       he didn't fill that out.        He said -- didn't check it.         He

 21       said no.

 22                  Then on the next question:         Is it going to affect

 23       you --    how you rule on the testimony?          He said, yes.

 24       Didn't make any sense.        We had him in here.       We talked to

 25       him numerous times, and I had no indication that he was
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  1       going be biased.

  2                  What's your, what's your response to that?             And I

  3       just want to have a dialogue with you.            I'm not trying to

  4       steam roll anything --

  5                  MR. KOHNEN:     Judge --

  6                  THE COURT:     -- but I don't want you going hanging

  7       your hat on that one check on the questionnaire.

  8                  MR. KOHNEN:     You know, Judge, I -- that's the only

  9       place I believe we need to hang our hat.

 10                  THE COURT:     Well, keep your voice up for me,

 11       please.

 12                  MR. KOHNEN:     Judge, what, we were not -- once we

 13       saw that, we were not interested in trying to rehabilitate

 14       this person.     Where they checked the box matters not.            Where

 15       they put those words in our view matters not.

 16                  THE COURT:     Can I tell you something?         That that

 17       response was really helpful to me, and it's because we had a

 18       dialogue without being rat-a-tat-tatting back and forth.

 19       He's also got a child with heart disease.

 20                  MR. KOHNEN:     Yes.

 21                  THE COURT:     I excuse him for Cause.

 22                  MR. KOHNEN:     Thank you, Judge.       Note to self.      I

 23       understand.

 24                  THE COURT:     What did you say?

 25                  MR. KOHNEN:     I said, note to self.        I understand
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  1       what you're saying, and I appreciate it.

  2                   THE COURT:    Note to self, Judge, thank God we have

  3       great lawyers on both sides.         Decent human beings as well.

  4       Well dressed on occasion.

  5       (Mr. Kohnen confers with co-counsel.)

  6                   MR. KOHNEN:    Judge, I think we have one more.           Just

  7       a second.

  8                   THE COURT:    I'm doing fine.      Trying not to snap.

  9       (Mr. Kohnen confers with co-counsel.)

 10                   MR. KOHNEN:    Your Honor, our last request for a

 11       Challenge for Cause would be Juror Number 9.             You might

 12       recall, he's the Prospective Juror who needs some dental

 13       work done.

 14                   He also was an employee of GE Aviation.           He was the

 15       one, who in our view, hesitated pretty profoundly when asked

 16       questions about GE, and would he be biased; and for that

 17       reason -- those reasons, excuse me, and also some of his

 18       answers on the Jury questionnaire particularly where he

 19       believes a Juror should testify, he said that he strongly

 20       believes -- or that Defendant, pardon me, said that he

 21       strongly believes that, that and his military experience,

 22       lead us to request that he be excused for Cause.

 23       (Mr. Kohnen confers with co-counsel.)

 24                   MR. KOHNEN:    Your Honor, in spirit of all

 25       disclosure, if I said strongly that word may have been
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  1       inappropriate --

  2                   THE COURT:    If you'd speak up?

  3                   MR. KOHNEN:    I didn't mean to use the word

  4       strongly.

  5                   THE COURT:    In regard to what?       Your love of me?        I

  6       don't know what you're saying.

  7                   MR. KOHNEN:    In regard to his thoughts that a

  8       Defendant should testify.

  9                   THE COURT:    Okay.    I just didn't understand.        Mr.

 10       Mangan?

 11                   MR. MANGAN:    Your Honor, with respect to the issue

 12       of the Defendant testifying, I believe the Court asked the

 13       entire panel a series of questions covering that, and

 14       everyone indicated that they could follow the Court's

 15       instructions.

 16                   Secondly, I would indicate that a person's military

 17       service is no ground at all for striking them from Jury

 18       service.    Certainly not for Cause.

 19                   And then with respect to his GE employment, I

 20       believe he works as, it was -- had to do with electrical

 21       maintenance was what he indicated, and that that was the

 22       field that he worked in.        Was not related to design.         Did

 23       not know any of the witnesses.          Did not know anything about

 24       the case.

 25                   And then with respect to the filling falling out,
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  1       he indicated he would need to schedule an appointment.                He

  2       didn't know when that would be, but he, you know, seemed --

  3       there seemed to be some flexibility there as to when that

  4       might be able to be accommodated and perhaps that could even

  5       work with flexibility with the trial schedule.

  6                  So putting all those together, Your Honor, we don't

  7       see any ground for striking him for Cause.

  8                  THE COURT:     I think there's too much that's

  9       problematic about him.        I'll start at the top.        At the very

 10       end of your examination of him as to whether he would be

 11       able to not favor or disfavor a GE witness, I personally

 12       thought I saw significant hesitation, and you have spoken to

 13       him.

 14                  GE Aviation employment per se is not a basis, but

 15       that caused me significant pause; and although I banged on

 16       all of the Jurors about, you don't have to testify, his was

 17       the most hostile expression and that in the questionnaire,

 18       and I strike him for Cause.

 19                  Are we through with Challenges for Cause?

 20                  MR. KOHNEN:     We are from the Defense, Your Honor.

 21       Thank you.

 22                  THE COURT:     From the Government?

 23                  MR. MANGAN:     Yes, Your Honor.       Thank you.

 24                  THE COURT:     All right.     I'm inclined to recess.           I

 25       told them we were was going to try to get them at two.
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  1       It's, like, 1:25.      It's sort of within the 20 to 30 minute

  2       suggestion.

  3                  Are you ready to come back -- I'll check if you're

  4       not -- but do you think you'll be ready to come back at two

  5       to do -- at 2 o'clock --        well, at 10 minutes of two -- in

  6       half an hour -- in five minutes of two to do Peremptories?

  7       The Government?

  8                  MR. MANGAN:     That would be fine, Your Honor, if --

  9       can you kind of maybe walk through what you want the

 10       schedule to be after that?

 11                  THE COURT:     In regard to what?

 12                  MR. MANGAN:     Just in terms of whenever we finish,

 13       would we go right into openings?

 14                  THE COURT:     No.

 15                  MR. KOHNEN:     Okay.

 16                  THE COURT:     The Defense has something they want to

 17       bring to my attention after we pick the Jury; is that right,

 18       Mr. Kohnen?

 19                  MR. KOHNEN:     That's correct, Judge.

 20                  THE COURT:     And that's going to take a little time,

 21       so we're going to break.        We're not going straight to

 22       closing.

 23                  MR. MANGAN:     Okay.

 24                  THE COURT:     We'll see if we get to closing.

 25       Defense okay with the estimated time I come back to see if
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  1       you're ready?

  2                  MR. KOHNEN:     You want us back here at two or five

  3       minutes to two?

  4                  THE COURT:     Five minutes to two?

  5                  MR. KOHNEN:     Okay.    Yes, Judge, we'll get it done.

  6                  THE COURT:     Thanks.    You don't have to leave, but

  7       you may.    We're in recess.

  8                  COURTROOM DEPUTY:       All rise.    This court is now in

  9       recess.

 10       (Court was in recess at 1:23 p.m. and resumed at 2:07 p.m.)

 11                  COURTROOM DEPUTY:       All rise.    This court is in

 12       session pursuant to the recess.

 13                  THE COURT:     You may be seated.       Thank you.

 14       Government team is here in full.          Defense team is here in

 15       full.   The Defendant is here with the interpreter.              No

 16       Jurors in the room.

 17                  We are prepared to proceed to Peremptory

 18       Challenges.     Is the Government ready to proceed?

 19                  MR. MANGAN:     We are, Your Honor.

 20                  THE COURT:     Is the Defense?

 21                  MR. KOHNEN:     Yes, Your Honor.

 22                  THE COURT:     Very well.     Does the Government wish to

 23       exercise its first Peremptory Challenge?

 24                  MR. MANGAN:     Yes, Your Honor.       We strike Number 24.

 25                  THE COURT:     24 is stricken by the Government.           Does
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  1       the Defendant wish to exercise its first and second

  2       Peremptory strike?

  3                  MR. MIEDEL:     Yes, Your Honor.       We ask to strike

  4       Number 21 and Number 36.

  5                  THE COURT:     Both are stricken, 21 and 36.          Is the

  6       Government ready to exercise its second Peremptory?

  7                  MR. MANGAN:     Yes, Your Honor.       We strike Number 14.

  8                  THE COURT:     14 is stricken.      Tell me to slow down

  9       if I need to.     Is the Defendant ready to exercise its third

 10       and fourth Challenges?

 11                  MR. MIEDEL:     Yes, Your Honor.       We ask to strike

 12       Number 18 and Number 28.

 13                  THE COURT:     18 and 28 are stricken.        Is the

 14       Government ready to exercise its third Peremptory strike?

 15                  MR. MANGAN:     Yes, Your Honor.       We strike Number 22.

 16                  THE COURT:     22.   Very well.     22 is stricken.      Is

 17       the Defense ready to exercise its fifth and sixth Peremptory

 18       Challenges?

 19                  MR. MIEDEL:     Yes, Your Honor.       We ask to strike

 20       Number 26 and Number 5.

 21                  THE COURT:     26 and 25 are stricken.

 22                  MR. MIEDEL:     I'm sorry.     Number 26 and Number 5.

 23                  THE COURT:     Yes, and I meant to say that.          26 and 5

 24       are stricken.

 25                  MR. MIEDEL:     Thank you.
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  1                   THE COURT:    Is the Government ready on its fourth?

  2                   MR. MANGAN:    Your Honor, we strike Number 32.

  3                   THE COURT:    32.    32 is stricken.     Is the Defense

  4       ready on seven and eight?

  5                   MR. MIEDEL:    Yes, Number 13 and Number 1.

  6                   THE COURT:    13 and --     nope.   13 and 1 are

  7       stricken.    Government ready to exercise its fifth

  8       Challenge?

  9                   MR. MANGAN:    Just one moment, Your Honor.

 10                   THE COURT:    Yes.

 11                   MR. MANGAN:    Your Honor, we'd strike Number 33.

 12                   THE COURT:    33 is stricken.       Defense ready for its

 13       ninth Peremptory Challenge?

 14                   MR. MIEDEL:    Yes, Number 25.

 15                   THE COURT:    Number 25 is stricken.        Is the

 16       Government ready to issue its sixth and final Peremptory

 17       Challenge as to Jurors?

 18                   MR. MANGAN:    One quick moment, Your Honor.

 19                   THE COURT:    Yes.   Yes.

 20       (Mr. Mangan confers with co-counsel.)

 21                   MR. MANGAN:    Your Honor, we'd strike Number 30.

 22                   THE COURT:    Number 30 is stricken by the

 23       Government.     And we come to Defense for his tenth final

 24       Peremptory Challenge as to Jurors?

 25                   MR. MIEDEL:    Your Honor, the last Challenge is
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  1       Number 17.

  2                  THE COURT:     17.    17 is stricken.     Give me just a

  3       moment.    I'd like to identify those 12 that I think have

  4       been identified as Jurors, and then we'll proceed to

  5       Alternates if there's confirmation.

  6                  I see our Jurors as including Numbers 2, 3, 4, 6,

  7       8, 11, 12, 19, 20, 23, 27, 29.

  8                  Is the Government able to confirm its

  9       understanding?

 10                  MR. MANGAN:     That's our understanding, yes.

 11                  THE COURT:     And the Defense?

 12                  MR. MIEDEL:     One moment, Your Honor?

 13                  THE COURT:     Yes.

 14       (Mr. Miedel confers with co-counsel.

 15                  MR. MIEDEL:     Your Honor, you skipped over seven, is

 16       that because you've decided to strike him for Cause?

 17                  THE COURT:     Yeah, we did that before the break.

 18       That's the guy with the --

 19                  MR. MIEDEL:     Right.    I thought maybe, I thought --

 20       I thought I heard you say you were reserving on that.

 21       Perhaps I misunderstood.

 22                  THE COURT:     Seven has been excused.

 23                  MR. MIEDEL:     Okay.

 24                  THE COURT:     It was before the break.

 25                  MR. MIEDEL:     In that case we are -- we agree that
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  1       that is the correct list.

  2                  THE COURT:     That these are the 12?        Thank you.

  3       We've been planning on three Alternate strikes --              three

  4       Alternates who -- who is the Government's first Alternate

  5       strike?

  6                  MR. MANGAN:     35, Your Honor.

  7                  THE COURT:     35.   Who is the Defense's first

  8       Alternate strike?

  9                  MR. KOHNEN:     27, Your Honor.

 10                  THE COURT:     27 is stricken.

 11                  MS. GLATFELTER:      Your Honor, I thought 27 was on

 12       the panel?

 13       (the Court confers with Ms. Frankian.)

 14                  THE COURT:     27 is on the Jury.       So you can't strike

 15       that.   29 forward.

 16                  MR. MIEDEL:     We need just one minute.

 17                  THE COURT:     You're doing fine.

 18       (Mr. Miedel confers with co-counsel.)

 19                  MR. MIEDEL:     Your Honor, Number 37.

 20                  THE COURT:     Number 37 is stricken.        The Government

 21       have its final strike as to Alternates?

 22                  MR. MANGAN:     Your Honor, 39.

 23                  THE COURT:     39.   39 is stricken.      And does the

 24       Defense have its last Alternate strike?

 25       (Mr. Miedel confers with co-counsel.)
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  1                  MR. MIEDEL:     Your Honor, we'll strike Number 40.

  2                  THE COURT:     Number 40.     I believe that the three

  3       Alternates are 34, 38, and 41, and ask when you're ready to

  4       confirm if that's your understanding?

  5                  MR. MANGAN:     That's our understanding, Your Honor.

  6                  THE COURT:     From the Government.

  7                  MR. FLORIAN:     Yes, that is our understanding.

  8                  THE COURT:     From the Defense as well.         We have 12

  9       Jurors and three Alternates, and we have completed the task

 10       to date.    Are we ready to bring down the Jurors, the

 11       Alternates, and the balance of the panel from the

 12       Government's perspective?

 13                  MR. MANGAN:     We're prepared, yes.

 14                  THE COURT:     Defense?

 15                  MR. KOHNEN:     Yes, Your Honor.

 16                  THE COURT:     Very well.     Ms. Santoro, would you call

 17       for those --     for all Jurors, please?

 18                  COURTROOM DEPUTY:       Yes, Judge.

 19       (Discussion held off the record.)

 20                  THE COURT:     While we're in recess, we'll go back on

 21       the record before the Jurors come through the door.               We're

 22       going to bring them down, all of them, put them in the back.

 23       We're going to call up the 15, put them in the box --

 24                  MR. KOHNEN:     They're at the door.        Well, they're

 25       filling in.
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  1                  THE COURT:     The Marshal's guarding the door.          I

  2       don't want them in here, so will you guard the door, please?

  3       Thank you.

  4                  All right.     Outside the presence of the Jurors.

  5       We're going to bring everybody back.           We're going to put

  6       them in the gallery.       We're going to call forward the 15,

  7       put them in the box.       We're going to excuse all of the

  8       others and thank them.

  9                  We're then going to instruct the Jury

 10       preliminarily, and then we would pause, break, and the next

 11       thing would be opening statements.

 12                  I don't --     if we're doing opening statements, I

 13       want both of them on the same day.           Do you want to break

 14       after we pick the Juries and do opening statements in the

 15       morning or would you like to plunge ahead or would you leave

 16       that to my --     does the Government have a position?

 17                  MS. GLATFELTER:      Your Honor, as much as we'd like

 18       to move ahead, I think it will be late by the time we get

 19       started; and I think, you know, Mr. Kohnen could get

 20       started, go until past 5 o'clock probably, which is also

 21       probably not the situation we want to have for the Jurors,

 22       so I would propose tomorrow morning to do both of them.

 23                  THE COURT:     And what's the Defense's sense?

 24                  MR. KOHNEN:     Judge, I agree with Ms. Glatfelter.

 25       We promised them that we'd finish at 4:30, and I don't want
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  1       to get off on the wrong foot.

  2                  THE COURT:     I agree.    We'll push closing -- opening

  3       statements till tomorrow.        We've all been through a ringer.

  4       There's nothing wrong with taking a break and coming back

  5       fresh in the morning to go with opening statements.               I think

  6       it's also of an assistance to the Jury.

  7                  Did you acknowledge Mr. Kohnen that Ms. Glatfelter

  8       was looking out for you in suggesting that if you went

  9       second this afternoon, you'd be rushed?

 10                  MR. KOHNEN:     I will be eternally grateful until

 11       tomorrow morning.

 12                  THE COURT:     The record shall reflect that.          Thank

 13       you, Mr. Kohnen.      All right.     We can have the Jurors come

 14       in.   Thank you, Madam Marshal.

 15                  COURTROOM DEPUTY:       All rise for the Jury.

 16       (Prospective Jurors entered the Courtroom.)

 17                  MR. MANGAN:     Did you want --

 18                  THE COURT:     Oh, I'm sorry.      Excuse me.     We're

 19       putting them all in the gallery; right?            All of them in the

 20       gallery.    Festival seating in the gallery as distanced as

 21       you can be.

 22                  You don't have to sit in your Juror number.             You

 23       have to sit in the gallery.         Try and social distance as best

 24       you can.    This will just take a moment.          Thank you, Mr.

 25       Mangan.    Did you hear me?
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  1                  MR. MANGAN:     Yes.

  2                  THE COURT:     Everybody in the gallery, we don't have

  3       to sit in your assigned seat.         Try and social distance as

  4       best you can.     This will just be for a moment.

  5                  Sit anywhere you wish.        Not in your number

  6       necessarily.     All in the gallery.       Try and social distance

  7       as best you can.

  8                  All are seated in the gallery.          You don't have to

  9       be in your correct number.         Social distance as best that

 10       you're able.

 11                  If you've arrived, you may all be seated.             Do we

 12       know that all persons, Jurors, are here?            Somebody's

 13       counted?

 14                  COURTROOM DEPUTY:       Yes, they have.

 15                  THE COURT:     Very well.     Welcome back and thank you

 16       for your patience to the Prospective Jurors now all seated

 17       in the gallery.

 18                  We've reached our decision, and I'm now going to

 19       call forward the 15 of you who have been selected as Jurors

 20       in this case.

 21                  As I call your name --        number, please step forward

 22       and walk up here to Ms. Santoro, who will direct you to a

 23       seat of the Jury box.       We're putting all 15 in the Jury box

 24       briefly.

 25                  Once you're seated, I'm going to make a brief
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  1       statement, and then I'm going to go ahead and excuse

  2       everyone else in the gallery.

  3                  After everyone else has left, the 15 in the box

  4       will be sworn in as Jurors, and then we'll move you -- most

  5       of you back into the gallery to an assigned seat so that

  6       everyone is socially distanced.

  7                  When I spoke with you earlier this morning, I urged

  8       you not to be offended if you'd been selected for the Jury.

  9       If you have been selected for the Jury, I urge you not to be

 10       disappointed nor ecstatic, and here we are.

 11                  Juror Number 2, if you would approach Ms. Santoro.

 12       Juror Number 3, Juror Number 4, Juror Number 6, Juror Number

 13       8, Juror Number 11, Juror Number 12, Juror Number 19,

 14       Juror 20, Juror 23, Juror 27, Juror Number 29, Juror

 15       Number 34, Juror Number 38, Juror Number 41.

 16                  Ms. Santoro, we have 15 in the Jury box; is that

 17       right?

 18                  COURTROOM DEPUTY:       That's correct, Judge.

 19                  THE COURT:     Thank you.     As to the 15, if you sit --

 20       sitting in the box, you've all been asked questions in

 21       order to determine your ability to make decisions in this

 22       case, free from any bias or sympathy for or against either

 23       side.

 24                  I must now ask some final possibly repetitive

 25       questions to ensure your qualifications as Jurors.               Please
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  1       bear with me as I ask those questions now.

  2                  Is there anyone in the Juror box that cannot

  3       promise to decide this case strictly on the facts as

  4       developed from the witness stand, and the exhibits admitted

  5       into evidence, and the law as I give it to you?

  6       (No Prospective Juror raised their hand.)

  7                  THE COURT:     I see no hands.

  8                  Is there anyone here who cannot promise to keep an

  9       open mind, not discuss the case with anyone, including your

 10       fellow Jurors, throughout the entire trial until you're

 11       ordered to retire to the Jury Room to deliberate?

 12       (No Prospective Juror raised their hand.)

 13                  THE COURT:     I see no hands.

 14                  Can any of you think of any reason why you could

 15       not be fair and impartial in carrying out your duties in

 16       this trial?

 17       (No Prospective Juror raised their hand.)

 18                  THE COURT:     I see no hands.      Finally, is there any

 19       reason at all why any of you feel that you could not or

 20       should not serve on this Jury?

 21       (No Prospective Juror raised their hand.)

 22                  THE COURT:     I see no hands.      This is my last

 23       chance.    I've determined you 15 are our Jury.           I can't find

 24       out tomorrow that you have a dentist appointment or

 25       something that's going to interfere with your being here.
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  1       I've still got people I could plug in.

  2                  Does anyone have any conflict with attending the

  3       trial on every day as currently calendered beginning at

  4       9:30, in the courthouse at 9:15?          We'll try and get you out

  5       at 4:30.

  6                  Anything that's going to interfere with that?              Is

  7       there anyone in the box among the 15 who have anything they

  8       need to tell me?

  9       (No Prospective Juror raised their hand.)

 10                  THE COURT:     Thank you.     You are our Jury.       I'll be

 11       back to you.

 12                  To those of you seated in the gallery and not

 13       selected, I want to thank you for coming.            It's impossible

 14       to determine at the outset how many Prospective Jurors need

 15       to be summonsed in order for us to seat a Jury.

 16                  Even though you were not selected to serve on this

 17       Jury, please know that your presence and participation in

 18       the Jury selection process is a important contribution to

 19       the workings of this court.

 20                  Jury service is one of the most important

 21       activities of being a United States citizen.             I believe it's

 22       a sacrifice required by democracy.           We very much appreciate

 23       your willingness to serve.

 24                  Those of you not selected still in the gallery are

 25       excused with our gratitude.         I hope a piece of this was of
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  1       interest, and you are free to leave the courthouse.               We will

  2       rise out of respect for you as you leave for the day.

  3                  COURTROOM DEPUTY:       All rise.

  4       (Prospective Jurors not selected exited the Courtroom.)

  5                  THE COURT:     The balance of the Jury venire have

  6       been excused.     You may all be seated.        15 Jurors remain

  7       present in the Jury box.        The others are gone.        I did not

  8       hear any high fiving, and I want to thank the 15 of you for

  9       the commitment you've taken on.

 10                  Ms. Santoro, I would ask that you please swear in

 11       the Jury to service.       If you would stand and raise your

 12       hand, and you're going to be sworn to decide this case

 13       fairly.

 14                  COURTROOM DEPUTY:       Do you, and each of you, do

 15       solemnly swear or affirm that you will well and truly try,

 16       and true deliverance make, in the case now in trial and

 17       render a true verdict according to the law and the evidence.

 18       Respond by saying I do.

 19                  ALL JURORS:     I do.

 20                  THE COURT:     Thank you, all.      We're now going to

 21       seat them social distanced in the box and in the gallery.

 22       Ms. Santoro's going to assist with this, and this should be

 23       something to behold.

 24       (Laughter.)

 25                  COURTROOM DEPUTY:       So all but three will come back.
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  1       So are we starting with the back?

  2                  MS. FRANKIAN:      Yes, the back row one and the far

  3       right, one in the middle, and one on the far left, and then

  4       in the gallery it's the second and the fourth row, and I

  5       think there's a sticker -- a red sticker --

  6                  COURTROOM DEPUTY:       Okay.

  7                  MS. FRANKIAN:      -- where they should sit.

  8                  COURTROOM DEPUTY:       So if you want to follow me down

  9       this front row.

 10                  THE COURT:     Is there anyone in here who has trouble

 11       with vision, such that you need to be in the box with a

 12       screen very close to you or on the edges where the big

 13       screens are?     Although we'll have a big screen in the

 14       middle.    Two small screens in the middle.

 15                  Anybody who needs to have the screen right up close

 16       to them?

 17       (No Prospective Juror raised their hand.)

 18                  THE COURT:     Very well.     Now that I've assisted --

 19                  COURTROOM DEPUTY:       Thank you, Judge.

 20                  THE COURT:     -- would you continue the exercise?

 21                  COURTROOM DEPUTY:       So we're only going to have

 22       three in the box?      So you three (Indicating) stay here.            The

 23       rest of you come with me.        Two in the back.       One in the

 24       front.

 25       (Jurors were seated socially distanced.)
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  1                  THE COURT:     You may all be seated.        In the second

  2       row to my left, why are those two --           they're in separate

  3       rows, okay.     It looks like people are socially distanced.

  4       To those three in the box, you're not special.              It just

  5       worked out that way.

  6       (Laughter.)

  7                  THE COURT:     Thank you for your understanding.           So

  8       the seat you're in now is your seat for the duration of

  9       trial.    Make sure you remember where it is.

 10                  I prefer you didn't carve your initials in it, but

 11       I want you to be able to get to your own seat without a lot

 12       of direction; understood?

 13       (Jurors nod their heads affirmatively.)

 14                  THE COURT:     Very well.     Members of the Jury, I'm

 15       going to give you some preliminary instructions to guide you

 16       in your participation in the trial now that you've been

 17       sworn.

 18                  Please pay special attention and listen carefully.

 19       I know that you will.       I'm going to have to read some stuff

 20       to you.

 21                  The last time somebody read to me out loud, it was

 22       my mother trying to get me to go to sleep.             I urge you not

 23       to go to sleep.

 24                  If it's any help, once I get through these

 25       instructions, I'm going to let you go for the day.               You've
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  1       been here for a long time.         It's quarter of three.        We'll

  2       get these instructions under our belt.            I'll remind you

  3       about what not to do when you're outside the presence of the

  4       courtroom, and we'll send you home.

  5                  When you come back tomorrow, you need to be in the

  6       ninth floor Jury Room by 9:15, and we will endeavor to get

  7       you down here at 9:30.

  8                  We'll start with opening statements.           That is not

  9       evidence, and then we'll begin to hear evidence.              So here

 10       are the preliminary instructions.

 11                  Duty of the Jury.       It will be your duty to find

 12       from the evidence what the facts are.           You, and you alone,

 13       will be the judges of the facts.

 14                  When the time comes, I will instruct you on the

 15       relevant law.     You'll then apply those facts to the law that

 16       I will give you, and you must follow that law whether you

 17       agree with it or not.

 18                  Nothing the Court --       I, this Judge --       may say or

 19       do during the course of trial is intended to indicate in any

 20       way or should be taken by you as indicating what your

 21       verdict should be.

 22                  As to evidence, the evidence from which you will

 23       find the facts will consist of the testimony of witnesses,

 24       documents, and other items received into the record as

 25       exhibits, and any facts that the lawyers agree to or
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                                                                                 150

  1       stipulate to that I will tell you about or anything the

  2       Court instructs you to find.

  3                  Certain things are not evidence and must not be

  4       considered by you.       I'll list them for you now:         Statements,

  5       arguments, and questions by lawyers are not evidence.

  6       Objections to questions are not evidence.

  7                  Lawyers have an obligation to their clients to make

  8       objections when they believe evidence is being offered

  9       improperly under the Rules of Evidence.            Should not be

 10       influenced by the objection or by my ruling on it.

 11                  If the objection is sustained, in other words

 12       upheld, then ignore the question.          If the objection is

 13       overruled, then treat the answer like any other; and if

 14       you are instructed that some item of evidence is received

 15       for a limited purpose only, you must follow that

 16       instruction.

 17                  Testimony that the Court has excluded or told you

 18       to disregard is not evidence and must not be considered.

 19       Anything you may have seen or heard outside the courtroom

 20       is not evidence and must be disregarded.            You are to decide

 21       the case solely on the evidence presented here in the

 22       courtroom.

 23                  There are two kinds of evidence, direct and

 24       circumstantial.      Direct evidence is direct proof of a fact,

 25       such as testimony of an eyewitness.           For example, if a
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  1       witness testified that he saw it raining outside, you

  2       believed him, that would be direct evidence that it was

  3       raining.

  4                   Circumstantial evidence is proof of facts from

  5       which you may infer or conclude that other facts exist.                For

  6       example, if someone walked into the courtroom wearing a

  7       raincoat covered with drops of water and carrying a wet

  8       umbrella, that would be circumstantial evidence from which

  9       you could conclude that it was raining.

 10                   Direct and circumstantial evidence are afforded the

 11       same weight.     I will give you further instructions on these

 12       as well as other matters at the end of the case and perhaps

 13       in the middle-ish, but keep in mind you may consider both

 14       direct and circumstantial evidence.

 15                   It will be up to you to decide which witnesses to

 16       believe, which witnesses not to believe, or how much of any

 17       witness's testimony to accept or reject.

 18                   I'll give you some guidelines for determining the

 19       credibility of the witnesses at the end of the case.

 20                   As to rules for criminal cases.         As you know, this

 21       is a criminal case.       There are three basic rules about a

 22       criminal case that you must keep in mind.

 23                   First, the Defendant is presumed guilty until

 24       proven --    is presumed innocent until proven guilty.             That's

 25       the basic one.      Perhaps I ought to state it accurately.            The
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  1       Defendant is presumed innocent until proven guilty.

  2                  The charges brought by the Government against the

  3       Defendant are only accusations.          Nothing more.      It's not

  4       proof of guilt or anything else.          The Defendant, therefore,

  5       starts out with a clean slate.

  6                  Second, the burden of proof is on the Government

  7       until the very end of the case.          The Defendant has no burden

  8       to prove his innocence or to present any evidence or to

  9       testify.

 10                  Since the Defendant has the right to remain silent,

 11       the law prohibits you from arriving at your verdict by

 12       considering that the Defendant may have not testified or may

 13       not have called witnesses or presented evidence.

 14                  Third, the Government must prove the Defendant's

 15       guilt beyond a reasonable doubt.          Proof beyond a reasonable

 16       doubt means proof which is so convincing that you would not

 17       hesitate to rely and act upon it in making the most

 18       important decisions in your own lives.

 19                  I will give you further instructions on this point

 20       later, but bear in mind that in this respect a criminal case

 21       is different from a civil case.

 22                  Summary of the case.       I'm now going to give you a

 23       brief overview of the Government's allegations in this case.

 24       This is just a short summary.         You remember that these are

 25       the Government's allegations.         The Defendant is presumed
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  1       innocent.

  2                   The Defendant, Yanjun Xu, is a citizen and resident

  3       of the People's Republic of China.           The Government alleges

  4       that Defendant is also a Deputy Division Director with the

  5       Regional Sector of the Ministry State Security, MSS, for the

  6       People's Republic of China.         MSS is China's Intelligence and

  7       Security Agency.

  8                   The Government alleges that part of Defendant's

  9       alleged duties on behalf of MSS, Defendant worked with other

 10       MSS officers as well as other institutions operated by the

 11       Chinese Government to unlawfully obtain trade secrets from

 12       aviation and aerospace companies in the United States and

 13       Europe all for the benefit of People's Republic of China and

 14       its various agencies and instructions.

 15                   In this case the Defendant is charged in a document

 16       called an indictment with four counts.

 17                   Count 1 charges Conspiracy to Commit Economic

 18       Espionage.     The Government alleges that from 2013 to April 1

 19       of 2018, Defendant engaged in a conspiracy to, without

 20       authorization, obtain, steal, receive, buy, or possess trade

 21       secrets belonging to various aviation and aerospace

 22       companies in the United States and Europe all for the

 23       benefit of the Chinese Government.

 24                   Count 2 charges Conspiracy to Commit Trade Secret

 25       Theft.    The Government alleges that from 2013 to April 1,
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  1       2018, Defendant engaged in a conspiracy to, without

  2       authorization, obtain, steal, receive, buy, or possess trade

  3       secrets belonging to various aviation and aerospace

  4       companies in the United States and Europe for the economic

  5       benefit of everyone other than the owner of the trade secret

  6       and with the intention and knowledge that the offense will

  7       injure the owner of that trade secret.

  8                   Count 3 charges Attempted Economic Espionage.             The

  9       Government alleges that from May 2017 to April 1, 2018,

 10       Defendant attempted to, without authorization, obtain,

 11       steal, receive, buy, or possess trade secrets belonging to

 12       GE Aviation all for the benefit of the Chinese Government.

 13                   Count 4 charges Attempted Trade Secret Theft.             The

 14       Government alleges that from May 2017 to April 1, 2018, the

 15       Defendant attempted to, without authorization, obtain,

 16       steal, receive, buy, or possess trade secrets belonging to

 17       GE Aviation and did so for the benefit of someone other than

 18       GE Aviation and with the intention and knowledge that the

 19       offense will injure GE Aviation.

 20                   The Defendant denies these charges and is presumed

 21       innocent.

 22                   As to the charges, I'll give you detailed

 23       instructions on the law at the end of the case, and those

 24       instructions will control your deliberations and decision.

 25                   Now, conduct of the Jury.        A few words about your
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  1       conduct as Jurors.       Just to be clear, these rules apply

  2       going forward regardless of whether you are in the courtroom

  3       or not.

  4                  So even when you're out during your lunch break or

  5       when you go home in the evening or over the weekend, you're

  6       still bound by the rules I'm about to discuss with you.

  7                  First, you as Jurors must decide this case based

  8       solely on the evidence presented here within the four walls

  9       of this courtroom.

 10                  This means that during the trial, you must not

 11       conduct any independent research about this case, about any

 12       of the matters in the case, and/or about any of the

 13       individuals involved in the case.

 14                  In other words, you cannot, shall not search the

 15       Internet, websites, or blogs, or use any other electronic

 16       tools to obtain information about this case or to help you

 17       decide this case.

 18                  You should not consult dictionaries, if you're

 19       familiar with what they are, or reference materials nor do

 20       any independent research.        You may not try to find out

 21       information from any source outside the confines of this

 22       courtroom.

 23                  Second rule is that until the trial is completely

 24       over, you may not discuss this case with anyone; and when I

 25       say anyone, I mean, anyone:         Not your family.      Not your
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  1       spouse.    Not your significant other.         Not your children.

  2       Not your friends.      Not your co-workers.        Not your Twitter

  3       followers.     No one.    In fact, until you retire for

  4       deliberations, you may not even discuss the case with your

  5       fellow Jurors.

  6                  Only after you retire and begin your deliberations,

  7       will you be allowed to begin to discuss the case and discuss

  8       it fully among yourselves.

  9                  But even then you still cannot discuss the case

 10       with anyone else until you've returned a verdict in this

 11       courtroom to me, and the case is at an absolute end.

 12                  Also I'm sure that many, if not all, of you

 13       communicate with others using some form of technology or

 14       some electronic device, smartphones, iPhones, iPads,

 15       computers, other forms of technology.           Keep in mind that

 16       when I tell you not to communicate with others about this

 17       case, that also means that you cannot use any of your

 18       electronic devices to communicate with anybody about the

 19       case.

 20                  In fact, cell phones must be turned off at all

 21       times when you're in the courtroom, and they will not be

 22       permitted in the Jury Room during deliberations.

 23                  So, again, you may not communicate with anybody

 24       about the case, whether it's in-person, on your cell phone,

 25       smartphone, iPhone, iPad, tablet, or computer, whether it's
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  1       through E-Mail, text message, blog, website, Twitter,

  2       Snapchat, Instagram, Facebook, LinkedIn, or YouTube.

  3                  I know -- or my people do -- that there are many

  4       other modes of communication and social media platforms that

  5       I didn't mention, but whether or not I specifically

  6       mentioned them doesn't matter.          You can't use any of it to

  7       talk about the case or independently research the case.

  8                  Also if you become aware that another Juror has

  9       violated any of these instructions, you must inform either

 10       Ms. Santoro, Ms. Frankian, or me right away.

 11                  A Juror who violates any of these rules,

 12       jeopardizes the fairness of these proceedings and a mistrial

 13       could result, which would require the entire progress to

 14       start over.

 15                  Finally, do not form any opinion until all the

 16       evidence is in.      Keep an open mind until you start your

 17       deliberations at the end of the case.

 18                  As to note-taking.       If you want to take notes

 19       during the course of the trial, we'll provide you with a pen

 20       and a notebook to do so.

 21                  However, it's very difficult to take detailed notes

 22       and pay attention to what the witnesses are saying at the

 23       same time.

 24                  If you do take notes, be sure that your note-taking

 25       does not interfere with your listening to and considering
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  1       all of the evidence.

  2                  Also if you do take notes, do not discuss them with

  3       anyone until you begin your deliberations.             Do not take your

  4       notes with you at the end of the day.           Be sure to leave them

  5       in the Jury Room.

  6                  If you choose not to take notes, remember that it

  7       is your own individual responsibility to listen carefully to

  8       the evidence.     You cannot give this responsibility away and

  9       rely on someone who's taking notes.

 10                  We rely on the judgment of all members of the Jury.

 11       You must all remember the evidence in this case.              We're not

 12       going to be able to give you transcripts.

 13                  During the course of the trial.          Tomorrow morning

 14       when you come back, the attorneys will make opening

 15       statements.     The Government will go first, and then the

 16       Defense.    An opening statement is merely an outline to help

 17       you understand the evidence as they expect it to come in

 18       during the case.

 19                  Opening statements are neither evidence nor

 20       arguments.     They're supposed to be a road map of what the

 21       evidence the lawyers expect to be.

 22                  After all of the evidence is in, after all

 23       witnesses have testified, I will instruct you in the law,

 24       and you'll hear closing arguments from both sides.

 25                  Closing arguments are not evidence.           You will then
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  1       be excused and taken to the Jury Room to begin

  2       deliberations.      That concludes Jury selection and your

  3       preliminary instructions.

  4                   Momentarily, I'm going to release you for the day.

  5       I'm going to get my eyes out of the paperwork and talk to

  6       you about not discussing this case.

  7                   Every day when I go home my wife asks me, what

  8       happened in court today?         I would presume that in your lives

  9       when you go home to your family and friends, people will ask

 10       you, what's going on?       What kind of case is it?         What did

 11       you hear?    Who said what?

 12                   You cannot answer any of that.         You need to tell

 13       them that the Federal Judge has instructed you not to

 14       discuss the case with anyone, including your loved ones.

 15                   So I'm going to release the Jury momentarily.             Is

 16       there anything the lawyers need from me in the presence of

 17       the Jury before I get ready to excuse them, Mr. Mangan?

 18                   MR. MANGAN:    No, Your Honor.      Thank you.

 19                   THE COURT:    Defense?

 20                   MR. KOHNEN:    No.    Thank you, Judge Black.

 21                   THE COURT:    Very well.     All right.     Until the case

 22       is completed, you must not discuss this case with anyone.

 23       This includes members of your family and people involved in

 24       the trial, and your fellow Jurors or anyone else.

 25                   Further this applies to all forms of
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  1       communications, including phone, E-Mail, text, Facebook,

  2       Twitter, et cetera.

  3                  I think there's going to be an inherit pressure to

  4       tell your loved ones something.          Yeah, it's an espionage

  5       case.   You may not do that.        The minute you answer one

  6       question, there's going to be a follow-up question.

  7                  Tell them the judge has ordered you on threat of

  8       Contempt not to discuss the case with anyone.

  9                  Someone approaches you and tries to discuss the

 10       trial with you, let me know about it immediately.              You may

 11       not conduct any independent research about the trial, read,

 12       listen to, or watch any news reports of the trial.

 13                  You may not check or use Google, Facebook, Twitter,

 14       et cetera, to find information about any aspect of the case.

 15                  Finally, remember that it's especially important

 16       that you keep an open mind.         Do not form or express an

 17       opinion on the case until it's finally submitted to you

 18       after all of the evidence and all the witnesses have

 19       testified.

 20                  I'll make an effort to remind you of these rules

 21       each time we break, but even if I forget to remind you, the

 22       rules remain in effect throughout the entire trial.

 23                  I don't think I can fully express or that you can

 24       fully infer or read from me how grateful I am on behalf of

 25       the court and the community, and how grateful the lawyers
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  1       and the parties and the Defendant are for you taking on

  2       this work.     It's an extraordinary credit to you, and I thank

  3       you.

  4                  I'm going release you momentarily.           You're welcome

  5       leave and go back to your home and to your loved ones.                Get

  6       a good dinner.      Sleep well.     Come back to the courthouse by

  7       9:15 to the floor -- the room on the ninth floor, and we'll

  8       try and get you at 9:30 and bring you into the courtroom.

  9                  Are there any pressing questions from the Jurors

 10       before I wave good-bye for the day?

 11                  A JUROR:     I have one question.       So which Jurors

 12       are going to be deliberating and which ones are the

 13       Alternates?

 14                  THE COURT:     And I'm sorry to tell you that's my

 15       secret.

 16                  A JUROR:     Oh.

 17                  THE COURT:     We need you here, and if I tell you

 18       you're an Alternate, maybe you might not be interested.                So

 19       we never tell the Alternates who they are, and then at the

 20       end of the case, I have the unfortunate experience of

 21       saying, thank you for sitting here.           I'm going to release

 22       you before deliberations.

 23                  I will sit with you personally and hear what you

 24       think or have thought after the case is over.

 25                  Are there any compelling questions from the Jurors
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  1       before I release you from the day?

  2                  Out of respect for you, we'll rise as you leave.

  3       See you at 9:30.      Here at the courthouse at 9:15.          If

  4       somebody in the gallery would lead the group out?              Anybody,

  5       start walking out.

  6       (Jury exited the Courtroom.)

  7                  THE COURT:     Jurors have left the room, and the door

  8       is closing.     I think we're ready to break, but --           no, we're

  9       not.   We need to address something.          Should we do that now?

 10                  If you may, we'll all be seated, please.            Ms.

 11       Frankian, if you will join me, please?            Who wishes to bring

 12       something to the Court's attention from the Defendant's

 13       perspective?

 14                  MR. McBRIDE:     I will, Your Honor, if I may.

 15                  THE COURT:     Very well.

 16                  MR. McBRIDE:     Judge, I want to follow-up --

 17                  THE COURT:     Very well.     Are you comfortable coming

 18       to the podium --

 19                  MR. McBRIDE:     Yes, sir.

 20                  THE COURT:     -- or prefer to be there?         I want to be

 21       able to grab you.

 22                  MR. McBRIDE:     Whatever's easiest, Judge.

 23       Whatever's easiest.       I want to follow-up on perhaps

 24       something Mr. Mangan and Mr. Kohnen were talking about this

 25       morning.
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  1                  The stipulations.       We received important

  2       information from the Government yesterday, which we

  3       appreciated; and we are going to be able to enter into

  4       stipulations, but I just want to make sure that we're clear

  5       on the record on what those are.

  6                  Those stipulations that the Government has asked

  7       for go to the authenticity of the subscriber information for

  8       basically E-Mail accounts.

  9                  We are not agreeing to the authentication of the

 10       content of those E-Mail accounts, and the Government bears

 11       the burden of -- or the burden of production to get those

 12       in.   I want to make that clear for the Court.

 13                  Secondly, the -- there are three E-Mails that the

 14       Government has shared with us yesterday that they have --

 15       that there are more than one people who are using these

 16       accounts or have access to these accounts, and I'd just like

 17       to bring them to the attention of the Court.

 18                  It's jast -- J-A-S-T -- xyj@gmail.com.            Waiting for

 19       Ms. Frankian, Your Honor.        JAST -- I only spell this because

 20       it's a name -- QH --       I'm sorry     -- Q-U-H-U-I@gmail.com; and

 21       the third one is jastburton -- B-U-R-T-O-N -- @gmail.com.

 22                  Our position is going to be, Your Honor, that those

 23       can't be -- the content of those cannot be authenticated.                  I

 24       just want to bring those to the Court's attention so we can

 25       -- so we're all on the same sheet of paper when we address
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                                                                                 164

  1       it, Your Honor.

  2                   THE COURT:    I really appreciate the heads-up

  3       approach.

  4                   MR. McBRIDE:    Thank you, Your Honor.

  5                   THE COURT:    Is there more that you wanted to bring

  6       to the Court's attention?

  7                   MR. McBRIDE:    No, Your Honor.

  8                   THE COURT:    Very well.     You may step down.

  9                   MR. McBRIDE:    Thank you.

 10                   THE COURT:    Does the Defense wish to be heard in

 11       any regard -- in that regard --          or the Government?       Sorry.

 12                   MR. MANGAN:    That's all right.       Just briefly, Your

 13       Honor.    It sounds like some of this may be hashed out as we

 14       go along.    I would want to point out, first of all, the

 15       information.     We did provide that information yesterday, and

 16       what we agreed to -- get to is that the issue with the IP

 17       addresses indicated that there may be multiple people using

 18       the account.     That didn't mean that that was the only

 19       explanation for what was going on with the IP addresses.

 20                   We also would like to say that, you know, there's

 21       two things involved.       One is, you know, the authentication

 22       of the evidence; but then, secondly, you know, are there any

 23       issues with respect to hearsay, so forth like that.

 24                   With respect to authentication, that is a fairly

 25       low bar.    To the extent we have sought these records from
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  1       Google or from Apple, and they provide the certification

  2       that says, for this account address, these are the records

  3       that we have as a subscriber, and these are the records that

  4       we have related to the account, we believe that the

  5       certification will be sufficient.

  6                  We also intend to present evidence tying the

  7       accounts together and tying the accounts to the Defendant,

  8       both through external sources as well as the content of the

  9       accounts themselves.

 10                  THE COURT:     Very well.

 11                  MR. MANGAN:     And if -- unless we're going on to

 12       other issues, there was one other item --

 13                  THE COURT:     I was going to give Mr. McBride --

 14                  MR. MANGAN:     Okay.

 15                  THE COURT:     -- an opportunity to respond to that

 16       from where you are, sir --

 17                  MR. McBRIDE:     Yes, sir.

 18                  THE COURT:     -- if you need to.

 19                  MR. McBRIDE:     Your Honor, I think we have a

 20       disagreement about the law, but I don't believe this is the

 21       time or place to make that argument.

 22                  THE COURT:     I'm going to get that printed up.           Put

 23       it on a wall.     Thank you.     I just wanted to give you that

 24       chance.

 25                  MR. McBRIDE:     Thank you, sir.
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  1                  THE COURT:     All right.     Now, did the Government --

  2       has the Defense brought everything to the Court's attention

  3       that you wish to?

  4                  MR. McBRIDE:     Yes, Your Honor.       Thank you.

  5                  THE COURT:     Does the Government have additional

  6       items?

  7                  MR. MANGAN:     Just one item, Your Honor.         With

  8       respect to the opening statements, I know the Court has

  9       indicated your ruling with respect to the Defendant's

 10       Rule 404(b) Motion.

 11                  The way we responded to those, we presented

 12       alternative ways that that would be admissible.              So when we

 13       present those, especially in opening, we want to just

 14       clarify --     are there any limitation from the Court's

 15       perspective as to whether or not those are perceived as

 16       direct evidence versus other acts evidence or something like

 17       that that we should be aware of?

 18                  THE COURT:     So-called other acts, the Court has

 19       determined are intrinsic to the offense, and they also speak

 20       to the motivation, intent, modus operandi and the like.                Did

 21       I respond to your inquiry?

 22                  MR. MANGAN:     Yes, Your Honor, you did.

 23                  THE COURT:     Okay.    Is there more you want to run by

 24       me today --

 25                  MR. MANGAN:     No, Your Honor.      Thank you.
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  1                  THE COURT:     -- from the Government?        Okay.    Is

  2       there anything else today from the Government --              Defense?

  3                  MR. McBRIDE:     No, Your Honor.

  4                  THE COURT:     Very well.     We're going to recess.        I'd

  5       like you here by, whatever we said, 9:15 at the latest, so

  6       we can start at 9:30.

  7                  I want you to rest well tonight -- although I know

  8       you won't -- and I want to tell you that I'm enormously

  9       impressed by the excellence of all of the attorneys.               We're

 10       in recess.

 11                  COURTROOM DEPUTY:       All rise.    Court's now in

 12       recess.

 13       (Court recessed at 3:16 p.m.)

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  1

  2                              CERTIFICATE OF REPORTER

  3
                     I, Julie Hohenstein, Federal Official Realtime
  4       Court Reporter, in and for the United States District Court
          for the Southern District of Ohio, do hereby certify that
  5       pursuant to Section 753, Title 28, United States Code that
          the foregoing is a true and correct transcript of the
  6       stenographically reported proceedings held in the
          above-entitled matter and that the transcript page format is
  7       in conformance with the regulations of the Judicial
          Conference of the United States.
  8

  9

 10       s/Julie Hohenstein
          __________________________________           November 2, 2021
 11       JULIE HOHENSTEIN, RPR, CRR, RMR
          FEDERAL OFFICIAL COURT REPORTER
 12

 13

 14

 15
                     I certify that the foregoing is a true and
 16       correct copy of the transcript originally filed with the
          clerk of court on November 2, 2021, and incorporating
 17       redactions requested by Judge Timothy S. Black, in
          accordance with Judicial Conference policy. Redacted
 18       characters appear as a black box in the transcript.

 19

 20       s/Julie Hohenstein
          __________________________________           November 5, 2021
 21       Julie Hohenstein, RPR, CRR, RMR

 22

 23

 24

 25
